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           EXHIBIT 13
                         [Part 2]
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                        fleciSlOU
icvTC
  (in Korean)




                                                                      Exhibit       O
                                                                      Wit csn
                                                                      Date L. .aJ. ¶2
                                                                       Leslie Backwood OER RPR
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                                21       1 2011 - 0191                       2011.   3. 10.




         1       20101-2364


4               5711 â*1* AfE-1E1                    }fl(CDT)     ]]   .   -up.}4ì] -'-%
                WML111 tfl

1   ?J
         °1     i    AJ         c)J-toJ-OJ Ç=J4
                          *îiA1 ]fl *A11W- 428-5
                          tflÓ]A1-       1oo
                          rThii -îi ¿-j].
                          flttA} m, o]fl, nE11
                          t111cj     !Lfl i°]-'-

                 a         1.
                                3g       t±flO1          ]]A}
                                          1* 184
                          ('&-fl±        ILP1AÌ 4U 3421 3                  i4FV)
                          OdA] fla]A}


                3. t]-               W2          t]E1.E(Chunghwa Picture Tubes, Ltd)
                                               E}j-9]Qf 334 fl01E- )       ]flS 1127
                          [(No. 1127, Heping Rd. Bade City, Tao3man, 334, Chiria(Taiwan)]
                          1A°14 J .%flÓ]_j(Lth Wei-Shan)

                4 flF            f;j *      (il°J'°f) gptJqi ì°n°i'i
                                          -1-
          Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 4 of 85




                                     ÍChunghwa Picture Tubes (Malaysia) Sdn. Bhd.]
                                     *I101A]} 4 fl A]]%                         '?J- Ü}o1fl                    }a1
                                     (Lot 1, Subang Hi-Tech Industrial Park,                           Bath Tiga,
                                     400000 Shah Alam Selangor, Malaysia)
                                      fl°14          li    -°è-         (Chen Kuang-Lang)


                             5.     PI1111. *4                        t-1       1E1E(CFTF Optronics Co., Ltd)
                                      }Qjijfl.- ..fl P}-Ö} t}oJa 1flìa                                     aj ?     j
                                    (No. i Xin Ye Road, Mawei I-li-Tech Development Zone,
                                    Fuzhou, China)
                                         O1A1-   1         -'è(Lin Sheng-Chang)
                                     *ti'd a ii.i *içq      liJ                           }-c-
                                     flflA} *tV, 7Jyj]Ój 3c
                                                                  r
                                                                  o



L 114111 4FAâ         Ø]]AtIÓ}Øi Ç-]A}, 114111 t} 1.N --JL?                               1E1E,        114111 t}
   4                      0ÌA1Ó-)   ìttHJ 110flo]zI,                   s]411i      1I0L. *I? ?»1ìtI
       .]u]EÌfl   4* 4 t°fl          ff *A*                   ie            tfcro SI-4


 7f.     f;j-Qq

             11'J9J 4F-     dflà]Ö].o1       a]A]-                                            :   24,013,000,000-11

              iiî1                                                                                2,i98,000,000?Ä

             11411.1 fl} 11 *.à.(fl0]A10}) ocfl u101]o]]tI                                    :   32,000,000-%l

             114111    111E10fl.     *--R                 11'-I       1n1E1S                      28,000,000


  4.         -71F : 3!-3J           *3LA-0 tgAj                       -71F (60') 01141

  4. d-#±: t-                         icJ t                 E
                 Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 5 of 85




                                                                      o
                                                       Öl           Tr

     1. 7J: AJ-


        7E 3HIîJ a124


                  5AJÖJ        AJJ       Ö±co}o1     2A}co1u} '-F'            sor 4ê                zi1)Ö1zf    Fc1-),

                                          tt±*Ö]        }1A1-(Ö]4 tPO'                 'r]'4 tj-c]-)2), xz]'cJ
                        *2 4ti]E]s(o]t]-               flWÖ]              i-4),   'l'eiQJ t*
        A]Ö]-)          tJ i]ool]tl(6ltf 'ci i flÖl]Ö]} tWl-), ]-'dîJ 4i11°fl.E *
                        ?J   ]]s(o]8f '*       q?E4. !i-4) 'wl* flit
     flu CDT(Color Display Tube)3) it %S] fla     UflJ4 qt}-. j- A}Z}.
     .Al %tThi *j7jE]IÖI1 jçj          (26. 4. 1. * i7492t. 7fl&l7] 3js1
         o]t} '1']4 J*1-) i2 11121 ff7o)] 9tj A]-4Ö3} tH-c1-

2                    1'I'i -F            501$ 1-2J LPD         tflt}vit     uf} -fl]. 2J A]-.-±7]-
     1%J°fl ±iÙ      tl                                Öir    :231:2. t,tvH-'tfln     tc}f
     .1l A-7 flF9i1 ±'NS                              'HJ   FJ, o}iJø    a}                    oJ

     .J A}.-7}                      1lÓl11Ö]Öfl ±ZflÙ Bl-Qd  ]ct flÖ]A]a} tiW--                                    ofl


      4                                 A}-±7f tit} ±i                       ---
     4 9-Ö]] ttf}                                  JAW±7f 2]-6j] ±fit}               9]-            }-Ölt1-


3                2           Af*.i litE W4                    14J11       1'A4       jtfcr],        fl2    11121 ¶
        jo]j 91tF             'A}4} t&                  A]i]?S7, 714 A'-fl 8t-                            fl4' 4:2.
        fftfiL 9Y1*                              *llîiA}*             -t]l  S»fljj 9J] L1SJ-iL
                                                                                               fl
                                    &,

               i19      11-ÖflA]E- #li8flP1                  fl 'z]-'. flÙFiL # -tfl A}Z-
                                                                                                                -11
                 i SDI         1970d i NEC H1ÁL «
                                                                   flt1974 4J1H
        AJO1                                                                               '-a]1A}, 19841dofl
    %                 1999     fl          SDI    lAF fl-
                                                                flAf ]* A] to1Af. o}f e] A}
    201OE a 30.
    :i}II  Mt
                                     PÌ%&
                             ±11 '&lAl   * 34-3
                                                Î1
                                                       -i
                                                        *t}
                                                                             flscE
    fl .4flS                    17J CRT(Cathode Ray Tube, *S      *1* #E1         }*} CDT(Color Display
    Tube)i*$ TV* a]Ej                    }*F CPT(Color Thcture Tube) j]fl tJS}. *°14

                                                             -3-
                       Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 6 of 85




                                         e4-4.     aj-        12&21291 ¶ofl                     sp     'o]         -&       I°1P1 °]-°I
             :ì   UÌELS.              M"MJ1 fl*                                         1*Y +3i ¶}-ii SltL
4                        4+-] â*BI*                  R] ifflHì CDT flt %1                                     i 4I*                       -9t1-
                  9)j A}4QJ IIAJ0-                       gj- A}47]- s]Jo1] trf}                                              J 4.-z}
         2]-o]]           ±S}- ]t A}41-3i t}E1E. 2401IÀ] 4- +tJ4+ -'ff -W-*1
         -
                       -0   jtE tflc] t]A]fl fl* Pj tJ t]01]A] fl01 'H5L32. t4zf
         A]       o]       o]     --I4.

5                 n1a, o]Ü]- 3. 7]..oflA]                       u]-9]- zJo       1996. 11. 23.-E] 2006. 3. 14.zi-z1                         *
         ThÌ*              j2L            ?-ÎJ CDT Jì-WS] euJJ7                                      )]-3           3j2 n-& n-,
         AJJA
                          'fltf   -     -fl ¶*U1(olt1- 'o] A].2J   t9'                                     -F4)--
             j-ufl8]-. -.             t]A]ofl     ?* u]j °1 A} v1-2flê                                     z1I2?    i]ii,
                  z]- ffflofl            °1 o] fl zfl4J-.. A}O]]                        fl4
                       31]AJ 014) y]jL        nl



              1) tfl- 7]Ri(fl*)
6                       u1-ti'?J tflF5)-& flf 7]c?J4:fl.2] £1A}A]                                             A}        rj- Eìs-vjo1I
    .24&-ì7)                .AÓ]S}       Qo]E}5flj tj4)r oJ .A}            e t*tii %1-7fE A}øÌ ÎJLL
                                                                            Jjaf 7-o] o] A}
    2033. 7. ]ApdI-7}      U 2. lOE 31. 21]fl                       t]+fl77f ard4 '-'it7f 4o]
                                                                     4- 2035 U. 14.              o]
    A}J ]419J°V1 flS]]cL LG@1-                      1144 4--S4 N1AF LPD°]]    °JE °]pP1 4z CRT  Á}fl
                  }A1 ô] À}       nU°]] %4j-} A}4                  s1i-    2031.6.3OE        2031.7.1. 4Z]- v]4J9j LPD°]]     co          ó]Ç
    o]       4 -*341$ -1 CRT A4                           Ó]- flt}] t31                              LPD2I 7}Z AA% %                ofl     ÙJ

     JA}7AOfl    Z4.Zj43j                  ZJt}V]4 iftI- Ä}4]°)               i±E
                                                                               ft}Ön
                                                                                     W4 ])4$   4±j4
                          a)oL7.1. 01tUiofl t]]}               i1À1t7}                    A,]O1ôflk.] i9]]tL
                                                                                                o] A]-Zj

                                                                                                                               fl
    2031.6.30.                                           A1

    o]}                   .Ml]ÂI 'tfl            't}       }1 °W]f 'flhiF flo]A]of' 'n
                   -

    71'i1'EF(n*).2.,                  4-M 314jQJ   tfl4
                                                 *ic}4 o]
                                                          -g]o]A]ôf$    tF      3i-î-$ 'jt'uf
                                                                               AJQj                                      A}-g-S]   o}t]}
    tL t'F*4 3i À}QJ4 a-                                         ]'fli fl}%1 o]%io]   A]- 41d-$                              l N1
     ]*1] %41ùH       'flF14, t1i.11**                              }lAf0ili]] otgtf JA}tfct 4A}.-o] o] o]tfl. 4 oç
    A}             AfjUA] ff-*.                                          eA1(2gr %&)oflA-J i*°] flfl n.- ] cJAf o]
                    -fl QJ%Ö]   Af                z4] flu. A}to]flU Pj.4 J9J
                                                              2038.5.14.
                                                                      o]  4 fl nA] 0] Af- jt]-o
                                                                                             fltfl]
     ]ì+           !-A      * 4 4]A}ofl. M.%              ] fl
     12 t Afl4*** F2I01]                         1°1 S}4]      % *fl nfl 4i u           91       ,




    7j       ** 4fl 4o]4
                                                                   -4-
                     Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 7 of 85




     ¿flt}n 914                                                        Q
                                                                                }                          JE   j3]1I

     (Chunghwa Electronics Investment Co.)7} 18.1%, EF* J31I i-1 (Tatung Compnay)7f
     12.8%* ±*tl-SL                                         2=. ÖHOo] ±*S}iL 9.14.              ']4i tflfl
     4 *37Ì4 t CDT 1*                                              2    -4 ZJA1ÌÌ Alfl rflfl..
           ,                TFT-LCD 'W                      i4 fl*                          9.)4.


                      o]   A}        fl7I4 t                  -j°1         }S-            4]4°1 AJo] f
               j-      e]o]ì]o}           *ti'?J tfl-                          -sf   CDT 1*4 AHS51 i-)i-
     oÌ]                              14I'1 tW                     o]]o}       31]AJO1 tfl0i $1 ¿*Ù]3i S&
     tf p'flu*4)                          uEE[Chunghwa PT(Bermuda) LtdJSl JJ                        Af.A1 2003k7?P1

     CDT 1*4 AA}4 1I t'Ffl fl-- t}fl1 ZA]-QJ t                                                                  PT(
      -Qi)                 'it[Chunghwa PT(Labuan) Ltd.]$ t} PT(U1*4) 1'1EIE-[Chunghwa
     PT(Bermuda) Ltd.]f i-tf°                                Z1S--              ]tftF7IÌi


           2) -f'â SDI

s                     '14i'J 4F           SDI       197O\     NEC ¶--]Á}.
                                                              F-               4, 1974                          FI
                                      -fl           7jti VJE]]* Afl%.2J1 1979dofl fl]9.14. 1984
     to                .%zjj-                ]]A}     fl,- 7gt}ii, 19991d 11-w                      )J.)J SDI      ]4
               4] ¿jfl 7t}4, %                                SDIS1     ]tfl           4- 19.68%          -4Ù]-a. 9J
     AJ.1}                           A7)o]t],       ns                oJo] ±*Ù}-5i 9.14.
     1*                pDp(*eI-a}                   «]°]           j, 2       OLED(*7]Wfr 4°1.2.$) tÓ]4
     -VtI SDI                   Öl   A].73              fl$ ajflop9 CDfl fls}
                                              flt#I7]4 t 1--
                           v-14îi 4J--j4, tfl--j4, flizL cflì} LGÀ4 *1 fl}S4


                            41.03%
                                     tl
                                          t  j(Chunghwa Picture Tubes, Ltd)
                                                                       100%


                                          t
           Chunghwa PT(Labuan) Ltd.                                    Chunghwa PT(Bermuda) Ltd.
                                                       7ß.20%          100%
                                10 61%
6)
                                                                               *HF r-o]A]of
7) o]-              AFt* 7]fl°fl t1 '-Nl4'
          Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 8 of 85




     izflfl 2006\i,                  J-*-& 2007\4E1 IP1°1                      -t1oflA CDT it
     * ÀaI           e3i V'L


          t]'1(LPD)

s'            131C1(LPD)è- LGjX]-9.1-             j4(Kninklijke Philips Electronics N.V.)7]- 4
     A}2] CRT An* flt}0]                          4(9j        jJ) t?S ofîjtsjG]                       .


       5J 7A]-Qj 'LPD -'g'(LG Philips Displays Holdings B.V31 S1                           2001. 6.
     11. fl1°1 LPD Vjofl                       1uD11    4. LPD        LGiz]E'ì 2001. 6. 30;
           j4(Kninkhjke Philips Electronics N.V.).-EI 2001. 7. 1. 44 CRT A}.
     * flflcf            flj                     LGJzf 9f             47f 44 50%1          -4f 01
     At} LPD                   LFD               'dLG Philips Displays Investment B.V.)-
     100% ±%t]-31 915i LFD                   'S1 100%            A]-J LPD A}Efa(LG Philips
     Displays Sittard B.V.)91- LFD             aYFW(LG Philips Displays Stadskanaal B.V.)ÓÌ
     1111c191        * 44 50%'1 i*tfa tV-f.

jo            LPD     tiTh1      1fl,              0cj CDT* ÀÀPf 1             t]   3!7JIAf 9J LGJ
     4, %J4, flJ4 1.011 4ufltf4 LFD                                20061d i-                    J-jofl
        jAjtf           i'd}7}               t°1, LPD       2009. 6. a fl- ±          J1oflo1
                     1u1E1(MGA Holding Corporation Limited)7]- 10O% t4F                          CI

           q! c        fol     11]      1P)E1S(Merdian Solar & Display Co. Ltd.)°11711 .-H:
     -HCRT) AflOI] &A            A]-'               flt}ii 2009. 12. 10. 1t}01              f tE.
      i A}'         0jtj 9d1 ?'4.
         £I}-JQJ



              ]9j                       of    <K 1>1     *'F     4.




                                                -6--
                Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 9 of 85




      <a i>                                          *NJW21 PF-
                                                                                                       (}-?L 2OO9\471)
                                                                                         -'11 SDI          LPDC08'dJ)
            471 z}-               5,954,641                 263,632     330,001           240,681              a 584,125
                                  1,745,415                 174,831     150,145          3,550,584             422,965
            7 41o] 21            a 1,385,096                a44,327    a 169,298          231,141               59,130
                Cj o]2]          a 1,068,534                a 21,206    a 39,880          88,229                 6,199
           i-71 ecl 21           a 1,373,170                a 44,291   a 169,221          217,992              a 262,508
         * 4fl'l:                        *4A                 --**        g-AA}           }A        M




     a i41I

         71-.    }4 41*21           B'      ç       o-1-r




n                CRT(Cathode Ray Tube) *--14)1                                           -4-&4°i-                  S--     -



         Iz1    9,14. ORTh 'd71-'Ji* PH]21 4*°11 21                                flo]4 £, *4 i-21 Ut
      zj 41(2                      flt}o a1t1-            TV9f 'fl} RJ]o1]
                                                                  A-W-fl 21u18H1
      AF*    rJ?flÖ1 ±zF-- V4. ORTh t4*j1Ó1 717121 41fl.A1
      LCD4 PDPS-}- zfl 4 tj ¿-- ô] (Flat Panel Display: FPD)7f t}1 1 01 -f7}
      z) 7fzè             1     +-WI 1*°14.

12               ORTh n fl4} CDT$ CPT JjL4 o] A]-7j rfl41**i CDT
      (Color Display TubeY- 'J*EI*  tfE-]. A}--5]. -4-fl*, CPT(Color
      Picture Tube)               TV-W                2J-]B). A}*             f-f* 21Ìf1,
      4*4 d--- 4o]o] S14-

13               1dzL           *21 4ào11 9,1ÓjA-J, CDTh Y*Ei 5i -I47171t-i                               fz     *A14
      z)        o41*                     *1°l fl** 1131-1o] 141I$                                          -?-í1-4 1t71
       - 41tfl-?4. '°114-      CPTh TVÖI1A-] 4z]ó]- 41* a]ot t]-
      717f 1°i4z)    141-E$ -JU- 4icR-3iS-. ójz) 4'°1 Sl'L claiti- 71-G
8) LPD          9.6.&         1+%(CRT) A}       1                            QjAfloJfl        31       7]z 4
           Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 10 of 85




      Zj  --S-- 'U CDY* CPTh                        fl
                                   flEPi *}4. I1tI aI '?L1Y') a
      )1.t11, CDTSÌ ¶& 14", 15", 17", 19" -W-S- A*1°1 9,14. b&Vi TV-
                                fj4                      cJ.zfj        4Öfa        CPT   7Ìfl 6"tJ 36"
      '1-i 1Ì-- t1-°c?i-t1-.


               ETh        11*-1          -.-o]] uf4A-}             ajf             ajs                    u

                                                                                              fl CRT°*
14

           ao1    }1                   4 uFtE                   317f   o]4 fl, eA}*o]
             WI 71e°Ì                        t°LR. 5L71014. jfla(DY, Deflection Yoke)W21
            c1J-0l]4,     Uf
                          O}     4(fl, Bare Tube)$                                       3JIa7}          J-z

      ITC(Integrated Tube Component). flICf. CRT iL7-'1t'1i                              '-Rf     II-.   'Î2 F
      4:                                  3!Z}-t}314 flt                3L7     S1°I   H12J              f1
               t* t. l
      <a 1>                                         CRT




                   Glass Panel




      <a 2>                                         flflrp
                                                    ,_Inl flb
                                                            I




                                       CDT                                             CPT
      ¶-fl            *.tThE1*
                Doti 14(Mask fl)                                    Stripei ?j*(Mask j)
               - 4tJj   Ó]7I #*1 4fl                               - t7fl8f71 4]ÙÌ] ifr0
                                                                        i'flf    VM1 -1*        4*
       -101I
                  ifl4- 711* *-fthE*
               - -A-14 £4 7f77}
                  1.-J-
                               4011]
                                              7I10VÌ *
                                       4°i E fl2--- *z10]
                                                                   -
                                                                                  fl 'ju]} l0fA1 *
                                                                                       4*
               - Dot -°1 4°]- MItE.                  *             - DoFF°] i°1           'Jf n
9) CRTSÌ   4'1I-1 t 7I- tMF                  A14711fl J4'-         ì7Rii7f CRTOI1A              iA7Ì -Î1*M
     j4oflAj    A--I      14J* 2*î4Z1.         A1    1'F1 °1'1 A}*                7f     ao14.

                                                      -8-
            Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 11 of 85




                -
                - zjco]         4
                                     °1   1"1 4EJ1     fl -- Wè
                                                             4to] fl
                                                                   fl°1           ]   !f5-7}       --
                                                                                                   p

       a]  12" 28"                             6" 36"
      * 4A*: -j4l 7]-> i, Industry Report (CET), 2007.02.21.
       LL CET -FI

15             CRTh 7Pi* TV$ 'J*                        1Er1*.2-. Ö1%]       %-*°1-.- a].-
      --4I1 i1Ì1 vi7ît]-7fl flt}4. -al, CPT 4                                EE                -

      Qj                    7ll1]         z]-4   ofl   4=a.7} t7ftl-3i CDT   7A1         *tfl fl7
      t7}     *J* 7Pi4. CET AJO»Q AA*Ø] ¶}, U}1°1
      tflA4o} *°]}4 z]fi- 5 t]ft 4..0]       4-°] S1 1I7I
      #I- AAJ-O       'dh CRT    *9+2J Ì121 F17Ì- *S-* '1IE1ÎJ
              U--i CET AA1-7]fl. 3J}1% 7%E A)4-7]'$ tzy L.,c
      ..   tfi 9)C

       4. CDT A1n-9I M

16             jAM7}     CRT(3-F) Ä}-& 2OOOrJJ                  -0jAfA-Ì LCD, PDP, OLED --
      j t*O](Flat Panel Display) A}eJQj -Vf ÙÌI *±]°1 4. 1.* PCA]
           !ki LCD £1I     iS-11Ì7} 7}*flI u}4 CDT )ZJo]      jI*-I
                  c]J Jt tAPf F4I «?dfl JS-- 4- TV -uL :M:
      ÙF4 CDT21            'd       1999'd71 JA1)71] '* £tA]±S 84%* $]tfQ4
      20O4'd°1J     4O%.        7Jt]-4. CP'LE. 20031d7] 3jA])7fl TVA]1 95%- 1-4F
            ÖL} 2OO6kN       75%.. zJ±t4.1O) C}li CRTE.} 41fl4 1L- 71«0Ì
                           .-44- TV7f tA1      % a1P]   CRT 1*4 tAÓ .-
      ioL fl, t                     PC$ TV J*°1 fl dfl7}oPi Z17]- LIClÌ tflt                            S
             1*L3' 914.


10)    3:   t*O1    AJ    &A).7J% iSuppli, DisplaySearch flAH2O. 12. la)

                                                       -9-
          Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 12 of 85




                                          zjA11] CDTR.LIE    *tFA       flo]                       (Ffl)


     1 .800
     1 .600
     1.400
     1 .200
     i ,OOC)
       800
       6C)C)
       400
       200
          0-                    2007                20081E                     2CC) 91E
                                                                                               r
      * 4A*          :1   DisplaySearch 2007. 3Q.


'7           ]e LCD -W-F t:I?:*01 «1j1  7èÖ]1 44 °1 A}?3 tflfl*îi

       CDT t?SSI F± 7PEt ?J-       3}%t4.
       <M.. 3>                                CDT   7* °ia                                         (Ì)
                                  2003           2004            2005           2006       2007
         CDT7F                    56.08        51.98          45.97             45.06      48.54
       * 4A*:                                CRT Industry Report(200& 2.),        SDI AFflJIAI

       <:i% 3>.
                 70
                 etc
                 Sc,
                 .40
                          (_)

                 20
                 ]0
                          o
                      * 4A*4:              j%S7}         CRT Industry Report(2008. 2.)

          3jA]]7]]              tH CDTÀP*1 'P.fl

le             1980\4tfl-E] JA11491 CDTt}t& P}A]F4-, S]E]-, ±ì..], £A]                     W- V       7]

       u-o]          ï1 .Qcf7} 1990\t1I flEd 2000\4r1 fl*XI fl}I                          fl
                                                        - 10 -
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     À       Öl AWJ *??Ici%.Öl ZjAj]7                 }A1-O CDT*I]*S1 tfl-fl                  t]-4.

19             3JA117     CDT A]3J-S1 c]]' A]fl*4 =] o}fl < 4>$ 4o] Öl ARI
                        2002M "] 85% Ö]fl t-S}fl* 0J- i 9»1-. ni- ti--sì CDTA]1
     .& AJ        SDI, LPD(2001M 7            ö]S LG3A),                   2003M}-i) - CDT
     cfi %7Ft1-vi              1l71°1l sltí 90% ö]jø]            -Thc]Ö1    4.

     <a 4>                                   4fl71]   CDT fl' fl*
                                                                                                         (%)
                                            2002                2003         2004               2005
                AJ/  SDI                    33.5                39.0         42.0               43.8
                   LPD                      28.1                30.7         32.1               32.2
                '1i F                       22.9                23.6         22.1               22.8
                 3A]--1                     84.5                93.3         96.2               98.8
                   71E]-                    15.5                 6.7          3.8                1.2
                                        100.0                   100.0        10.0               100.0
         *    }A*1: DisplaySearch, Stanford Resources Display Insight, kil SDI A]-                 iÂ9


               -i-M17u1    CDT A]7J-9] ¶R.            2002M 5-%i°fi        }4 14-Z1S.. l*lÖl
     2005M.EÖfi        84i'1-%l ¶P-. 7J±1L
                           1                     ti-  CDT)1J ¶2 *ti-                                           -




     Ç=A]].- f'fl]-°I 2000M.°   4.j 51?dfl ftF--4, 2000MrI] 1*EI ']-kI
     .3-}I Lt-lE] -fl-Qì tD]oli fl. liti] 2005M.Öi] 500]-li     7J±F



                                     3jA1]7]           Hl CDT A]-

                                    Z3AIJ7fl CDT'f ±L                        tR CDTA].% ¶
               2002M                    r     5,344,794                             452,000
               2003M                          3,948,489                             154,000
               2004M                          3,199,409                             130,000
               2005M                          1,866,766                             49,892
         * 4At:                     I*]-A


                                                         11 -
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           u]- CDTS] *i--


21                    Fd -fl              riRhiltil CDTh '*               -?Ä4    la      Y-H 4? LIAd
     'IÎ1 'CDT I                     i'-]îi%S1 n7JÌAHJ '*1 2J-11 1]a'fl''PC iÌa
     t-1t ±]4'1] o]a. *-fl                                           t-    a-Ie1 fl:'VE:- OEM
     .?]11      1l 4'J PC I&'117il £11E1                         1d-**4. CDT      laz1 'fl-&
     W r1P±           Ó}A]Ó}] /]o]t1, tu                      -1'I I'fl           fl?-   Dell, HP -W-       ]t
     W            PC I&'fl-°flifl OEM t12Th d-*tFa.                         c]



                0] A]-?       t*         712 t CDTIi-21 ii.z-& 61                a n'f 61           a
                                                                                             fl
22

     S           --5Jt1J, ö] AfI 'FI J-7FAF-Ó1 flL2-. P'1F 61
     SJ          -JAjZJZ},       LGd4- ]fl                r?:, E.]- ó]    ê-(Lite--On), AOC, EMC7}          ÇI-


                 E        61 ±iE iL7i1-& «tJ «1J4, *'d4 tÌ8]-1 fl(Ben-Q),
     fl(Compal), tE]-We1), F]---(Tatung)4 MU}4.

                Ó3Ø YJ*E1 £LIE] I*--& *-I CDT Ifl-F I4                                                      t]-
           t11, n ó--                     Aa* LLIE-] I2Th& 2]rfl                         7]-740fl CDT
     ufltf4 t].p. c*I ¶I* *1Si-] CDT I&fl2 7]-4ii* *E}1
     53.   t]-?] tTO]C]-                  77j          o]. 2M*C floj 6) fl4i
     9]- i$t]-7] 0fl712 A5fl-                          7]]1      £l]E,]   ]]3fo]] A]-%c? S        3LE- t}t]-      -




     9]   Qjo]4 tS CDT 31'-                              S--t-"1                  fl-&1 flt]-       -




       -.z]    *Ù]-           -Ç--   E11b1]Û]-   12, 139]      Ñ]-- -A]          -it]-7]--    t]+t11    Ò


               *tSì CDT AvM$                          ]-71I   *1i*
       Th     7]-1'JYti   -




ai              CDT4 7f737} 311-uflS             o]   A]-2J LIAdîi--2J CDT *ThL* 322-1 A)-01i a1
     7]-(list price)-&             tEfl ;it4.        IJ
                                     -S-tR] ?'5I 7AtN t'eJ*
     -Wt 7P W iuflb1] flF j0] CWO4 n4,     51f fl7f 1* *
                                                        - 12 -
              Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 15 of 85




        z]t}x]             *]-     A]0 7-* 7]-?1                           --'1   --7°fl r*4           F       tÖfl       Çz}fl
        ö]ofz]                   fl2]QJ 7-Ç'-.E SltL

25                 0] A}?J              77À} *A]-S}7fl
                                       QJ                                                    ]c]- -î-« 7btf°] 7V']
                                 1* 7fflfl 7}j 4 31]4JQJ nfl
         ]7]

        Ag}, n 44
                  ;sio1]




        ii *a 411ll7}* «flc}.11)
                                             A]7J7]-7,   ó]-j   'fl } fl                     -A       }4
                                                                                                  3iB1Ù}0
                                                                                                              ]-59J% ÖJfl.
                                                                                                                          t]f-a



25                 t, 7]-t& 5i-I°I 3']-îifl1 ZR1SI %a7P4 ]9k 4t* 714
        t1        it-A1(Purchase Order, 'PO')* 1tt1-A1 N-t1l,                                               -J--e --1
                             «i
                                                                                                                                 i-


                             7PtXlfl jiz} -'-À] A}--t}3., z]-                                                  nzlj$S]      -4,
        4ii-, A47                           -1 4]-* 311SH'4 1*                    -4-                 ufl7}7o] fl5]cf
        0] 4 tfl&]4]A]                          flzqfl              A} QJSÀ1!}               -- tf5i =a iz9] +
                             9j --ó]        1*l7LE fl4.                   CDT        ]-nfl     flSf SJA}S] z]-j
             S-     A]-2J            77Z}7]-             A]-33Öfl         QJüJ- 7}AJ'] t4]oflA] ¿ft                   =--   J-tfl]

       7f7ofl              t} 4fl 3]-7]




        7]-       tî-]A}-


             1) 01 AfZJ ¶*3#-1 4S


27                 a]      &}z-J                CDT      A.ju]]$                  j8]-Cr]         7A}9]-      -9-- -47}7
       «,         CDT-"flJ- ** fl AJ%1 4-at. tìlt]-o1 .taj A]-Ö]
                                       317U                                                                                    L
       0]Etj 2- flu] t]-?] 4l '7lz]S-E. 4* fl4 ]W-7ÌI                                                          fl
       t]- o] A}ZJ               --!4I        #]± 1996. 11. 23«-2006. 3. 14M-z] z]*l24.                               ]   7lZFt

11)         7flJ
        7]Z1O         9]ÖflA1 J7] A}Ó]] E8] 4                         À               jLÙ            U]]7f74 flS-1        FY]4
      7Fft*1 -liti *} cJ* AlXfl*fl                                         3J}4]QJ3. 34o]]yf               Afle 7J    SFIS]A]-fl
                    Df

                                                            - 13 -
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      It?.i-& t7]1---- 444 $fl 11* 7Et11, ó]--     'CDT t11
     ¿(Glass)  '2                     fl]4,
                            $j- tja]-iJ   -s1 4fl }fl -7f4
      'F7}                    -- '54 u]' PE           '34 PlEd', 'GSM(Glass Standardi7ation Meeting)'
     S2
             ÖlEr]Ùj-         ]1o]A1          4Jfl 4 A}2J An*, 7f**, Afl7,                              u1I7f, ,3i
                 '-o -ä
                  7s              i
                                      3!-i4     P]ZJf                 E-Ûf           Ól.-      fEeO            Ó)
                                                                                                                 t- e
         - t.Wtn}714                  4 AJ-Sj               -rLf}7}           CDTAPF '?S1 &
     °
     e    î1--- fltfa., -i7H* flÖz. fl}t Afl 4*1                                                         71Z1S.
         sl}, 4 '1.4°P-1 ó] J9l4t2] Otfl fl17t4.

                         59-fl                  f7]-4S]     ]--I uff                    ?1]            -fl --
             i]i              4--B} --Z}-- 9}z]                       7f 4j          7&]               9jc       j

      1-9--. CEO                 jj4- ÖjSÓ                         7A}4                               71A1?IQJ        -


      i4J2l-&           f9JF          iL]S(Top Level Meeting)4 9JQJ4 ZL Ó]-fl, «'
     t1flQJ9Ao]        J-?iltl-o1 4}]71-1,      A}-fl4 fl, AZJ-%1 -1 t17f ]-]i f
      I49J(Management Level Meeting)7)-                                          -         ,          4i11Ed         --
                         %a1Z}                Jl](Workixig Level                                             A]3J-

         -- fl-t}51              4-]2l1A] tJ]tj 4tJS] o]Ùc!Jc--                                }4 }fl
          tE-* flt} tj-,                          Ó]A1Ö], 9jL]]AlÓ}, t;f, -T--L t-q-,                     *
     4t liAi 7D]t4.

so           YE               111-1 o]-oj 13jA]7sQj                t1*t&       7fl A1]7l-Zl     fl4- 1,
     3i4uîi---& 4u1]7f21-fr J-t}4. Vjyfl7f2                            J-        j-U]7f7 t*-;L ]i
     -i-(ìtfl*, 7i7f-1 JJ      Efl. 4Ef, Ö]4         31]AJ. CDT'iJofl
          '?I$ -W--w-, 4 47f 7}''t* Uil }-fl ji&-g-, -qi4 7PTh-W- -W-1
                          fluf4. o] S1I                   *a4'* --t}       -71°l17l1 -fl 7fJ--
     01*1 1]1A1E                      tt o                ]Aff °P= 3L7-1 711 7}212j/d 01*4 'Jfl
                       tll%    -]E 94 ¶1-4I eulI71-7t                         o]] -g-Aè fo]4 JÎ1}

                                                          - 14 -
        Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 17 of 85




       4 ,'Pfl. *wi-a4 «'7]- s1-iL 1*1 A-A}°                             -a1Ö]]   4e             1i
      tJ A5]7] t}tf-.                        3J'J-- Aj6b 4*4                      }'L *Iîi%
     AJQJ             tH1t?Öfl tfl         tJ2     8)-714 AA1-?}IJ      I}S        *LWÖ      -78]-
                     4flS I1S                              t] 4 A}      ZJA}(audit)?ifl 71fl1-
        fl AU]-                      tf.4 JSIÜ)-4 A31, CDT-tI 5! iL7J                    A1n**
                     4 AO1
      -r-ofl tfltf ¶1-24.E-       y]-                       ]9)7] O17]2jÖ1]                 4
     euhÌQofl 7]at}c Nfl** fo]) r]I                           24]          4 7J±A1Y]3i A]7J7
     *4-4 'ifls}s4 Ù4.

31            °1   A)-ZJ 3I)J9j-& tA]QJ J-9 O]S)öfl 444Jo]] tflsl)                     -A1zì.   -91

     8)-744 fli QJ']4 tJ7?fl } A}o] 91EL '}fl 11* *711-71 4M ]- *
     71-- 4ifl]-714 flAA] ÓJaJ]Ö]] 4M f-fl ]74t} Aj.7}237i,QaL
       tS-    -'JiflÙ]-Pl, Ja]A]-S Ö]  U]\j}7]4 *tE *7f*
      4 1"ÌH'1 -1o]fl L8} ?4-°1 OO fl5)E} o]F4} -A]Z1
     è] tA] -)o]] Z4O £-}3i ø]tfl}t])     4tj- 'Tc-1 Z]-)7]-    L5




     71354A1                          sJ    o]4

      2) L1AHN

       7)-)   flt4].4 7Ì--?JaÌ4 ji
       (1) Y}-A21 t-]

r             I1AJi4 1995ìd'V-EI °J41*4 7Efl CDT4'°1 fl* r-1«
          Çj-7j}SJ   °J2)-S)Ofl J7)-J-      )A)-fl CDT À)Y*1J.                      t)-fCj-. o}pj
     7. A]-iA}71$1-              -   J17JjA]-- *S}]A1 Qfl             fl71iJ-, 7A}4              SIL


     fl4.- 7O                 4 'J]- + 9,1551                                     71*NA-I *îi
     %- -ufl              j-ufl7}4 flO                      J)ö]) Ó]2]}            4

                   tV1-P--, JAflj12), tflTh 11-1                     ]31 'fl4-°]         1UI- 1996.

                                                 - 15 -
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                        f7}4ïa- 'CDT *I fl*
       11. 23.4 44]2IoflA-}                                                                   fl ±t] Ifl *
       *.2-. Ags%1 *±', 'flfl4 *WF efl' ÎIÙk 4J'                                                    oJ   AJ-23 7}B9J
       71i]°1] l                   IS}4. °1l-1                           F-°1 z A}2           171I t'-*             SI. O
                                                                                                                    O


       t]-7fl                        òt. O öe tj
                     1A1 4i7]-1 nlç A1iA                                 J_flOkj 'ÇQ


      <a 6> 2008. 5. 14. t]-J-1 J-,(,vv) , A}J- jfi.]
         t11) XW CDT CEXfI2j0flM  )flE]           fltF7j cja}E       MF jj
                                                                        2J   2E t
       7FAF0ll7U         VCFfl 24HL1I, CDT CXF]2I      tflA-j                 AiJ0fl
                            et
       M
       SjOfl
       SLICE.
             JHII
              t)Ff2M1
                      at 1421 bI
                      7E0I   cl  tEt    3
                                               Eth I2l
                                                    WE 7E
                                                              tJFtF7I P    UflCE 1
                                                                           vc4                     tt
                                                                                  (±* 111t*, '4ia.A] 275*)


     (2)        A191 %-&1413)


31              °i    fl7]zj- t 7jA3A}9-
                       A}                       ]i'11 4F1tE t'11 7]fl(n
                ¿* Ia1%-& tJÎ1cIf(CY) i3 IllaalAh .1-(C.C.) ]4 -'Pf, 1-1
      (S J.) °J                           ii-&C-'-1) .1i, -i-e(i1) Ì, tM(k1) cil 3j-
                                             ,



      4}(u]-olt)             -,   -u o](a1 4) AÖfl, -(ofls4a) AM, -*(°]-) .&
         f't3i, -J- SDI ±k
      -W-°]                          L11A014, '24 -AHJ-, 4VÇ,            t
      ®®, oa 'TIAS VV -°} 4P49L-1, LPD ¿ ö2z4        fly
        1ou J-Ap             Ul-Ce, sLM,                    ©©, 'jQQ

        (3) yffl lsiI             jL




     ö]t}   1999. 11. tà SDI- 4]-t               Z]    ]
                                                           ¡1AO.g]            A]sf-   --   n* %AZ]4       'IiJ4
     UH% ](n*) ±' J]-?i t A1-tHC.Y.) & 19-2037. 5Pi tF1                                                        01Afi, A]-
       (C.C.)        1---     2005M]-ZI t}flS1 CRT eufl . °1-'N +kR±S., 1-!i(S.J.) 9]nS 1997'd-2007. 6
     -fl)-]           -flo]ì.]o]- 4.Ö14   -t(i°1ê)      1994. 9-1998, llF1                flo]A]o]- -o]]51f
     'J-, 1998. 11---2WPd t}I fl-i- CDT4o] ofli-]Z), 2031k4-2CO6d. 7        AHL 20. TW-2W7. 5}x]
     tfl- fl-i- APJ-S..
     o]4
                                       ]-2            i SD! ±* 'P4-?1 t tC            1996. 1W-1999. 1W}z]   .J-jJ flt]
             J4 1998. 2-2001. 3-}1                              3 "*    SDI      -(%-}), 2001. 3W-2032. -14] C]4
     J.*ßflb1 -AH}, 2032. 3-W--2003. 2Z1                   1 SDI -Af4. 4]Ùf4 LFD ±k %]Z]i t °?YVê 2fl
     2W-2C. 9. 22. LFD *7O1A},                             2(01. 7-2003. 1W7/}] CRT ---, 2034. 2W-2. 1WI4Z1 CR)
      -Af-S            i}4.
                                                               - 16 -
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35              0]       A]-23       Y}                     -7].            i7]t. 7fi]]                ]J141         1S1(Top
     Level Meeting), ufi                    71] ¿j   1     E21 z]-       1 SI (Management Level Meeting), '--Z]-
      ]S1(Working Level Meeting)                                     4. a]Lufl91               *ÎI-S1 *a
     (CEO)      CRT Af flJ-OEIeaW01 4FH     +1 ¶I°1] tfii, I14
       -:1sp 4 A]-2.]                     0joi
                            %.t}ó À]fl*4 Afleol 4* - pi1 4r;SIÖfl t1]
                                            *4i]S               ¿]514]                             ]So1] 4W--             ]11i
               FJ 9Pi-                fl-tf.n. Ó]        1SI°fl-'1 ¶IE A]4] o]Ù01fl                              j8}4. o]
     ?4        A]--             «}fl1I               44SI zjetfl*i SÌSPI.E -2J4.

     <A 7> 2009. 6. 18.--19. -Yj--3j SDI 4'-vv 4
       111)       'F                                     tqies             Lnq0Ii(Top Meeting),        0IJ
     (Management Meeting),                                 IJIj(Workin Level Meeting)2     7II LF]VLICF.
                     2     o 0''
                              Io'_ YÁ'°'
                                   -, f-1 saFk                               t(W)°I            iFso4               I' i
                 ?         %VI9 ¶ML-IE-F.                                        jx      ojj       7171JM        t2hJ AF
            -tFfl            )1JJ01ICDT                        H6U !t7F0lIM EF2ttF     )l]2SLlLF....
                                4AFSI                              NtF             flIE4flI 0101001
     ojjO[aflofi
     ÜHAIJ(-i
     -, = -, JI onÌfl
                   a m oHLIcF.
                        __ '   Ht                                      ?     1I2 ¶2Ol 01 EI.E
           _o¼JI          'il    OL
                                 A
                                L. AIC1In nIEt
                                               aj0fl                     nJoIJ' 'F 3fli5i9LIc4....eaIJF
            0jOEj]0fl                 e-rr=j                  HtFSLI:F.                   0IIOfl     2t AF2J LEIY± X101I
     M EtF                                 ?±0I YitE9ALIEi. Dj 2flIEV2 2f A2j Li] Et EF0I!}fl0I AJ
                                                                AlC'Ifl nuIg }-17F
      Ii
     L11
            LIOAl
            "r-r a a 0F7FU1                      JS AFtFSLICF. amAflrj                                           0J 7I]] i
                   7i]jE(0j taIxF                    GjJ     JtE 4f
                                                                                      (±J- I12-1tt, AJA}flAI 304')

           (4) 7]-               11SI ;sJJ

35               }-


     *21 t-4* flS}54. 9]7JA}
                                     SÖ1]A7 'S]3J4'           è. 'jA'7}-         fi
                                                                     t1] 714*21 Y]-fl 1SIl
                                                                                                     'ÌJ     67Ì1-127L
                                                                                                           z]-   5
            hfl °fl * Pd1ui n-i-w- ** flsi                                                                 QJfl i}
      W =1]t]-1*. 1SI 7111 -4-1A1 A]-Z3Öfl fl-cl                                                                      .    on
     Öo]4 ifl &].%t]-cI SIA}M* 4'1Ûf.

      <A 8> 200& 5. 14. fll-'flSI                              _4flÓ1e) .- A}Sj- ;je:Ai




                                                                 - 17 -
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                        0_
        i13) CDT]°I°l 0IFo                             asb orne
                                                      eoe  oIo rn
                                                                tinIUFO
                                                                     L_-IIL_L.L_
                                                                         lAL       0
                                                                               -tB1?c1SL                  4ÌF
                           O1I            01 NSDI7F 2005oU                  joIoIFI     ooF
                                                                             -I--Io-,e eAA          Ji AMSDDF
                                                                                                   pj» co                    01
                       7t0J                            200G1 3))Fi           SFi0l 9P5JAFOIÂI OIBIP!                           1

      aItSLjcF.                                                                  (±J- 1.1-itt, Al-flA-1 275*)
      <      9> 2009. 6. la-19. %-                        SDI tvv 24 j-A]
        t13) EF±                                         Ii01I UtII jai iSi oa eufti                                     7P1
             AtLfl PiElT itrJ JI-CL- ÑI-AIAFJF                                                                     LI1Sj
      0191
        I
             2]*J0fl1Cj
           JcISHS
          L_OC  aA°°L_IC
                                     C7
                                     I
                                                                           QFJFJM 2ii(Chairrnan)
                                                  fl7F 'J Jd-ota 0IIH2 a'-lrnn
                                               , ao,                    O>J,L.-,Oi.0
                                                                                  (±]- 12-itt, 4]A}
                                                                                                   j       2t

                                                                                                                liA] 307*)


                           9=                                   ]9rl ]oflA] A}--]                    3O]4 Z}r                 A}

                                                                            fl
37


      jo]] 4 41-71-421                         }'fl              --R}                                                          ]

     21t     %]-4-1- iÏLfl Al3JL]- tJ2jA}tJ-,  Pjo]] o4t}7I4 9cJ-o] fo]E
        E.°fl 4'fl}31, %7]-4221 *21''U-t 1-1iF - L1}%*F.

      <A 10> 200                 6. iaia -11 SDI                     VV     fl JA1
       t12) 0l   1ÖI1                    FPJ ±9I 0[E(Yvonne)& jS]7Ilj Jj0fl
      24 4i2F0U7fl                       FO1      Id                            k°H'F              ZtXF    AFQU    turetEi
       ±°{I JIItFE 2?t1EU 31sr ,ç:rIn
                                er"rejniavuff
                                       UI     OIEE ttFO4                                                          pjo    Q

             AMH E]U t2I! AlW4QI C4-2 VtE7                                                                Ii t?J±
        FOI)Ffl
        t15) JS]0fl '2°° gjt
                           'JI - A" O
                                     Olofi L?J
                                                ESI J2]A]
                                                            J         Sj&F°lL'C i.
                                                                        7S1UF
                                                                  Sorn -1 do
                                                             jfiLc4. XF ûj0fi.kj
                                                                                    0II   [IISU            I
                                                                                                                               ,




                           coC'l an I_
                          EiYcFnnI    ME   FaJx   uJJoJJkj WÇ IJFAF71 2J0j LUaS
                                                                             Joe8101
                                                                                   1j-J Dl
        ÎtLÏ2           Al      E&         °'
                                      i-' o-la              1I)F   JLILF.
                                                                       (±f 12-lit, 'A}A 306*                            309*)



35                         2.]2J          iPJ*& o] A]-Z3 fl7]zflQJ- 7u1-5]O1 9,A54. +-@                                      121

     7]- 7]I A]   ]1     'Al 2            t1 ô]       (Market Update)'A] ofi A]            *jA]-jg- 442] AX *i, 7]-
                  }u]J%          .-nJ)7]-             27MfS}        4J- Pfl -- vn
     ZJA]]7fi )2] ç-.a                                 fl t]3jjt]- 7}7JjAj J2]7} -fl;S]S. o].o
     sz1-                 fljj o]j                      S]oflA]    J]!} A]-3j-ô] 4cfl. ô]x-- A]..
     7tft]], 3i7J                         .    A13J-OIIAj       ]%j ZJbJ.Ofl 7JÛFcZI tJ9]oAj Ö1-tj                3L.          J




                       fl411 A}7U :-gflf                                      tJ-2]A]-tJ-*        í}14         ?1**
     ì4 ¶S1A}M *°l41 t]]t]-o                                -''j-i *D}4.

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         <       ii> 2009. 6. i&-19. 'i1 SDI                         vv 24 3J4A1
          t13)         Ejx el 9IEtS °Aj CF
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              'M/S Review'eÀIJF jLlEj-....n LF                          eM       ...   'Line Control Plan' EE          'Line
         Shut-Down Schedule'
         EE
                                             MO1IM 24 /49] jÁ1l7II CDT
                                i a L-2ItFSLIEF
                         A' L- 2'                                           , bl°                 ""
                                                                                        OI 21lOII CEFEE AMAFaOI
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         mr7.loI
            n ReldmAFKiJ, DYJO, OF±                              H        JIS 7IeJEWtSiEJlE ¶LIcE.
                                                                          (±- 12-itt, A1-A9 307*)

                  n4ai 14PQifl Y4 ÎJ-'1ÜF7-14 7P-4JF* ]±}tf7] ]}] *Jy]-
                         AA       12]fl A}*}t1] fl 'fl-fl -* iiis
               7]   s] zJ4t]&    ---fl z]- A]-
                                         -     --r]-3i   7J  3-Ufl .tk}
     7]           2I}]-.            tJ       -2]A}ÙJ-2]          * W-}71 41               ZJA]-(Au3jt)-.   A]ÙJ.         Lfl
          îi UJ-o)] Et]]A-]E             Ï21t}4.
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         J14) J°H7F                                       -6FJI ItUM,
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                                                                                                   tFSLIEF.            2JE
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                                                      1-H ocJ                              o2fl -, °l 2-tEDI SWJ
                ã LPDE fAE   f8F "°" JIi'I°ILjE4.
                                            jçj           (±Q                              12-2tt, 'A}.jLA-I 308*)


40               tQ, 'J E]- A}J-(AO.B.: Any Other Business)'eAl O]) A-] %7]--]---'&                             ]-7]     1 2]

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     5i72] T3J1J                2]]r                U)7]-21      Q]2]        - A]77]-2O]]           z]                 WT
     s                                       Vj-Ùfl7}24 Qjj-A]O]] fl


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                   Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 22 of 85




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      (9) LSEà W                            ì tLoMsLo* uLla fr




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          Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 23 of 85




              01 A}Z3          '2J-& 7m                ifl1 UI- %Z1-Q                             *#] 214t                   ']z
          flÙf             CDT4-21 Vj-ufl7}24, A.$ufl %                                   a m'}s±°11 t]tÌÌ                  -s1t}
    Qtj, o]zj              11°fl'1 -J                       ÙOj              }7]      ]S1O11A1 .fl                  7JÙ]-%CL 11
           flì.]-            Vi1]7]-21              . A4.4P                                         +1$ 4ifl
        191ofl1       *7fiÙ1-71.E t]Ó4 o]                  c}a 5']-2             5iJ7}4. t-cr-- }j°1 7mA]-$
    s      Ja}                   tHi fl-I                            $ *1u}4. o]                                    }$jA}      r4

    flA]--o1 JUI}* oltD}. 914                                     7]tÓflA1 Z]-4J ¶Iz A}«* titE
            'eis. y}Efl                                7]t1]Öfl      i1] «n* t                                 5U




<a 14> 200& 5. 14 fltfl                               -flo1e) .,- 'Pè iei
        t11) LF2F          I2IOUM CDT          aI     2]          4AFOI            7FitF        2-f AF        'l'i-, Ql' AHAF
                                                                                                         a _ftU-IL7      at-,
    ju]jg 2OO5                OjOII       [EH[LH           itEF              7FSltICL
                                                                             -Th  I.  ÑMrg ft1OI J2j
                                                                                      I



    e4tFn 9icE                ei-w a         n-, le
                                         It- 5cMxL.o1I7u            7I   ?ItII     k°I1    )F            Xfl
           2JJ                                                                Oi vvs
    711


    ai        ixg fuflJ                        I     r --= '-
                              2IJF 21J$E]'21h1 OIEjPJ AF-
                                                                 3flt
                                                   E46LIc4. ... SF9I '
        AIjoflÀj ]tk            ItFo c   Qfl  ai  i2i t2iI VitF       JAjOI )IItF
      S7F       itFEFb       O   47F ftUR
                                        IhL- AAJ
                                              °'°lLIcF. tl-c191, cx2]        j?i-g i
    2IJ M                       tEO1 Q jfj              7IjtFfl           AF   ateiBE
    21E tF2O1, -i-im 1Olfl rCL-
                           -s-C74o4?qn
                                oct-Is I-IOl
                                             o nt-a t-                 oi        -tF7I
    E tF-SLIcF.                                                                    (ZJ-         1-1t,               AEflA-1 274*)


              Ef
            9Ó]3f es}cr1, E7}4--& %1+(cheating)* t1 4I}
   j- A}-0]                  t} -j
                     -uB7]-z4 31   QI F1-1 7}4J °lfl v+eEt]-71 qj
tfcrj         7f]-°1       7flZ30I ttf.- 7E'-°]t tJ-9 t'j-Ó1} flJ-A]
37 Agfl 44         4 AfSf 7JAFQJ-?J* iflH A}33*flÓÏ 4j-tj Ag4«JJ
-     %H1 7EI-tf°1-         4û}ifl Fa-4M L1 *°lfl t1tF7] #L%
                      fl       jL7i       A17J** fl -sI-- *o]fl 7j4                                                         Z]7]- *
                  I        t11N '111 *tE i1S--                           fl1f1 t3iu1* -W                            3* «2
.9-1, EE7E-                        4u              A}-OJ     SJ fl47f fl}* ?*t}1 L4
t o]tfl»fl c-1S4.                      ti-,         i -NV** fl !l--]f i'11 ?E* 7m-v-
4 A}              A1fl** t1-11                      -fl* -Aflt]-7]E fl4.


                                                           - 21 -
               Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 24 of 85




45                      A}Z3    flJ }-4tjcfl-f°1                                  CDT%°i                             2.       ]'o1] z}.f
          a1                             ÖjÙ o] A}2J 3*-fl                                               .'4'71t            %a7}M,
     4 A}2 *V+fl*      j- A17fl** -' 4 a.i11l                                                                             Àp1-4% j-ufl
     Itj     Mtfl AA1-Bj 4*4 ItF ¶9] fl flFtL                                                                               'i+ ']--1 ll
          ol« 4J131ZL LGj4,                                rfljz]-,    it4 -                                                       c]-z}
     7}         LflO]                      tâ SDI, LPD -    -s               ]-                          -7 A]-(&    71)Ölsj1 }ä
     t'L9]              tj-oflA-}       J)J 7flhJ A4 F9J- 4

     <. 15>              200& 5. 14      tfl-                          flÖ]e)        -       A]-         1W1
      t15) CDT Lf714]2]   2j2j                        -]                                     n      j9j0fl DI8FO4, CDT C.FXfI2i01IM
                       A1IUI                         IBE      flOBM                                          °H?01I U-U1  SE Lixu
     LE         ii91SLICF. nali, f0fl                         -IY<i1     IJ                          E EE      LGPEF CDT E4Xl9i
     011M        9R!           R 6LFI      iO1I            t01 VV2S, CDT CFXE121                                            PJ2I1 AEJ
          fl°U 9101                 .n211011      JoI uI               ?oIan                  4ILIr4.
                                                                                                   (±4      1-1S, 'A}i.A1 276*)

     (8)           *Ì9] -?i.21

46               o 4zJ l-j%& 77]ZfZJ ]JA}-4 9.3]                                                               .3t}7] -]t k             A]-

          Ol    914. -q-«,                     ]9]          iLAp1        1--.& '* -OELÄ1(Visitation Report)',                       A]3J-

            JiL(Market Information Exchange)', '1 S] ô]                                             ±71 .JÏLÀ1 (Return-from-abroad
     Trip Report)'$ 4- *1-- A}4t]-CX] 774$ ]1Al-«sI i:i]fl *I]-TI1} t]-5
     c}-,       tj 4 5tJ-4JÇj-9] -fl                              ]-A-                   J          $flÀo)J. £- '1]', rJJS]
     u]'7}         A]9]O] flu fl%ZjÖ] S]Ç-o1] Eì4Z]                                                                 ]9]T4 A}*4
               7jYi                     t}7]E t]-914.

      <         16> 200& 5. 14 tF-                               t(io]e)                     . A}- ZJtA-}
          t22-1)         oo -ei
                       Wirc o lSi;E ]IiM                                             L0I 24                                     tiXF0I
     J2f2J            *JAI   Et)-7fl                                   91)        iQfl                       ,,I LJ
                                                                                                         o' ai-oio' -iIo,  o;aFL
                                                                                                                            r       UF
     EFOII      £HtFIME    2jtF91LICF. EE8F      xf                     Q
                                                                             's      FM7L0l
                                                                                    =-'        I     I
                                                                                                                 qjuo      0181- ZFAUc
                                                                                                                           L-t- = 111
                7E0fl           IIII 2IJtF.52 V91H                                     VLILE.                  I±2I Mr. xflaI J(ierry
     Lin)         CE           AF0E7U                                                A'°'
                                                                                  -, 1-i C-,
                                                                                           A1;7q          2-392 XHki ?
     A1I2±Efl W2Iaa
               -,   01011                            sitFveLIcE.                                   (±4 t-itt, AfiuAj 292*)
                                                                  - 22 -
                   Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 25 of 85




             <R 17> 2009. 7. 7.-8. '%'i} SDI o]t .-3J ZjA1
             EJ5)      ...   GSM2 Glass Standardization Meeting2(                                Af'F-'-=--i
                                                                                                       °°° '"OI
                                                                                                             o-1 E1L1
             71        2JM                        tFXF          J°II    71O1C
                                                                       J-1 1.1 oi          4jt          ioI VU-1M           7FAF
             g                 oI9Pu»           oi oi @ow AFtF2SLII4.               (±'J         2-2tt, -JA-iaL&] 337w)


47                              5'}-VJ                1!tIL t71*              7Pi 1Eî }fl 2M1                            M*-& 7}
                               ?Ì$           ±j--Qi'?J4j±°] *                    i]*          4                    t]]    4
              -44 fl                                j8]-..t-]1 t]tl-7]      S1-%.4.



             (9)         W.t4J9         A}7]



                        o]    &}zJ flt2] À]7] 51]4]Qj -F- SDP]- ]4I'j t*Th "R}J fl-i-                                                          -




                  f           o}cjof 11Aj fl}J .J7-.94 7-Ç1- 1996. 11. 23.., l'14}Qi LPD-
         2001. 6. 30..                  4.

49                    3I])J9J AJA SDI9]-            '14l'U fl-11         5'-Ii fl}F flO]A]6).14), I1-                          fl}
                              -9]           4- 1996. 11. 23. flÖÌAi--Ö]                %-4                      ]]o            o1

         io            oJ.     7M*             CDT          J]SJ    s. jii-ìi- s±çj                                                  -




                  J j.1.3iLJ-, AJ3 4fltsl,       jt1-41]  '-.Q1ti-4. tr}4-À1 ']-i
                                                                F17P-4                %.oÌ]

         AJAä SDI$               fl}fl, 4]QJ tflF JøJA1O}
                                    AJO1                         flf4                            SI]4JJ
         o]       4z3 flÙ4                      -    4     2]j '-2J 1996. 11. 23.-I #]'1UI-I 711A10

                      1']4J9j LPD            2001. 6. 11. 'fl 4-               2001. 7. 24. CDT                          J.9]°1]         *J-

        ¿4Ù]-t4, £A}9j LG- 2001. 6. 30.,                                                          i--E1 2001. 7. 1. 44
        CRTA}fl Oe9R £.D}A}7} Foj -v-fl flfl cttF         DF S
        £          oi i-fl]a- t0Jt2c1 200L 6. 30.* WUIÉÌ 7A]0


14) *A1           'I4IîI **F ¶fl°P1°El rllEz}                                       opt}4 zf5)oflAj                }$ 7J'Ö I1A
              fls4aJ O7o) 4DA} ZJf J1 3zj jI).fl Jo) %t}                                         -9O)] £J.7]t4- tJ-Jt]J%S-
     A}Ó]]         o tfl}.%         Al t-     Z}A}%Ó1 ol.- ó]          o 4Z3 -tjAl-flA] U-4- -(i °1 )-Y-1 20D8.5.14.
      j«ael(2g7
     óJ A}z3          fl-Ç
                             %)cflA]      -*'1 tfl n* i.]] 9JA Ö]G *°J
                                       fl- t]-']4 n            **tF A} %
                                                                                         ESÌA} 4,     Af9]
                                                                                              tIe 7f]A}Ofl      fl% Ie
                                                                                                                            fl4,
             . 5z4Ö           o} ir]A        tF*VF Odflo]Alo}S] 7--Ofl     °l Â}7d ¶.-*3          Al7l-. 1996. 11. 23S         t}.

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     -                1-îifr- t-'iJ-$                           ]01       1t}     ]9]             1997        23], 1998    19

         1, 1999d 23, 2000d 9, 20011d 11], 2002'd 9], 2003\i 18l, 2004'd 191,
     20051d 12l                 - YE         ]-1                          7l-4.
5'                o] A]-2J             -fl2 t7]           4l-z]       Ù4-]7}      o]Aj-                  fl   5J id-o] *tfl
     -&]-3L            o]      fol] *7-LE. L2a. *Jo] 4z]]- ]-1                                                   7HJ-      i
     2006. a 14..                4 4. °]              CDTAMJ]                    flo]             A]-O
     °Ì] 44 #F(CDT)sl fl7]- 1l! *                                                j4 Y]-            ].47} r] o]AJ Zr.t].z]
          Q71 l%°l

         3) _-]              -s        AW1fl--

          7]-)    1996. 11. 23. o]x 2.xA}4 ß-


52               o]   Al-2-J W-%t]9 A]7]QJ 1996. 11. 23. Ó]IÖ]]Ç CDT                                          b-'it]-
     ).l-aS OM*                              iÙ]-rJ   CDTA]f Yfl iifl A}-o]                          l-.±Ì AI]3-ltt -
         113-8St) 1995d                                  A]3]-I 0]?]ti-          ]-1]Aj tfl-, LGJ4, -J-ìF
     o]    iifl Jij- t                     4 A}2.]                        --1- VJ-Ufl7}2 -.o]gcf


        o]]$                   0S
                     *tHt o] A]-ZJS4                                                       447]- i*l- A]5Jj
                                                                               Sj fl-Ao z-±e ..
                                                                                                                          fl
     -4 fl, 7A} 5 517qs] 4!J*°1}                                                                                    AJoy-o}
                             A]3J0]]    F°1t}fl ujc} 4Q]                         -tflfl
     nE-]4 O] A}zJ                t*-?]1 A]7]ti 1996. iL 2                        o]z        1]77]z1O] 7jz}4 °èH]
                 fl         7A1]t}a1       ]A]-7]-         1W '5flZ]                o]ax]         -g4i i--.cf.

          4) 1996\E. 744 f

         CE 18>                                       1996\ThE. CDT                     17AS-'5


15) °1F                         1I7K41 't*' t1-fl 'SDI'                    -AJ SDI[1999.11    Ö]j     "I1ì4(SDD)'], 'LPD'
         WIÈ'-fl'l, LG'                  LG%ZL             à!                   'I4fl- 1?]&V1- 4At}°1 1iE
                                                                 - 24 -
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                iÌOJt1                           S1*                              j4(}s})
                              Aj-7Jk, Lj-u1]71- cjt}41 t.*, SDI,  pg-                                    ±* 13-91t
         1     1996.11.23.                               (jLq-]2.])                                   5JA]-j!A1 4W* 471*
        2      1996.11.25.                14"    1A]7f($76)                    tF, SDI, ]Ef]           ±31    3-1Oi*,
                                                                                                       4JA]-jjA1 495*
                                                                                                       ±I- A1]3-llt*,
        3      1996.11.26            4u117]-7            21-($0.5)                   *, SDI              AEaLA1 505*,
                                                                                                         506*, 508*
        4      1996.12.2&                              J-91     -îi               t1-, SDI             ±t )]3-12tt
                                                                                                         AjjÂ] 523*


       W 19961d 11-W 23              4441

54             0              Zl-A]-21     tflO]A}yf J]t}-                                  ]2)] tF                      %Aa

      a .Q1&& CDT Z1J%S1 ¶fl AYJ                                          3!     4- 71}tiKt vi%°-1 fltfsz, CDT
      Ag4                                  îi                W1-- 2fl- *c1- a*
                fl
                ZJ-$ j-U1]7]-Z1                                ITC$ B+D16)
                                                                                                             Iflfl
                                                     z]-71],                                                                     -

                                     SJ          *-- rf.. CRT*1 °*E!-
             -9]}}                                                    Id'g .9e1-Q--&. .E]u}-                  %z4S- LG
      ZJ4$          JE}                       o]'. a- CDT 8--4t o]
                                JcrA]7Ì7].. t}%c]                       y]-ofl                                  &}


      %oA]JÓ                 31I 1LO *7---t]-7fl Ú}3= 1.EöJ* 0d ' JC]- o]
      tnn             -]-#12ì(C.Y.)              1     *L N-(C.C.) 1+,                     -t7fl°]e)
         ©A           j- 5, 2f&9I                      A}%J 1         2°]         tt}.17) o]. t*M
      iv]'-°fl 2I1 foi.cf
      3311 )1IAF 2           CDISI              2] 42i-[                 0I    24tFEF&L1i 0itH          0I 6F2QCF. CPI1B)
                          2ofl7fl M-                     0Lfl     1M&I2.         4?i tt2M              Q}AllJ1LF tdyItH
      19972] 01d1            A]7J     W7If.fl ZM9ItFCF. SDD2} Qalgg                              E4                  tE4.
      4ajg                       0flM 2* 7F4                    ?1SFtF         g CRI WJ0lL4 2LlEj )llAF01I71I
                   ?i4fl        Ü2CÍ.
      11C2F B-'-D?J9i      JF2iiE           CPI                @IJSD 2-         [LFEF0EE   tF0   Ql    0fl     LUBU §9j Ql
          CI     0j        ii               M2jC.                                                       (t:71        3-9t*)


      tJ13(Defltion Yolk)71- *Z]71 ei- 1RRßare Tube)* 1DiE4.
        -q12I(CX.) i& 1983--2007. 5.'H t*1-21 EMaO1M, ece 1996. 1.-1999. 1.7/PI AJ7J}9] rue]
     Af. 4a1t}4.
     °1$ 4Ó1 *71 W1] tPt1 F*& t1I*o1 i44                               tfliltQJ Color Picture Tube           ]P]S}    J-î-.    31,
             t tfl-(Chunghwa Picture Tubes Co. Ltdj* 9PÌtf71                       }4.

                                                               - 25 -
             Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 28 of 85




     L4OF)F, 2aJg OE1 CRTAFQM LF       I2iOfl  tDfl tt5Fa                                              IJ LH      LF!?D1, t
     T"  ii
             =
             a m OIC euI m      ° -1-- AffItFfl
                            _ ,.&                flE1t                                                   AIa[cF. CPTh PH
     7F        OtF                   Lfl    ?!oin 2aIgg TSBJF                       IFE           LIIF  OIan 9JtQ2o1,
    SDD             LGQF HIC                          DFÛl-[J
                                                      SA" I.                                                           (±* u13-9tt)

   © 19961d 11                    25       441

                  o]                 1996. iL 23.          111        MtI& 1ET1
                                                                         1'-H*]     fl]-oj zJ-
     - 11-w 25% 4*11                                  7Sj-tJ-. *J2J& CDT flÑj 7}7JsJ- 7fl 4
           t]-aL       149j1 CDT1 ]17}* 76fl t]-7]. J24S}4                                                     -,      }f 15i-i9]

    CDT AZ17}4 i4i-                           o]-A1    A]7]2Ol]          fl& 1i4                   f4 i-F*                  1EP]91 '1F
    o]
            rDfl 7f4&* 'M.tj A}-J                                9j4 o]            ]94   J.444.        AJAa7IJ9] 4VV, 14
           Y]3]4 A}fA]E}, tfl-9] i]-                                           ]--$ 'JI-'?                            o]a      A}4        t
    n:ij___Qi 'flflA]'-Ofl 9]

     u]          IUM 7F     £J8F                      4E VWIi 7FOI L1                        O1XIi            Uh1           JOfl EROI ¶
            &tfl 261E1 4 XIIAF                        tFO        7       7F         LitFtF7lI Ffl
     711                   OIEF. CDI )l                     47I qjUII HTC)F 7-î CRI                    fT-F                 41tF52   2I
     )4I6F                  F±LF.
                       142]     I1JF)F USD 76 (S/S ITO19))    ISPI    UFJLF. ITC2F Bi-D ?k2] 7F
            FOI            CPI2I USD 2    jÑuFa.  AF       VCF.L   )flAF @USD 3,
     AF       @USD 4). CPT                   SDD           tflM @IJSD                             xM           aaiu             jüp- EF
      lOI         ?!2
                   J7fl 2]LL
     15'    Dfl 7O KH, HEDS 9 SDD 2 CPT2I 2j4                                                     JF@USD1157F A!,F Vll.a
     'JF)fl ilkAI-7I 2JOI.2ffl 4&Fn aF (xI] HEDSJF                                                AI8F AAj   @USD1200I
     U      SDD             @USD118OIE-D.             aI         1'1JF        JU          iOI            !JI tLUOU 7FOI CF±
     Wg             oIaF1         -tiiAj OItFl              FO1 CPTJF IOB                  l ZE1ì ?!oIaLn                     7CF.
                                                                                                                      (±J- 13-lOtt)

      © 1996½4 11W 26% Ö4]9]


                       i      9]o1])c]      AJ01%.. fl               i   iO         4 A}9]              7f-1 t ]yf7$ .jL
                             fz1- a1*&I                    ]-1* 41-t          FÎ18}fl, tflF-- 4HJWI                                       è
                           %°fl7fl         11k-- *7f1* 2IJAJÙf3L 9J4ji. °]T- fl7ÌtF.911 t
    flF 7}4                                it OMIT-91 7]-7                -- fl stt]-.                        o]ofl    tflt] 41-jfl
19) S/Se DYSI ti fl(SaddlWSaddle)* 2]11tH, ITO                           Indium Tin Oxides]               'CF'FA}       «-- -liti    F--!1
            flflqj îi%fl* ¿]u4
                                                                     - 26 -
                Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 29 of 85




         goq 7}21°} 71}A}      4 53Et)Yj    c±f 0.5** 711-°1-- *1
      S}7]..    t}4. BÀJÖ]fl ¶i-1 14'i-1 171L tfl-& t]EF]2F
      cJ  J4Y4ÓJ jJu}4        ..oJJ flt1-- ¶a}rJ- oJ      AJx.]rj
      Mr. tf(L}V), Mr. t]-C}*®), Mr. Lee M.S.(°lfl), O]L4                                                 t*fl1 N-
                                                 .71-
                                                        J-A4}4 o]. fl1-H1

      CPT    ElM 1O       Ui! IMJFC flEF.
      14' MPRII2O)/ITC: LSD 80.00
      14" 55/ITO: USD 76.00
      XFVFXI, ORTh '4I

       100K-*USD76, 80K-77
                            f MlÁJJ1g
                                XII L[E2                  WEE.
                                                   E45iF ?jEf.
                                                60K-78 50K-*79                                            (±2- 13-litt)
                      )fZ     jtF                ORT UAFOJI2H E-J e e                          H6I-)JE± V          oIER    ne-j
       2 CPTh ?JJ8FM ?                                     EJtF      llI   E0fl,   xH2I    lMF                -MtF.nYcF     FLF,
       SDD0II7II CPTEF ± LSD 1.00/PC Oftt2I 7F                                     t52               -01IAI    )lI2Ì7F       -M
       V2AI aEtflEF1 9EF.
       §4 fl0t              UHXFSI         AI0I»        tFXHI )F71 £]tF                    Fofl            0I LIXI ?k201,



       SDD)F
            oi
       ORT 4AF0I
              g el
                        V 7F
                                     Ofl   JF
                                       '1! ?!oIEF.
                                                   .2428F71 fl fl0i
                                          OEF2Md CPT.              tF0  7F
                                                                                          2/



                                                                                     Wfl]-E]-El LEAl §El
                                                                                                           OfE4              g

       ggIij '0I                                OlEF. Mr.LF       DFLH SDDJF I±V LSD 0.50/P.CSI 7F21 ¶
       0I          -7I8Fi E0ig/EMO                        AFtFLII          SjE[.                              (±J- 43-litt)

       EEJ 14"         JX1)F  CPTJI- HTC/PHOII, SDD)I- TsB/os/2Egofl 18FE                                       tEDI,        JF
                     7IIfl CPT2E USD 0.50-LSD 1.00/POSI 7F     E0lW   -MF
       VI 8EWLI-.                                                                                         (±- 13-litt)

     © 1996\ i2-            l8        O4

57                               1996. 11. 26. 0JA1-7] ¶Ï1& 71-21* *zl                         ?4* PHtF.ii, Z]- A]-
     7]-                         '2'?                   *7}21*       21       fciùH- -- tjs] ol1n t
     $S]-.            i-, t}°ifl AJÂIY4Ól 714J4 A]--4 ..fl 7j4 71-217fb] 7
            d     9J4- #]n j A]-o] 9)c]- o]. 0J ,ç]-4fl 44g] 3!7J11 rfl                                                  -W-21z1

                  441- 3* '11*.2.          ]1      7} slfl* '- í  14.                                              O


      F-iW91 Mr. tf(tfS®), Mr. Lee M.S.(°Ifl), Ö1LA, t                                            ÇZO3J
                                                                                                          '?f
                                                                                                           fljs]
20) MPRII          fldi0flÂ] N ¶4S-. TV4 R.t.IE14- 4°1              FU4'-I dA* *                  F3**& *4 flL
                                                           - 27
         Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 30 of 85




    a-[          '--               '         [*-           iz* -2jg3 {4[Q Nv                           W3                     rzkz7r,
    [[oJn W
RidDo A96 LL                9?                ICIY4        IFi    i     kuIFoII IIHdVN OSfl 00E08      / N'1i F5OOE9L IC
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toTo ICGUS RYMoIO                                      54C1                                 Î*th       R±dD            T: IIohjtr
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    (E)        ¶BL661     i}i4c --t
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           83T2661         z4zfr[             ''9$:J7J)[* '(56$:,,91                                   kr1y' '*t99
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           93L661
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           iZgL661               W[° %[h-1. {?-ftt[o                                   'W     4[v                             *909

    g      tttL66t                     (o                                           '-
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                                                                                  'kaLs -faLvjd '*E19 *919«119
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    9      61t266t               tli        ',,P1 91       JAGD   %[z-It             't4 'las
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                                                                                                       *8z9
                                 i1         'J7J 91        JAGD   &Ve[L                                    43*n3-Eic
    L      9ZtL661                                                                   ' 'IGS c'aW           [Yfl{Y '*0P9
                                                                                                       *gvg
                                                                                                       rk? *T93-8k
    S          VVL661                  Lt JAGD 9$ jSJ                              'W'          jrt    LvEivR' "6I9
                                                                                                       3y9
                                                                                                           4 I6-9Z-EUc

    6      EZVL6GI
                           f[c zjL[3
                                  ',,1 «91 &ÏiACJAGO
                                                             '
                                                                                 '{/       '-[25'IGS t'r-[vR- "199'           LS9


01             39L661      ',P1 91            JAGD     %t'Vc-L          1-F         '-ê ifis               4k OE-E[Lt
      Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 31 of 85




                                                                                               A}flA1 689*,
                                                                                          690*
                          a4z17}7(14": $72, 15": $105)                       -1- SDI,
                                                                                          ±- 13-311*
 11     1997.5.9.                                     ufl     *1                          698*, 700*
 12    1997.5.16.                   ö]              7P *<]                 t*, SDI, LG    ±t 13-321*
                                                                                          4JA}.SLA1 710*
                                                                                          ±:J- 13-331*
                          °1        t17FZ] *1, I4iîì                       flL SDI, LG,
                                                                                                      723*,
 13    1997.5.20.
                     7f              }*1    }n] 7}zj                                      725*
                          -1 *°]                                   -9i-      tF, SDI      ±J 13-341*
 14     1997.6.5.                                  1A}                                    -A}flh] 734*
                               'i'41, 14" 7]-'A($62),
                                                                                          ¿:     13-351*
 15     1997.7.8.                                                            *-F, SDI     5JA}i3iH 739*,
                                         -
                                                                                          741*
                                17} (14": $60, 15": $90),
                                                                                          ¿t 13-361*
 16    1997.7.18.
                                         S-]z1A]-    °1fl±                   *L SDI                   147*,
                                                                                          749*
 17     1997.81.                             1*]1i                           *}, SDI      ±t 13-371*
                                                                                               A}.a}1 764*
                                                                                          ±k 13-381*
 18    1997.8.18.                   -IA}4J-                                  tF, SDI      -A}TLk 772*,
                                                                                          774*
 19    1997.10.9.     4Af                    sg               u.n- ?L SDI,                ± 13-391*
                                                                                          -AFJ.A1 787*
                               7I        i1-}1, Ajfl1,                        *1-, SDI
                                                                                          ±- 13-401*
 20    1997.10.20.
                                      7}Z]t}t»j .iL                                            AA1 795*
                                                                                          ¿4 13-411*
 21    1997.10.30.        ¿]l7(14": $58, 15": $75)                        *-}, SIJI,      A]A}.j1A1 805*,
                                                                                          807*
 22    1997.11.7.               *91A}              otgs.]A}                t, 1-A]4             - 13-421*
                                                                                                  13-431*
 23    1997.11.21.                           14"    J'H$58)                *LSDL LG,      4]A}iiLAj 829*,
                                                                                          832*

W 199Th i-W 28'                44]s]

        o]    ]i°V] *Î1%I -]*4 fl*                                              M 7y24*        tH
CDT'V1Ì-]         °]'1* i-±A1Ì                       'd$fl 7f7* 31°1R. ¿E'tI'? *±                      -t)     ]



 17PCii7U ]7]7})4 *L1t}7]..    It}'-.  o] i2Io]] LG7JZF
             ]]$- flt}o CRT4%°1 k1A* o]UF 3* £R54.                                                           31]



iiîifl 7}21H1               ]Z1S. 1*Ru flAj9J.. 7f2fl .]t] Z]- A}Sj
             Pl      ji1t. MA sj7Z}fl *n.2P1, o].. 27]-. Ft

                                                            - 29 -
            Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 32 of 85




     ?JO1 CDT              'kfl                      flfl ti4 fl*4 '-                                        4 O]
                                                                                                                            tfl
                                                                                                                                  -?1-


     'VIF2I Mr. '+(4), Mr. t]-(tf®®),                                       .'d±S1 Mr. -fl-,                       -EE,
     j-2i >k]-              - *-                           .î.IÖ}1   ..                                                           "-7

     7iM5iA1'01] 1fl HJJ4.
     oCDT 7f0j                                8Ft6FP1, oJ            ?itH           /-floI
               t eolct [LkFAt CDT )f2j
            VI71I                                                                     20fl71I 0IEjAII               30I         41
       0101, CDI   7Ofl/d Qg )4J0      F21
                                                                                                    L71° O-r
                                                                                                IM 7,-,  nAI5A1 24
       2] 7F21tF 2PO cThF7I qqto                                                    AI2          t±N310E       W-F.
                                                                                                                      ft3-15.t*)

     ofl, HTC)F 5i2!j-01I71I (MPRII) 14"                             64.00/c         )E1)I [LI101I                    J)fl2] 2211
                    HJfl ltf7I           E    i8HA1 ?-1 72
                                             0ß )F         )F2. aHoIt
       cl-.                ?jQ 24: 65.50 1-4, ± 24: 67. 00 E1, 15" MPRII
                  -2 24: 64 E1,
       ou[fi JF24g 0} 98 E1)F 3!OJCF. 2 2211: 98.00 Í?4, J2 221j:
      100.00 E1, ± 221j: 102-103.00 tE1
     o2] JixFg 2-9I f°HJE          lX1 7F242  -2tF 310fl 2]7j Jfl 2kCI-. Q
                  12]1F      LGOH J*J2M1 HIC»                             X17F240H     [IIPJ     2]      2]XtEE                    -F

              3              q.                                                                          (±'- 13-15St)


     © 19971d 2-W 24îl                       1-41 Ö49

59                o] 'PI      1z}-& 1997. 1.2&                        ]S]o)]A1      JS].J A}fl Ì]fl]sL                      fl'?
                    !-      o]tJJ7i}                                          7]-          .fl$ o]fl               t]-o     37
                 fl 4ftJ A]--O] 91'*. tL .3i7I0fli ÇM}7fl*                                                     tE5i t}7]O1]
            °1 *±] -floflA]       îJfl fl ¶ì1t].c]- 01                                                         t'}tPI
     -e       i+, *-*u                  ,    i-*i 3, À JBJS1 o]fl, O]AI, LGÙHI 0]QQz]-
     1}crI CDT7P4                           Oc4 *±i t1]tf tJ.]t}ccf o].ft} A1--& tflfs1
                                  9-1
                                              fQjcf
     oEI          0IAF      jX1 1997
            i! Aj0jI LIItfl 0I0l7ICF (1)
                                                1-    28       cpl/PH/5DD/QE]gsj
                                                                             ± (2)
                                                                                                j2j0lIkl               L} F
                                                                                           hN17k             14"       USD60.00
       (SIS), USD64.00 (MPRII), (3)                   EF                                       UUflFJ    qjsfl c          F4
      AFt-7cj pJI
     oH 2311 Q 14"
       O          01LF2 Q
                                             AF2J CPT/SDDJI- 2
                                        2211011711     XIICF.
                                                                                    29-F       9]
                                                                      JHtFcFj, ¶jJIo1l 14"CDT)F 4F [Iii
                                                                                                        fl(±?j4)lx3-16)?-ltll   ?ft1
                                                                                                                                   E

       24g 2J              ?0I[-F.                                                         (±?J X113-17)
           Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 33 of 85




w                         O]j         ]S tJ.]A.Sj?j         °d?4*°fl rM                 R-E %7}c}-o]             t1--tfl
           ojtfl AJ.-.&                -AJ9] J              PJ..9-5!.OJ74) 7JAJ.ÓJ' 1997. 2. 1&4 cF-
      i


      ® 1997'd 2                25V 44]O


61             o] 41ofl11 3j, 14'J.i                    151P1 CDT]                     I7L    i, 14i.]        AJ151.
     o], 15i]                 tflvF°] 7}Jfl WA}a. 1997. 4. 1ALEI 71- «L A31,
     AJV+ ZJ.. L)11 ÍL                           )PÓF41*** *Z17I. t]17]tZl A]1f011 1Ifl                         ]t]-
     u1,            JAJ]4. t}}21                  1°dÌ--9Ii(C.Y.)    1,                      Mr. &, Mr. 4(4Ç)),
     LG4] Mr. ì,                                   o]t °] tfl-1 '*nA1', hiESI
     'CRT 1W                           fl        t.t* 'tB1 ]2N.'o1I  fîiP1-.
     o14"CDT2                 Vci2F   MRPU: 67.00    Ej/7ff, S/S: 63.50/711
          15' CDT IM7E               MPRII: 100.00/PC
               AI-OI          )F2-1 9J*j@ SEC (J      flLfl.     j)Ofl 2jtfl                    9D1 fl       -Ofl CPTh
               AFOI           CDTOII [IIt JF 2Jt            6FLF. 14715" AFOI                  CDT 7F        2JJg 4/1
          '970fl
     o4                                        UF7I   1tH                       O1Ot PCF.
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            EH E4
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62                 o]                 CDT1A}O1 o]j ]S]o]AI 14"7}îP                              JSA}«4 7}zQjj
     i-                       tiuFS-. «n 7P1'F £A]7} t]4]-                                                     t}oI
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                   «* «                   4*        ]Ù}fl°] +JI4. o]
     AN 1z1]              fîi1.
     oCPT £E1      Afl LH9I CDT )1LAFOI 14" JF                                   21%°U E1lt 2IOI             ItLEII
        CF. SDD)F 7ftJ2] 7F
      iooa
                             2½J-(14": MPRII 67)                            f±           Ofl, CPT   15"              USD
               AI 2J.JJ ?OIEE. TSB 01 ±F                                  71I   2101           Io1, Ql        i0fl   LEF

        oian
     oCPT    4M Efl2] CDT XflAFQI Ql EQfl                                       2]E[            EF. flEILF HTC             01

                                                  2À9JtEF. HTCOVII         E4      g                      2t ?t
      TSBOII7II                                                                                     (±31 13-20t*)
            Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 34 of 85




      © PL661 N-2 r0zT                        1[{-t

               flThL'h' L66T                    L&[4g                                    '$j êtr *
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69                                                                     'ê&-liv                                iv1z
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     lto* ffR tFkts zr4jnr -Bk                                  t[1 !-fl                U*       1°flflhnr
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       Hd         09t                         Lt       c                         Lt     OPt            Et          09
       £fl        E09                          t       869                       91                                Oc
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       S1         191                         ti           OÇ                    9t                                QÇ-fr
       CICS       006                         tE       üEOt                      n      oot            n
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            kfckuI        fy             :IftldW 3u/oO'L9asn
                                         S/S Dd/O9S9
       OGS        Iz      i-9±0L loTik1c                              if2l0ì-il =        IoFiy.1SIyIn
                                                                                         'l,O L_O L-. L,,FaF,-, lY                 E
       lId[oíïz    frzFfldIoì [-9*I
                  I1n                         ]J                (I                            Io  1JJ     1lo
     :lYjÇjo p l9*POL 1c1YI            Ildv.,e/zH)jLg 3Ö/QOEØOLGSfl
       1dO             aOnT_ I..,,o -J,, io
            IVIIOUE s-ivIoirclC            a -T-_L             1                         tI0         5IIIIkL I0              IJJ
       Iloì2                                                                                               -z) (gg-$[
     Ii°          Ivllû
                        §*&
                               4Ol-Oi5@P       * k
                                        EIjgUc IcigVS
                                                                             JcHoTh             E Í&*tiz    flni

                                              3*3 ±dG                   I9LI tJflg*V 'hi-2E 2S
     kEo
                  tIo*  i-2O1-B
                                                                                                           4) (flZZ-E[t
     © P-iL66T -8              6T       [[[>ja
          Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 35 of 85




             Ö                  14"$ 15"CDTYPI                                             3c     4          o)      z]-

          1-11k1,                      ''fl, ¶fl CDT2I Ñ117} r)                                   Ö4ofl      tfl   tJ94S1-

     A}fl o}4    flGJ fl}3i, J9.]A}JÌ] czJ4- QJS4.
      ..&  1W%°1 3f4 74(23*) iL7i-O] 7}79jflfl -A]- Ón
     7Ìi'e ¶fl f5*)°.A1 oj4 r11&}t}7Ì. ¶t4 AÖ}%S ¶
     1LI 7f7j4ji.fl%O]                             c'],fl }i] 4]                      o]   4o]] .-%aj. %-p}oflifl
          1'-]]**                        7Jfl -?4t}Y11                              }7I 4I Ufl
     qa]o               S]t]3L, iiî-& -fl4 fl]-1a îPnl.°1 7fM PS
     c.$           Aâ       /         G<I4$             159J) CDT 7}]0] 31- *1F71                                           ¶1

     ]t].c}- o]%JJS] Lee M.S.(°]fl)$                                                                               j$
    11S] ML !-EE), LG'dZ}9] Mr. 2R1}®e),                                                        ]-t 1-î- -°i %a1}
            °1      tt}F '7                   flAj'cJ S                       -9J.jE]..



          14' CDT: ¿j- XflAF2I CDT IM)F                          -


                                                                          4    1tE1               5 1H
                  CPT                 USD 67                                   67                      72
                 SDD                          64                               67                      72
                  PH                          64                               67                      72
                  LG                          64                               67                      72
                                              63                               65                      70
          15" CDI (S7KHZ2D/MPRII)         IMJF                       ll
                                        09!                               ,191 IOIIJLJ            R°   1011i
                                              -


                                                                          '-ta ,-j-',-I           u
                 CPT                  USD 98                                  102                      107
                 SDD                      102                                 105                      110
                  PH                      100                                 105                      110
                  LG                      100                                 105                      110
                 ,2ajg
     o4      CPT/SDD 7Fei
                                           98
                                      MIg iiWoVfl -'-m e oa-                    UI4
                                                                              100                      105
                                                                                                j-, pH/Lc/2EgE 01
            [E4. xj(Ag j]0fl 1Q5 4 1E1                                                EI& flofl LUth AU      JF21
       34J 301C4.                                                                                    (±J- 3-23fl)

     0CDT 7F2i-0I 213 USD 2-3/nc 440I2tEi ?t2F fF01, 1121j         XF121
      20f XftJW tf01' 3f24 £J-J     ?t4Eq            0IU1,       i1240H7B                                               -



      XI 7F1 2J-W    i7F                 LflfoFLF. LLFEFM ng 7F 2J-I 52
         ¶Eflt7n )flESF4. fl21I F1 4 CDT Jc3EAF21       0fl S cl 0I0I    ?0l
       EF         OjEE
     o 2-$3             SI 7F    ?J-j §FI ?ACF. $5 0IIsi )Fi-tOI                            ]010E PJCF.(±zJ- i3-23t)

21) KHZ: t$fl L}E}              -A-                (Kiloheitz)            2v}-th

                                                        - 33 -
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      oi2i                     irg             iAF9i 15" AF0I                 7FO1I          2t21 TSB/MEC22)OII                E10
            !kCRCPT)F IV                     0Ic.j-)
      oCPT    CAT                    SDD/PH/LC?±21 15N CDT JF14                               610   XIEF        J-2IOIIM           !t
        USD 5.00/pc                                           2VI                    21LF. EF, flAg fl'l
                     Ejd VLF                W4t111 USD 3.00/rcOlIEf              I2IF210E.
                     E½k            flf7U 8f)! flAI
      0SDD/LC)F 0Ij                     C1J USD 64.00/pcE                    iX1)F      ?jIEMO1[E                    FMofXI        of
            21)1      M0H fl S9J flWSI EHEM SEAILfl,                                           lI)1F)I        ?1tF0l       AI )F
            01 £i'JJ0i0E             kCF.                                                                    (±7f 13-23tt)

      © 1997\              3    26V tJ-4]s]


55          *-& i}-N71- t9JtU eu1J71-*       -ö1- Y1ÎF») -j7]-                                                                       1



     A«* îìt1ciL     4f 5-°11 7t4"tifl Ù} Ç}                                                    Ö



     21-4* *1U oJ.. oltt}5!. J-s5rf o3= rY}4oL.Ö} °1d ¶a7k2J
     -toj                      n              -P-fl* iÙ}O1 k*1I**                                   t}fl4              -



           tJ-,     CDTSÌ Aflff74'                   7}74                 "Ì%oj         flfl jAJQj?±9} ¶21'M
     *] fl1-tfifl   tJ) oJt txltRli           ¶121k S}flo] f
          EtF FH% fl ifl ufó. 71-7421 Àa.ÖÌ QJ-4 *tÌ} '?Q}-Ì
     * *1t1.*           -W1    FÎ1flL Öl   AJ74    Mr. 4(4V
     V), Mr. 81-(tl-®®), 5M Mr.                                     ,   t}fl21               1-9-       J-     ÓJ,         43cfl i.
     71-     %1S1-$4. Ö1                tfl+-1 'jj7                          3jA-1'ÖM        kII4.
     015" CDT2I )F2½10B m              OItFI)F E*i010 t ?!0ID1,                                       XfOfl7fl
           SDD/PH/CPT2I )Fej@
           ELFE
                                      7cItFn 0I    AI SF01
                  FtI fl L-FJFOE j ?!0IL. 4 1E1 15" CDT2I
                                                                                                    xX0I i
                                                                                                        EF4 0j.
                                                                                                                              si

           4tF)I               2IF21LF.
                                                                                41AI                         51M«
                                                        USD
                     SDD                               102.00                   USD105.00                    USD110.00
                      PH        -            100.00 (PH, J)                     USD102.00                    USD110.00
                                               103.00 (0121)                 USD104(     105)

     014" CDT )Fi'i2I
             i
                     CAT

                     1I)F VLFi1 SF21CF.
                                                 ,
                                                   98.00
                                                        j9j0fg 2 i0I           USD101-102
                                                                                                    0
                                                                                                        (±
                                                                                                             USD107.00
                                                                                                              4fl2D1 0f
                                                                                                                 3-24i*)



22) ThB          £)1F, PvJEC        4a'14 JY1t 1ii4.
                                                                    - 34 -
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     0                             7FF0I
                                                            SDD                             CPT
             15 MPR!I                                       105                         101-102
             15 ASC                                      -2.00                              -2.00
             15 w/o                                      -2.00                              -2.50
             14 MPRII                                    67.00                              67.00
             14 ASC                                      -2.00                              -2.00
             14 w/o                                      -2.00                              -1.50

     )I2i 'J?I 'JOfl 501 JEI]
                      12I j
                                                       Pi0ILI
                                              4tFn SitFst
                                                                          O1I   fj     uFOI SEtF2            OEM


                                                            ixItF7M [1L6Fn             8F       -I?±Ofl 0I0
                          J                        2½ttFUI UOfl A[2I                            7flf 4 VE
     tflo    j 3!oIc.                                                                       (±J 113-24t*)


      ® 1997\       4-W 7ÓA



              o                    £ÀI1}.. 17"CDT7]-'*              &fl 5-W-Ì 15* 'j-t]-].
     t} A}-$ £AJU      15"MÌ'N ÌflL]   517M0J) !F- Fj47}                                         fl-4 4
         * tflF %-'14°fl7fl         Ó]] 4-E1 öQ ÖM* I.
            4W] tIA}n -flt]-5l 41J                                ß}S-,              '7J-S]-        tì1°1]   }-
     5L71) 0] fl1°1 11*0]                 H114.       Th Ö)XJ      1S1QP1       4% 14", 15"CDT] 7]-
         s7P1$                 ,    £]E- tJ9i1]*1]. 7P1* ÎJfl fl t]ïi°11 fl4.
     o. tfl!FI '517i1-M31À9'1 4th *1I4.
     017" CDT         54Ej USD 15/pc 2i@tFJI                        17"   k°H 7F       USD 215.00/pc OI*j).
     oH, 15" MNN                   2l    .2          g              2DjD4, 0j        Q, 50k/mg
            q-I!t ?TOIEt.                                                                   (±2- 113-25tt)

     oW. -g TSB)I- 14715" CDTOII Jt 0I'2i 7F Jt
      7I  ?ItFBI AIi JEH LLFLF2 JEF. ISEh &Ef sÇEj 15" CDI
                                                                                     itV2nl fl
         BF}tf7I.             tFLF.             uD7Fg USD 105-' USD 112/pc»                 ?0ILF.
                                                                                               (±* 13-251*)


     ® 1997         4-W 23°A 0è491                 441I
57                1997.]-&']4$ *fl1Ì]
                          4.       23.                                 }]s]- o]w-}..                tîj»
     CDT 7}fl-]* fljt}iI} «t]-7] ].ÓJ*                               i S1L      *flS1
                                                     - 35 -
       Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 38 of 85




     -7} Mt% "fl-M'°fl IM -iItL
 oOI'E! 02j                          MEC ii0lI7fl 14/15' CDT                                       SDD/ PH/
                                                                                               £JII
                                                                              fl

       CPT/ LG/ TSB @91 !Afl )[S] Ufl                   ihfl MEC                               F


       XIXItF    fl91 @2] 0I0iLH                     MEC    ?J@                    t9A&1 CDT 7F 2Ji
       LW           E±17]I tF      oI[4.                                                  (±?J-    fl3-26tt)


                     i- c4oA] *]J%.& 4 Afs A4$ tan 113íLF                                                      I,
 '         U1rTh. 4$ 51 14"Pi7P°fl r1sÌ3 ;n9r8}4.
                                                                          431
            4-                  5-            3ç              4-           5-
CPT         >700K               <700K         650K-700K       400-500K     400-500K
PI-I        450K                450K          70K             170K         120K
SDD         850K                850K          600K            850K         750K
.9.»E1-& 300K                   300K          500K            350-380K     350K
o 14" MPRRIIOII            f8F01,    12I               2 4t'5       )F21@ CF@BI     0I                -7Th401
       0    jofl    t9jcf: (iM)F)
                     4                        5
14" MPRII     USD67.0/pc         USD72.0/pc
o 15 "MPRII: USD 110.00/pc7F Olyj011 !c4i 7IS)E                   tFJI.            2JLf.GtJ- 1]3-26tt)


             Ei,         AJQJ               iHY] ÇDT           Fu1I7]-21°1j        V-6f}JA1         Ù}%t1I,
           tA]J 7}2hN nhit)]                ]«fl }% 7}t1, - °1*                               Et1-I 317-1]%
 °1     41Th4] 4ufl71-zf& %tf o                        5j7}A]--0])7fl 71-2îJS}*               -1-7I 1*°fl
 s]0flÀf] 7ZÓ1AM *0J7fl k-t1]*7F7Ao1 01Aj]o1Ó Li l*°14 ILA]
            _}_ ó4j -4'-ul*°] tj0)]A1. fl101°1 - ?4&  tF%a,
                                             f131, n t)] 5
           3j4] t.f(7Ç7o] 7].21QJ)j fl À-1*J4 W4J A0flA1
7}-& J*i J-S]7] 4]t)] ']-. OflflJ ]l}(5- 19-20)     7171..(5-
6-7') J2'tF5E 01                           4FAaP&1 Mr. 4(4), Mr. t]-(t]-ó), Mr. Lee
M.S.(°]fl), Mr. OttoC2.),                             Mr. Song, 11&S1 Mr. Moon(EE), t
fl-i-1 i1-t zÌ i-!i 0,?,    -Hi * 47114 'flJ ia}'fl fl PJZ-j
           %.flt} °] t*S] '31WIA]'O]l 1tB f'i4.



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             Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 39 of 85




       o§           Lfl4 AIJ24 14/15" CDTS1                                     7j2:
       14715" CDT §                   L          7f0I 9JjE4                  ?k2, OI                  LflJ           2I            Je1 2}        OI0j
                                                                             7IÏ )FW                                 -k7J *JJ2
      24
             ?OI04, CDT 94 JFi9J-JOfl [K!
       t1 k91fl4 eJi
             jf           )F                fl
                                           'fl         xItFI           CPT/PRè SDD/2?jgojp]I
                                                                      4tfl
                                                                -I'LEL Mr.LF PHOII LHt   4 M0I 0101
                                                                                                        0IE4.
                                                                                                                                          * LB2S
                                                                                                                                             £]H
                                                                                                                                                      CDT

          LC/2ag3i}         t4 711*tF5i VEFfl -tER
                    rÇ7J4ìj:) Mr.LF   t2] CRT )1JAfoI 3                                                         23            20fl           OUAI2I 7f
         2i-tOlI 1flÜfl PH()2-f    2I tF.EF52 JCF.
       o EEI, LGA 9jAF-OI 5 8J-10Ofl                                                                                                         2I0fl        fó
      tF]         ctF2U E]O-, 49]                5     19-5                2O                         7flJoIc[. flE]LF CPTh 5                         YE
                  [UI                     6F         jOI                        j24          5                       t7Iti XUPflICF.
                                                                                                                           (±Q .*fl3-26tt)


70                  n] tmw+ -vn J]7].7 -lP1
                  -} ó]fl                                  tI]*C'+11                        j2]                  ±
                                                                                                                      ,       t}fl  E1]fl
                                                                                                                                                -a]A]sJ-

                                                                                                                                                     7]

      c]-23)"4            }°jS] lE-1                                  1997. 4. 29.z]- AJ                     3*o3]        &*t]-4. o]ofl rtfl
      %F& t}W1 10 *7] #]t t4]%Ç                         floP-]                                                            l    -î-Ef1 ..CJ4 4
                          11 s1]a71.. 424fl 5. 271-. *-Ù4.

      ® 1997\4 5-             2           °è4])

73                       o]                    AJ5f tfl                                     t*S--. CDT 7}7Oj)JO] tJ9]S}4.
      .EtL fl}fl I7}fl& O12dJJ.9.JO]A1                                                -s4         r      F-fl4F°] tLh- £1-47*
      ÎIfl *                  'i-t]-ii1                    trt11,     O]
                                                                                 tfl-] 7}°47f -t1-'-}74
                                           S171 1°]4 Ö1 tfi 'èiLÀ1'd1]                                                                        2jt-
     oQftjofl           CPTYF                  14'/15"CDT 7F21 £iJ                       ttFi1 OI                ?!012LLF.                EIJIIOIIÀ-i      7F
        -,   O)4Q  CX4O
             L_o.- Ld                                      4±         oi&i            4 V71Y1 °2                              OI     t*ER1 u
        3IIA.MoI °''LF.
          m-,L_ eul
     oCPTQ} SDD7F                                    iE7ll WN]ÜF&                     JE          aj-g OIOf                          Cf. SDD          nEI
           t ?it!iOJI     2jtF.J Jf              £F             Ofl        t2jtFCf.                                                (±3t     3-3Ofl)


     'With all the efforts worldrig together these days, we do not wish to see any withdrawn attitude to
      destroy the understanding and this difficult task. By this last minute determination to prop up price
      increase action, all of u could attain the goal, I believe it should be most beneficial for SDD to
      comply with the agreement of increasing the price step by step..."
     "Why do we have - to dig our own grave under this situation? Please make it sure that there is no
     doubt about our efforts to increase the price."

                                                                       - 37 -
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     o)Fl9j.jfl0fl VM CPT                               SDDOU ?J1SF7M         ELlE-1 JI#-        E1M [fl        )flAf
       91                    SOIE AEEH              t0FfaFn        aFcF.                         (±* 13-30t*)

      © 1997½4 5-                9'        44:ìa1

72                   0]  11°V1 t}°iF1 4a]A}.      4                                  23°J7}      ]5L fl;Jsi         Js]
     A]-             AJtflZJ-(5 IJ* t3I %;1*-& -W                                    AstE ci *JîF-&
                    ein 443!]. ZJ-Ö] a- F-°1 7dB]}3i 7]*44 *it]-7]                                   t]t].c
       oa[           OIAF          2 ''-i9i 9i A0 LFT4 t[                               2j      JaIFOfl7fl ypi
             9JtLF:         L1JF14" MPR II: 72.00                E1/7H, 15" MPR II: 105.00 jE1/7H, 5              14Ej
                                                                                                  (* 3-31t*)

              I-17
                                                                  PQ          EU        ¿Q            QPT
       01101M                         115          65             10
       OIl..q
       'b                                                         14           2
           AOC                        85           40                          8                           35
       2JAI                           11           1.5                                                     10.5
       flca                           34           18
       CD<                            27            4              2                        3
       ci'
       a                              17            7
       fliC                           37            -             22           10
        L10l r                        15            15                        0.5
       GVC                            43     ..,    7              7                        6              23
       KFC                            32            5              5                        I               4
       LED                             9            1                                       8
                                      85           72                                    12
       114G                           18            9                          3
       MfTAC                          9


      o97F §J'HM '±2I        fl0E ¶1, l'it?i Q]                               EEILILn HTC(1EFD9I           °M7F
       AItFjA-1, -b )1FÑO91 PA/#      Ct7 ¶                                         JF VCF. 0II ¶                  0I it
             ?ffl    ]0      '-21" 7AI
                                   aa-
                             ..L. - L) I           UU     fr.01'-CHFfr1oIcj
                                                          m i.'.   o                              (±I- fl3-31tt)

73                  1t,i-S ê ei]-Afl 't]]t3 ]** 171tF.51 fl                                            -u]7].

      îit]-, %7f7].fl 31.2W S}j'°1] Lr}4 7c]7f,. e1]fl8}.                              tJ4-- 44flt].7]              tj]
      t].4.



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     oAOC2E]2j                           -Ji0I 2ItFP, CPTh 2aig2 Mr. O1I3ll AOC 7II CPT i
      °°°
      Tr              ujlj4
                     U°OF'         -IH CPTQI 7E4LFE W      7F9J 2.00Ej AF@fLEfl P± JitI
      LEA! Xll)ILF.
     oCPT            CVC/KFC/LEO g3                               i2Ofl [Uk SDD/LC9I ±I2J                   flF 4OlJ II)F
      -' -r
      74 -  CC2-
               mE'q eìg                               on    HtH sj       i7lLh SDD2J                        LGSI    Ek 2i
      DII, PH/SDD/LG/2a!g2i ]OI   jL- 5E1 14"MRPII2I
                             -1 ÑM7L2                                                                   M            72.00 cJE1/JH
           tE           ?iOfl     2ILE
                                             °F-fl, !°U)E       j                                                fLF. ±J2]
     °512fl2]
             i2tFJI
                          O1            °'XI
                                        =
                                       Ii
                                 jtFI MJFS
                                                  i        J-J
                                                          OS Io -i
                                                IF2MI -i-.--                  A°'     -1-
                                                                                            X1t7J        OFO
                                                                                                               Y±XI ?5
                                                                                                                (±]- fl3-31*)

74              Öl                 CDTI 7}, *4                                 7]-Uft.x1                l}7]     Ie 44 --i
           }9].A]                      JM Mr. 'Kim DY(JAA), Mr. tf(Ù1-*®), LGJ4.I Mr. Um
     (°J©©), 14&                            Mr.            -EE),       Ydà Mr.        J,    fl]-t9               4 O]42] 3to]
     %1fl4. o]                               }tJ]            7       ftaflA]'Øfl             FîiJt]-

     © 199Th 5                    16         44}a]

75                   ø]    49.]Öflkl                                          tJ]7]-24Ö      itfl.                             ?Jt
                     IF4I 7}Z4îjt]Ö1] t]]ù                           5!}a1Î1 fltfl*Hi*                      fl4. &tE, *d.
        3L                        tJA]-fl A}flTh]fl 31* J]4 A}Ö] A4.
     oMr Ha    1X1 flQflAI 7F42J       IaFLFn AHF eirnF.J
     ofEAj, Mr.     g JaH J2jPJ IXj2         2g 24Off EHH 5"MPRI!-W5.O/pc,
      14"MPRII-72.00/7I]91 7E2.M XIEiO1OE ¶2 1-27ll    ?± LEA! AI5tFO4 HTC)E
       t°I1JE £Jt6EE    Y$42       tllOE §ILF.fl 4iLF.
     a2W OIAE                 La» jOfl g jsj JÓ4EÏ24 niei 2IOI Ii1
                 I)il     )flE4 .2A-jO]I                         EjO1O   ¶04 2g AffOj I2!2l gEl]                                 SI
       [E?Ef0             LF.2 .2tJLF.
     oCPTh                                                          2g I?:i                   F3                     I   ELL     3
      [CDVII                    LE. EEP!, CPT              [CDVII        JOfl 21!t                  7aftF)I IH 74
        ]2jO1I            1EE               Th12I &i             flaEn 2tFLF.                                    (±J-     3-32tt)


     O 1997d 5                    20         44]
76                   o]        ]oflA-                             ]32.        Js] tJ-2.]A}fl                       Jt}ji Z]- A]-S]
                  y iiL- fl                                      t}2P, }t                  -T7]j7j-z4   QJ-'>fl-4              ]?j


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     14"               15" ijufl7f7.4                        -2It}j.                 ]-1         37}4                        fl    A}-Ö]        fîi4.
                                               -J-t71Ì               ]A}-9]                t]]         -uB7}z4 «JA* ajL}                       oofl   t1]


     %ifl- LG-dzÌ4 S-1                                                     7Pîjf*                             A}4 fîitM
     * flAJi                       Z]-&]- LG'd-i-* *7-2..                                                     E]-.


      o975 5/72]
               E W! 18fl JE1
                                     2J 2]QI t2IOfl LQ:
                                                                 q
                                                                                                                     en           (±t 13-33t*)
     0EESE                    XIIAF2i 7F0I 2J-JE]XI ?2tJI ftFt01I CPT/HP                                                      14/15   CDTSI k2I
                Lfl AIJ2]          ±°I1JFOII       F.HtII                       Mr.L                  SDD7F OID! IFAF2]           g 5i2Ofl 7I-
                             fj        EflOID4, EE1 LG/2]gOlI7flE                                       t2]! 7F         OIj2] 4e2              JF           Li
               jtoj j ¶J                   aa                    ?
     oMRLF                  '?fl 7Fi e                                       AI5'I                    ijg 2ai/LGoIo1, 2aIgs] )Fg iIX-
      a     E4
     oMr. LF ... LG2I LF                            AFJ01I7II 1511011 111811 48KW-100                                   E1     2&Ffl, 64KW-103
      W1 #I811 tf.n                                A1LF.                                                                          (±-      3-33.t')


27                     ni-, 14J21%- 14"$ 15"5]                                                   ]Z7}7-              31211 ¶R.        -U]7)-74 ¶5]
                 t*fl$ 4/W?i 15"CDT 7}1*- 3-                                                                        -7tl-7].. t}
     t]-        o].- t]--1 15" CDTA]}-o1lA1SI                                                    *** -il7l -]A zJ--& 1 5. 9.4                                1


     5]IAI ¶5]J AMJ-* fl-cjtj                                               c]t]-

     o14"CDT: IIL'!                            ]249]                 O1l    EFEF JICOII J2Wj-UF                       -XI: 14" MPRtI-72.O0lE1/pc
     ol 5"MPRII:
      -                 2!J -975 5                 100.00 JE1/7fl 97                              6t 100iEl/)H
      -          7J                      2JJ -97w 5: 102.00itE/7O 97                                      6: 102fa1/7fl
     oCPT 2f SDD/PH ?fSI )FH JJ j2]2]                                                                         2i0fl E 3-E1/4                                0I
           04   E-j O!j            2LEIXf 31*                    OIEF.                                                            (±Ì AM3-33C)


                  O]        ]5]2        -Aa SDI5] Mr.                       4(4V), Mr. Ùi-Ç}®®), 3fl?5] Mr. * 5] 1
           ,    LG45]                          ,   tfl5] -]-                                     I-     !II      'L               = .c
                                                                                                                                  -r -     I




     4 o]. tfl5] '317*fl)I'Ö11 Sii

      B 1997\4 6-W 5° 0J7}                                  5]




79
                       o]      9]o]]k] O]Z                  7]-7jS]S] o]tJJi]44 zj4]-a. ¶S]A]-J-4- o]t]-7]
      '-
      2=.        1A1ÖS             f'dF             ,                 -flfl 45]flr ni-, t}+                                                                 ti-

                                                                               - 40 -
       Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 43 of 85




       ORT        ¶9I1I*tfl- EThHAl 7Ì-* 9j--tÌ-] Ç'fl A}o]
               ]L&A]Ó1                                                                                                -A].-

 cl17fl '1fl iit43. *E4 Rì]tHi   A1tM 7PH1fl 4j                                                                            4
 OÌ      tfl--I '5i7ij4flAf o))                    t]]         fjJ4.
oJEI°                    CPTOfl JF     t2l   71tUM 7171tH      ?    2iF51 01
  d1ffEMjtj-)l -Ifl OPTS] °Jf OIHtFn CPT .E            2]7F VE-h51 flcf.
02aJgg                           ,i_ )74
                    iQ.i2E4 £4 LFQ     ,-,e 1MAi tf2 CPT#H         tJ
       LO EEPJ 4AI    74I2!CF LO    JL74..
                                ,çC I-ie   0I@6F01        7FXI   tCL HEDS2I 14'
  CDT Ofl       5j-jflg               6f Cf.
oSDD           AfJ               C4A §WI          F.fl 1M2ItFU2 W                     2iO1I      F-j     £iAF              LH

  tFCF,                                                                                            (±'J il3-34t)
o!t XI 14/15                 CDT )F            AI kt 4                     OF      LU± 1MAF2I                   ThÇ]p±
 2AJCf.                                                                                            (- 2JJ3-34L)

ciJ    1997d 7       8° OJ4JJ

           3')4J-- 14îi.) CDT7P                          cofl 11)               OJ:A}          7fl zhfl              ?4,

s- 3'1         ±ffR          77jOu1 7f7}--                          $ 317ij%O]                  7Y14*     )A)- «j] A-)
       fQJ-      o) tfl       J-]tfi, 159j1 CDT.E t*&- tfii0fl }<J]                                                        gj-


171-7f ÀJIJ-,                    LGJ7}$ o]j Y1cL1 }Ó17f 4-1                                             A]-.*
îi]                            7fJ1}  7] 4fl 7f7J7       4                                        sÙ]-cf o] ]s]
t J-Aj    SFÒ®, t}°F]
 -] 'jA4'o)] 2] -'?j4
                                                                -      -          -     %ù}cf o                  tfl
otf Af*jg 14"2i SDD !1'H JF0I jI2                              CPT 7F        1cFgaf2 tfCf. fl                   14"CDT
  Si
  2]
  [tFj0I Cf.
                 AloIPU        fl
        fl/Jf0fl LUfl OPTS]- SDD)I-
                                EIJtf
                                                           Eli J2]tfCf. 2ULE&F, ?Ì*?±
                                                         '2}F VCF
                                                   J0fl -/Aif-g                   oi»            7FaFxI

oUIf 62.00/pc (MPRIDOII 7F                     -7IAI5i7Th OPTS] ii9±°ii Eljtjj tE Aj                                 2f Si
  AEW LFEECf.             AiO1I, fl   EE1       9          ±5?-2   fl?±O1I )F      FJF                          2tFEf.
      4Oft g2]tf2CF,
o'j0j 2f210u JtI] UJf                                    Efi        t2iJI 1EO              E]      0I     fEf0       PjCf.
 EEk        aIJf Al2] 7P4011 cuti] 2I                4t2 VCfi Ça[ 20I #ai                                       0i         ?
 §      4)J 9JtH MOVII k2kll0F      Cf.                                                            (±J-     3-35.t*)

oCPTh CPT2I 152]                 AH euIlJFJF SDD/PH/LG §'F                  fOi)f Lfj ?&LF.                 Mr. Ha Oil
 711    CFAI -4tfCf. (°I-f 1-2.00/c)
o019} C4O4, CPTh XftJSj 15" CDT 7F                              SDDQ-f     É4Jl        -1tII    1-27fl    LHOII Jf
          k 3OIEF                                                                                 (±* 13-351t)

                                                 - 41
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       © 1997'd 7W 18                        °]-.J2I

si                      ö}      19loflA1 ÓJA}             'e-A]   All-cllAf     14", 15" CDT 71-1 t]% ±-s1                                 i
                    -fl         QJt}11       A))fl        FUfl7P0fl            }L î-«, 14"CDT$                                    f-j-
       1                        tfl$ -*.2-. A]J»]-74                                                                o      ÖJA}

     Ji7-f 7FE}iL7ilOflI                                 7}T14 js]t}i, 4 A}                            Ll'1*°l -ti
          -                     'HI.E              4* flt}7I. tJSt}4.
      oMr ¶                   14' CDTSI AIWF0I CPT/SDDOII SIH                                                     4V         0IEF11
              2]       iLE.
      ofl             g 14" 0D12] JF0I cEtaF 0I ¶)I                                  2i6FE4:
                   2 iL2iJ:  IIE P/  llE A/ LllE L:                                 60.00/pc,   )IEF: 62-64.00/rSc
      oEf             0IAF      Mr. ¶011)11 )F               fl0fl Lfl   CPTS] JB}                      9]        fl'AF/ail0IAIoF
                   I/fl ?ioii                j-UI]A1   flOI tNI                Ç VEHEF2 9FEF.
                                                                                                                    (±I-     3-36tt)

             n4. 15"CDT9+ $4 ÓJ     7)ft(64KHZ,MRPrn* 7]2-. AjÇ-
     Al-Oel           z}   -fl HliLtJSM     7Zffl .to] clO]
     t} Aö] 912-PI,         t]-Oi 1l7f*       -flÙ]-7]. Ù]-c1-.

      °g              g E4AI [-FWI W                   E}°JQ] )F              LIÌ-F             tF11     ftI ¶LF.
       Base: 64KHZ/ MRPII
                                 CPT                     SDD
      ASC@                       -2.00                   -2.00
           70104S                                        -
      48KHZ       -2.00                                  -2.00
      GIare25)    -2.00                                  -2.00
        V1I       -8.50                                  -8.00
      oSDD/PH/CPT)F                                     f, 15" CDT ]x17g USD 90.00/c                               L7j       V        0I
       Cf. CPT  QIEIÊt ±40ff                               &fE PHQII)1I dAI ?ji O(Lf.                               (±      3-36t)

                        a}               14", 15"CDT71-z1                                       Lì *1S-.           AJAJ
                                                                                                                                   }®®
      ]        2          tfl-I 'l-e                     ial+      i#I°til    -7}   ftJ4t}4 o].                   tne
       .ÀI'Cfl         SII fJ4
25) '*E1 R.L1E]                TV$       ]   7P*8- 71]OI1A1 .1    fl flcfl Ui1                                          I AO S1CL
     *] fl.ofl Ö}.-                          F '4e F1* GIarefJi t4                                           tj      Non-Glare Ln
                              *1zf flW CDTYF n7}O»1W' (±                     t-itt              )


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     © 1997'd 8-W 1°J °JFL1


84                  c']     11oI1À1 ÓèA             ;I-Q1    AJ
                                                                             3"U             fl fl*-- 33jtf
     2-Pl,          t]121 t*1                      -?fl} J1.FI                            ô] À}.& t'}WI 'nfl-
       iLA1'OI      91Ù11
                                 fQjJc
      oÀj         ?kSI                        jtI EI                  *I1M            tW        7q6fl0Yj    1LF. nElLE
             jOI Lj                tFIX4M §Vi7fl LBF                  3       x11216F.n      EI& 2     :il#@ Tafl±!S
        EkF               O-I[Llk M1                           9          OIEF.                       (±J- 13-S7tt)


         1997'd 8                18' Ö]]
               V]ÀO]                                        --] WèZL.                        AAJ4J          1]I* fl
     t}%i, O]ZJ
                            ÓJ
                                   4 A]-Sj ZjÀj1]
                                 SA}           ø]tc-.- Z7J8}%CL
                                       -j-tfl 4ufl7}7 7S JØfl Z
                                                                                    7.Sfl2

                                                                                        fQJS}4 Àa
                                                                                                             A]         t
     S] ÀJz]4tj                     7]-z4Jif    jij %J                        3J4$2] 77]-2 A]7è7}74i4
     2-3%                 t]*      fl                    »*.       -]It'14            "W] i-f?S] 3tj4
     flE1                   -î             S] 2o]a., o]jc A].-                     tfl] 'a-n5iA1'c sI
      -Î4.
     oSDD9I 14 '715"            i17F0I 4-J USD 58.00/pcQE USD 84.00/pc ?S2I XIJFEF
                                   CDT
             0fl W                  S)1     WE1 i9JFE42 CPT)F t&EF, Mr. LE
            FF2I  AU 14 " CDT IXl7F) USD 59.00/pcEFfl [DtECE. CPT        a   OAF7E 7
         OlI SDD           ftM Mr. SEYE IX1JF2i USD 60.00/pca ?ttI AF4ZtFCE.52 2.I*tF
                           IitFLE.. AE AFJ *J2I       ¶Jfl                           X-]J       QI          [lEF   7F
                    -lfl CPTOfl 0I     olO tricn ¶cE.
     015" CDT )F0I USD 84.00/pcEI-                           °U    L116F01 Mr. tF     fli JF          71R±k AF'OI W.
       CEn %f1tFAI                2J8FE-F. Mr.           IL )E            aogo 91± 2F                       OIo1 SDD
                  2              4fEXI P2tCF1J ttE2CF.                                               (±t I]3-38tt)
             Af*J         Mr. LEOUJ1I (4       MEHOilM       O(      Jf           EqEfIL 2tCE. ILEIXI Mr. L
             U5           7E2CF t 2-3% 4E MtFCE.fl                        tEEF.                      (±2-    3-38tt)


     © 19971d 10-W 9ÖJ 44]S]


so                                     *iTS] CDT*i°] si}oj                                       701.a]S010] 5]

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     ii- 9lA- 't'd1                                           1
                                                                   3JAj]7fl       ÀA]-afÓ]           AAF                     4ieÌ
                    fl A}Ó 9iL                         t                  ÖflA1 *îi% A}fl-4 ''F
      .     Z7J74 'fl. fQJtF4 £t1 tllj±R. .3i7J4 ±T(R i7II4SÌ 7P144                                                                       7I
      .    ¶S]t]5i, ]51 'fl3J] A}O)] t4    7}          - Ui It}L
                                                  .-ofl *fl fII'E
      0(14) IM7Fg                       Xfl    USD58.00/pcOIC4.                   7FtELFj, USD1-2/pc                        E!t        0IE4.
          nElLE, 15" CDT2FSI 7E                               F01I       LEFaF           0-]0E       1EF. PH Mr.          jg nSj
          14/15" CDT IM7F0I USD57.00/79.000ILE                                           ]jt         'J0I 010! 14/15" CDTOII EH
             ÇQE LJtFè       ?!2         CLI1                                             E4.                n        14" CDT 7f
          USD58.00/pc OIt2         0IaEn      I.
      a15"Ofl JIJA-j, 37 ZLPJofl EH± !Xfi                                            1M71            USD78-SO/pc            EOIEF. SDD
           iM7F4           USD 80.00/pcOlIAl                      -?ZItF2         LF2        JSLF....EEk, :Jr                    )F2JtF
          ¶XI BÌ               0ICF.
      o17" CDT Vj07F:                           AII,       PH2I          Il)F           USD17O.00/pcOIUJ4, SDDSI                   XJ74g
          USD1 75.00/pcOI Cf.                                                                                             (±'J 1I339tt)


     ® 1997d 1O-                 20      0J4] ]

37                  cii                CEO71-  %AJ*3. OJ4]A-} 14                                                              * fl
          Î1t}*       tI        Is11 '* 4A1]t]-JÏL AJ4fl   o1 ofl -tflftf4
      F9ItF4.              -                  Ö]t]7] .]Sl-Ó1                         c)oc] 317JJ              tfl- °j'            9J

     .. fl-t]-            2Jt]-7fl                t]-7].             ]   A]-4J01        f2J4. o] lsfl                14", 15" CDT 7]-
                               7]-zaJs            4                                CEO'd             © A}-3J-        AA, Ó W4
     t]-fl] CEO'J                      ]°J--u1°F                                 4               Ö          4O)       7]-    A}cf 01
          t*flEI '$E.flA'ofl S]t]]                                   fljt]-
                    g           JE    tDfl JF 2itE SEF g 7I1EF.]i 'JtF2CF.
     oCDT hAF                        C-1 0It )F* 9JtFi i0j AS0i LH'CfE JF2i £1F ¶71                                                     LitF
         f18I LJJ50fl J[
          04                  £JtFSF7I                                           0IE4                 UBAI7a )0                        LLj
      El XflAf0fl7fl i1f       7f 91CF.
     oP 424-UI 7F       LFI2-2        C1                                    ¶        aLCf              7F         1tfO1
               0I         CF UFf 4tF.2 424 2k AF
                                        FCI-.      C4#tF7I 4tF01 7E24 XI.
     oAF±fl 4}tf7 %!jtu -CF ytg -J
     o242j JF9J6E      OflAj 11Z24 49     JFAI       V201   40I -ÌOfl .OIOl
      af  J*Joff    AJ J24                HOII SDD24 CEO    gqj
                                                             n qE0flAj 7I-
      24 tF1 ?4-tI XIIE 2ItF2CE. J EEk 20II31I 24AF±g               CF 0I ¶
          .2 iI2 1UF ?        tF2CF.                       (±3v 13-4Ott)


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       © L66T            -0T      0C         [a*t2

                                       t1r4                                     *La[s *-R-                           -i-[Lc     'T
                                                                                     {%
                   [o                                                  i&-

      t                        (&(g[o                   [{g            [ofl                                   %z7            **4gfta              -
                                                                                                                                                      +
      tiTh     '[Li7- rEs                                      [V[IoftzE ft4Lf [Ljs[vfr [LoW [IoNi                                    U'
                        [o--jy                    [[r[o                      jh[c4a     jLk[,,fl               '6asg z-[L,,9T                         GL

             t 2-g[--                   --jy[         fl 'jtaj&J zft%[s[                                                       '®-& -'JN [o
      '(t[o) [5?t 1W                              '   L5-Y{Ç3                 --[ '-Ha [Èk-t'          '1'o          ¡*- 'j2[o*              [o       *
             tk                                               ll-I    4I*[1
           424-° fredC IkIt aRi                                       tIa4% 1& 4z[Ñ                       4Ì           1C1911810    '1191*    Id9
            GOS I-vIIoIOIhflo1a              F        DoI6       Gas/Rd    tj1gDj
       Id3o
            ±dD
                    IFCII000S
                   kC       4CE4
                                             E-EEÇ
                                                        §tq            lE12    dS
                                                              IkIFOkOE SZIC ICIgIyIIy                         'IFo    1210    I61dJ
                                                                                                                             *) (lV-8[L
                                                                                                                                                  E12


           0GSo            Uï YU 16103 1(f-YI S1fr                                  fcfg4 lfgFb 91         IIèldV 1o1C             3d/oogLosfl
                        ;kICF2H1 i3 trI:I lEpo H:î
                        lt&WÜ ICLt d/0O29O5fl                                 1'tt         Io b                              *) (IV-E[Lc
       © PtL66T -TT             'Tg          Idfl*
66'                [o    [[g            -ß[               --                   {[ * -[3                   z-(t                     [V[Lo--kz            -



                         [ok{zC        W%uI              *ftI k {*[c*                               [zjg[- [*                M%                   'Vy+
      ThPuET             4JÌ&Jt               -- %               %lz1zhr'ik IIOIHY             [I          IIoP2      ir4fr4. *fr1zfl
      &Rz                                        *ì                  'E{ *[c*Vt[z Eojg[*                  *fl             [2 [ftrir
      [V                                aa       icn                          E[LY                    j                 ?cn flW
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                                                                                                                             -P) (*cfr-gIbc
                Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 48 of 85




          oCPT 57fl aH (5.5                    -F2J    0I0-lo          ),              SDD: 47fl EFJ
              PI-C    2711 aiej(3;11 a?j0O-j0              a_v,                        .2e4g: 1711 aJ
              LG: 2711 a[?j(uS Zenith OlI 0.5                   711    EF2JOI V2DI                  OlIM 98         7O1I 1711 EFW         7F


              HEDS: 27H                           AIUF: 2711           f2j,
                                                                   MEC: 1711 EfJ,
              ±LI: 2711          F?j,          NEC: 0.5711 e-FERTECOSI 0.5711 ajOI                             7F           &i)
               t71I: 21.5 aftj(XjJ                     24)fl aFPJOIOIOE               E)
                                                                                                                        (±         113-431t)
          o
            ii
                                              14"/15"           LHOU 7F                         Ou    o-;---,                     1fl
                   XUU0fl7lI I6I* 3911 2ICF.
          oJF?iQI xF2 tFafF 3      OflJt7 1Üfl f                                                      1OI xitI WUUFJ
                                   4 VO1Q                                                                               (±t 113-43tt)

                       o]                .fl           12°1]                      CDT7f2S1               4]s]]      AJ7d, LG4,
                     t*°flF 4711A}S] ÖSjo]26) *Jtf4 ]S1t44                                                          -AaZ]         rj]A}2.] t]-
         ®c          LG'AZ}9] Mr.               J.M.(14CC),                   1ÒS1 ']-î--1            1, tfl]-SI ]-e1-îm
               0J     fr                .o]f O]                                  '3j7JflA1'O

         (4) 1998d.              ''!J4?} 1-
         <a 20>                                   1998\4E. CDT Y}1I P171]-2
                     7'A                                *-1'1Ì*                                      %alAl.
                                          14°-15" CDT 7]-'l Z                                       tF, SDI            ±t 113-44t
          1          1998.1.5.
                                                                                                                       -Aa.A] 843*
                                                                                                                       ¿3t 113-45---6tt
                                        S]]7f(14" $58, 15": $ 7r74),                            @t}, SDJ/              -&A}fl)] 852*,
          2          1998.1.14.                  ZJ-A]A]a                    -                  ®flF }                 861*
          3          1998.1.19.                 17" CDT 7}'t9.i'                                      P}A]4            ±* 13-47tt
                                                                                                                                      870*
                                                       AJ 7J.                                   Wth W!                 ±3t 13-48--Bit
          4          1998.3.4.
                                          /i'1Ì-A (14": $53, 15":$65)                           ©ttf, SDI,              JA]-iiÀ1 879*,
                                                                                                     A2.f&             891*
                                                                                                                       ¿::3J- 13-50tt
          5         1998.3.25.           it14($0.5ThO/pc), '}                    'P        1-       a]-, SDI            ]A}iA]          ]0-
          6         1998.3.30.      7f Z 7}o] E411 (14": $50, 15": $63)                         t     SII, W,
                                                                                                                       902*
                                                                                                                       ±J 13-51St
                                                                                                                            A}J1A1 912*
          7         1998.4.14.                AJ                  7]- *]                            tf, SDI            ±t 13-521t
                                                                                                                       -Ah5LA1 920*

                                                         -AJ
26) °1 12Il t7l4L-
    ÖO1 e} .47A14J J44                   t.   '11°fl
                                                o} %4
                                                                      A}  -ù] FtI4, 11Î1 4FN4
                                                                A}rft 7}4l n °llj *oI}A101
                                                                                                                             1i11         -î-71




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           Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 49 of 85




                                                                                                     ±t 13-531t
       8     1998.5.18.                  7]-Z4 (14": $ 46, 15": $56)                       -9.]-&    4JA}3iA1 928*,
                                                                                                     932*

       9       1998.6.1.         ?X}fl                  7-4s}4    t fl                  SIX, .Q4&
                                                                                                     ±k Ì13-54tt
                                                                                                     41A}JLTV1 942*-
                                                                                                     943*
      10       1998.7.9.                 flfl *ì1M fd                                   -4}, W       ±* 3-5&.tW
                                                                                                     'A.5A9 956*
                               BflIt-, 1}21- 7R-lîPè,                              -r     SEI, 114   ±2 il4-1t 21*
      11     199a7.18.         S-71 E]-7I 4 )                              *                         ±3f 42-fl* 344*
                            Afl%1 7J-,      4°1!              'ili1 7fW-
      12     1998.7.31.         17" 25% Th±, 7}A $93*1                             tu SEL LL         ¿SÌ A114-21t
                                                                                   .24g fl             }JLi7Aj 2741*

      13     1998.8.21.
                                      7}7401fl9J
                                                                                   fl                ±ti3-it
                              SDD->SEC                   'PA'i- fl                                   5JAf13 7A1 997*,

                                     14", 15", 17" AAj6b 'J                        t4 sri, LQ        ±t 14-31t
      14       1998.9.2.
                                                  7J7                              .94- fl±           ]A}11T1A1 2746*
                                                                                                     ¿s'J 42-2.* 346*
      15     1998.10.9.
                                                                                   au Sn, m

      16 1998.10.20.

      17     1998.11.4.
                                i17F(14" 7F*1, 17»
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                                                                                          SEL 114

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                                                                                                      A}jA- 'Zbl*
                                                                                                     ¿ST2- i4-6*
                                                                                                     AJMAl27ÇJ
                                                                                                     ¿4 4-7S-t
                                                                                                     4jA}flA] 2764w
                                                                                                     ±t i4-8t'
      18     1998.11.23.

               1998.11.
                                            t»          7fz °z1
                                                                                  1y
                                                                                   th SEI, JX4
                                                                                                .A}i7k127g7*
                                                                                    &1 LQ .9?.1 &Q
      19                              17"    VjI7}         $5 cj)e1
               2T'29.                                                               Ele tRF     ?A}1A1 27*

     W 1998d               5O 'Pl

91                 ó]      9IcflA]       4« 14"$ 15" CDT
                                          ÀJø1-S                                           71- *1 t2-°1Ì tu
           o]xj         2ofl o]oA1 è1t}t11, fl °]*  f-7E ¶                                       fl* 7fO] *
     14"tSJl- 15".. o1*ÙF01 ó]'2]ö] 'J±Ml tio}4 óJ.
     zÇr.zfl               z-)4ofl               4u]]7f?               4°1        iJXj$S. fl 7].ZÓ                      A]-


             fl-I t]-F*1 fîi                               aMi4.           Pf14 4f-                     1flF
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                                     4              cJ, ?-                      °11c-} A}-O] *flF-1 '5i7Jfl.
      1A4'Ö1      s.]t}J   4-JI4.
     oSDD            14/1521 JF                         DIF 10.00                              14'             -7FUItF7jI
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       15"          OIt         OIE4.       fl[}]7[ £ftj AIj fJUJF                                                  OIc.
                                                                                                      (±    13-44St)

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            Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 50 of 85




     ok                F9I    COL- O
                              AI-CF8F     JFtF        XIlFOI '17F 'jgj AIf8FLF ±]1F
        jtO4. SDD                §jxfl           t@ VFU1 )F      i 2i6Ft      cn tF21r4.
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                                                                tI] 4°jEftM    E1

                                                                            AZL2, SECYF
                                                                                           tHOr ¶2      42i)FJF OF

                                                                                               (±32- i3-44t')


     © 1998\4 F 14'                      * H111 0J}9

92                °1         ]2C9Â]      AJ4 o]a& t}                                A-* ¶oflifl ?*è 4±. 'j
      F 7).7O1} 7}2g)                                 3L           tJ4 OZj ¶I7P-4*1 21AÌ---                  f9JS}Ç3

     cf, fl              folÌ £À]U]--Q         t}P]-ac, 1AM, OJ-               sf      }cfo     JO1ÓJ
                       CDT      1]4 --- 7fÓ]CfÖ]* ±-5i 4A1A1v* F-w4                                                         J-

     Ófo     t13t] .SJÙf4                  Ö
                                                      Af«.. tflfSI '7çiLÂj'2} I1*1.)
           jcf.
     o(OIAa)                  AFj(assistant vice president)g 1998w 12I CPT[SF-fl2I 14 "2f
        J t±2iJ )FtFI-OII Ultfl #E1                      AICF. aI     AUM 14" CDT 21 JF
       c» 1J                                   0] 01001 Wl7F   0j} 58tE1.  -7It 3!oIaJi craM
       [4.     ÌOI            2jt 4: 2D'la -iOu_
                                            tIDFE[F 15"21 )J-                   0If 74-75      E1OIIAj UI    73-74
                       * 31IIOICF.                                                              (±32- 13-451t)
     oU     flE-?J   [[Ofl :i                     O        WOflA1         X1I CDT J?4 U]         8FXF       ME             tF
       7ff !IZt[4....1}@ 4                       j 12IO11 t64tffl Ájt O1?iOÏI                        JfOtEa1eJ
       0FitF0l, zj-            4?J9J           !JÇ.J5 ?2-1U        AIij,' 0F?iF7I ?*H                            ,   EflJ
       Oil LHTh                AI31OEI PCE.                                                    (±* 1I3-46*)

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                o]            ]cflÀ9     iiAJo1-S          Ó]      ¶s]qö] U]-Ef       ]-f]t i9]- CDT                 *fl


      z}%o}            -P       1-       16'4-&j 17"CJJT 7}73                 2J-fl}fl*         t}Cf. .EM-,                t
                    4# CDT                      flo] ÖJfl4                           7f74Ó      AJ}2r

       9-    o]oJ      trf.. 710J*             ?it} Af-oJ Vch o] ]-J                               J 24
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            Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 51 of 85




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                1998'd 3-W 4'               °?41S1            4411

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94

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     .--tj A}-. A}3j0fl -Oi           S3j 4Ó] Hi-W4. ô] CDT 74
     îPfl} t1i* -]t]-7] 4It1I LGjz}21 Mr. (a©) 1] 4     JS] k]--

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      oCDT AgI2j               1      tkOI Ufl.        O-lED1,               iYI49J Ai'j         flLOQ I o-j
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           94         j §AOfl                               AOI         §J'FJF                    oa2              tc4.)
      oMr.                                                            M .]ILfl tEJl                       IÌtEF1 fl201, AlOflÁj
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      1cn9l 1JJi OJ: S 2fl rf*]9]*  CDT 71J-9-1-
     7J17-, A].-fl ** 7,tI *-IS-.. 1* 14", 15", 17"CDT 3&i7fzl    1



     $ jÛfo ì]tj A}-0] cf o]. }jÌ] '7 J.iLÂ]'0B ]i Hi-D1-.
     o14'715" CDT JFOfl    ti Mr. LF                                   tN2FQi CF2I J4                           I?IJE AF@2i
      c--Efl nc-F.
      14" - USD 53.0/pc                                                         15" - 65.0/pc
     o Mr. LF SDD2F LCJI- USD 130.O/pc                                        Xi       " °"--
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                                                                                       -r--                   ftFEF.   (±32-      Ì1349t)

     O 1998'd 3              25°        °Jz]4]]


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     Bt}C] °1               ]ì]o]]A]             t'f-]       Mr.       4- CDT 1]4%°] £                                  tJ4}O 01}L
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                Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 52 of 85




     * V 31* 1ttÙ}u1,              %jgj-o] .J-j}°fl1 j-u11t. tÇrÖ] 0
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           0R.                                                                                                       (±2- 13-501*)

       0SDDSI E flOI 4                           se EF0I                     t 0U0IEF. 4/20                      5Ofl AIj       M
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       oEEt, PH/LG/CPT/SDD         -JOI A1>i        2]                                           JE   5O1I [I 2j                    EftJ*          1tFI
        3/30/98, 2:00 mOfl SDD2! EfOJfluiOl Af±3fl 9f                                            EF                      2StF. )f          5Ofl EH
         k     9i oIäflJE L   9XE    JILHCF.                                                                              (±J- 13-501*)


       ® 1998d 3-                  30        4411

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     14"  2v-], 15"-                                          '°1i-         ¶J5]           14"9-1- 15"S] J-P17P-* 44 50
           1, 63-4. Ù}-4                           fl- fl4. 0]                           O]A1       JAâZjj, LG'd71-, 2?I, *}

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      Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 53 of 85




         % 47flA}                      n} ÀFMZ4)4         9]O1A1 4419]                     31 CDT il* 7}tJS]
t]-t]- 4 A}                                     )JA           C]PJZ]49] Mr. 4, Mr. Ù® SI 1, W
zj4 tflvjZA]-SI Mr. ÖJ©© 9] 1                                  2.i]&9] Mr. FEE, t}flSI -i 0J 9]
io]c}. ó]                           t}9] '7'öfl 9]
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 CPT/PH/LG/QaIg    JIEF      2JAF        CU6FEE.
oJF 74ÑF USD 2.001USD 3.O0           8F01 14"/15"    0IF CPTSI 'iip±g
                           j2E4. SDD EE               fl AFt* LLFiCFfl 2LF. Mr. tF                              SDDYF 4..
  14" 7F                    USD 50.00/pc OI-j2., 15"                            USD 63.0/pc          -I6F            iCF.fl
        E4.                                                                                              (±    13-5ltt)

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                           }S}          Jo1}Aj AJAJ7424 .liA]-9]                © noiA]. 4                      j7}A}7J- 9]
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  Ò14%ê fl.2-- AJA* 4*H1 7L?4* *1M7]. F*4 zJo] J9]uc}
nL tII4A 71                              %2..-j          O]     I9]7} 7fl4J 1998td 4                i4              ftV°1] tF
  2J CDT 1Pfl%Q1 LG'd]., 2-1-&°1 7].1Ja I1 t°H"I 44T2II 7]]
                           A}E           -°19]51      .fAâ7154 4'VSI                               %JJ
..A]-ì] Z]A]Ö9] IE}4 7J7A]-9I- tj9]                            1]**      °1**                   '? slr.I-.
%f7f ]94t$fl '4} '71'°1}- Zjtj 'tj..flA-J'Oil 9]fi
ouIJIOfl jF 01E-! CDT )flAH0I                                   1tEO1         tEAI JEfl            f4j AIJ 4'-20l
 rf           JF           ?ZI011         UJE            OIr4. flEIL.F 2JE JFfl §a[                           ff±      4k-E
  L rr                      o             m V            oILF. 5EJ JE?4fjJ  IE& E                             7F*        0IC4.
                                                                                                         (±t 13-52t*)
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                                                                                                         (±1- 13-52tt)
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  2J?J             .Iiifl 4 VJI                 Itt1EF.                                                  (±31- t-52t)

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                 Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 54 of 85




           © 19981d 51 18'                         oA:z1.121




100                     01                     i     -i *-A tflL                                             AAazJ2J01          lfl 4u 14",
      15" CDT &I7P* 4Z]- 461$ 561       21t}fl*   Slt}  }    QJ


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      tF7Ì. 8flcJ-   JAcJt S4&2I DD, Mr. 'J(4®©)$ tfl
      el-im *11                          'A#H             °13i, o].         tflI1               '5                 iiAj'eI]    lt1I    HiI4.
       001/4 E]#, Itrj ¶2 CPT AF25J Ê! / PH Mr. David Zhang / SDD Mr. LF ?J9I I2I
        21    F0fl Fi, 14/15" CDT2I )F 9JtF      & ?!0101 50fl JFg LFaF 0I
           ti  .-xIj   30IaF.fl gjtL: 14" MPRII: USD 46.0/pc, 15" MPRII: USD
            56.0/pc (Lll                  n'1ÒII7 WJF)F 0101 )1IEI2LH1, flEI?J ypig                                            -XIi0j0E tEDI, 01
            1E                  )FI2J JE           !tFE ?A010               tcD.                                               (±2- Zfl3-53S'E

       oaFarM )F                              2jtFL1I Uft                               2EIgoI,sDD/PHJ
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                 EI0E             !C4. cLÊj CF           CPT        SDD/PH0II J2Ì                    !OjC.                     (±?J- i3-53*)

       ® 1998d 61 1'                                     -]I

101                             o]      ]so}             tJ 47j]A}. .Oflr]-                                                           t}1        CDT
      74 ¶*.--- *.17] #IÙHI A4fl 'J*S}7].. o}-qf o] J-4t}%iL :F-
      CDT4?'Vfl'Ö1 o] }94 7fl        7}t1 4IJ 11* 'fl1flQ            33

            AJ                    7J44 4tj 4:j]-               J-           7fZ     3015. .fl                      61 3°A* 8°d°]1 4J-AaZjj
      S]    '2 ©°] fl+                                   flc$ ]fl 4ii2lt11** ]fl                                                      o]fl.* f°1
      *                S]-. 1S]F-tF                        J)j.vj- c1]vz1A}sl 4VÇ, }®® S] hL ìel-&S]                                                       -


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            VEt.                                                                                                               (±t i3-54S')

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             Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 55 of 85




           o2ÇF                      sDD/LG/2ag                   7IE.F )tTAOI              J.9]     tF,              iiou Lrj
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             ofl fltfl J2 4UHM EfiI OIEFi DFRLF
           oSDD2I Mr. 9j              (A        M                           98        5    2  X1'Ofl Lfl}$                FO      5     3
                  Z6           3Ofl 'j AF'JE} PHSI Mr. CORUE §                            24 Zj 9JLF    I9±                  6LI1, n
            Oil U]H            9]E ?!01E4.                                                                       (±j 113-54.*)


              1998\i 7W 90J °è*1 ]


102                  of         flFtI ii               4.LiLA1O1 SÌtN,                               -uÌkÌI-Ó 14", 15"
      E-]   15", 17". O]*t}.51 91%S CJ-                                S14. EJ-,              A] Ö. AMQJflÖ]                   A4
      *±tRa S1                   4J--OflA-] t         Th%Th LG.jk                                        -     47L"}7f   fl-S.         A]

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            CDT        ELEE
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103                    o]                             t}Th LGjz]-,                                 .2-1ì              Sifl
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                   Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 56 of 85




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          © F866T WL JI2                       [dfl-Fa

kM

          %f[
                              [o

                              4o
                                                      'W
                                         k[[L {LJi54. a
                                                            'nfl            '*WOTI         'c [*5k[UzF4v JJGO *flIRVLiL
                                                                                                                       1GO                        ft'



                        kidiia ty-ikL*: ÎQ-k4 P$'&                                       [QVVI9              fl4 thiva t2L)fr8
              (    2upaa.          [[rafl                          fl' [fr Ma                         Î4[s-1 [QN'/                -fal*
          o Lt 1Go          866L
                             i-ao
                                    :f4f4
                                  ICt/E %93 fN2
          0 0L1 IoIC l2C6 Iv-IL
          o
          o
               IoI             iIY
                       loi? 5kDJ Ioì[3iIo k1c 1t,i3
                              Da   jyg                                                                                              (;cZ-4fr

921                                ay jii4fk jgThk 4jy[It                                      [{2j    fl [oh          1z     Nv
      -[hLMy-                                         ìji![ {?Ì-4 [oy                      ja         4q                           jèf jgz-[z
                                        kj*                                                      n
          jtiR                {o        JXIO,JLT       [4Mk [[o&{y jn                            ?t966T [Ltz/E Esjv[jzg                  -&'
      (2d23)                  -fi[o[bft&V9            -M-r hBLt                          **g          ± 'y'    6                        Wì-           Z
      ,
                   '[y[[o[ -6             O3    [v[to*k' 1z1z           *-                %[[ [tjg[flt {ti4g[4
             Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 57 of 85




                                                CAPA                           flI7flJ                                     k7Ij(Ei:               iED)
               SDD                              1,800.                       1,500                 A60                              1,440
                LO                              1,830                         800                   30                               770
              Orion                              100                           10                   -                                10
                   LlI                           900                          810                   30                               780
             Philips                             840                          800                 A30                                770
                                                5,470                        3,920                A150                              3,770



      © 1998'd 8                      21             °41sI

                                                tfl7L1 Ö1oflÄj t}'L1 1+ t-                                                                  }t CDT
                                 °1-1                S1--°I *# flif 4°Ì 7F21'Pe                                    -ttFfl* FQJ
                                 10                  7F4 CfA] QJfl                          fl
           nU  I
                          O.
                          m                     DI        j-       Is a
                                                                  T17Ç1IS        EF2F        0I Afl17lE1 8                   )F                    I2
                    8FCF2 i21ÜFE4.
           MPRE                                                 UL9D 500
           MPRE                                                     60.0
       17" MPRE                                                     93.0
                   TCD                                              96.0

      oEEk, AI7o e                         D'
                                           5ç         Afl       !I7nI
                                                                'F,UI            LflXI ?         4- F2 )W -IEl2 2E
       .                                         EAJ            pijj 21.E)f          colg 8                 E/9  °'  ;;oll          -J    '.- o = 'n
                                                                                                                                          OJAJ-

                               21E-D.                                                                                        (±          13-56t*)


107                         *}°UI]                                          JiA1] '(3) 4E}' cF* 7]              *,QE1 %jo]
      JL11*                     1JZFt EBM. 7}744                                                    -Z}   cr?JL ij -} 4o}                                      .


                     "]        CDT 1fl4 1sit1-ß-2J                                         rM4k                        flF*                   ? 9klt
      0ILFaFM fl                 SDD)I- 0101 SEC                        F       2J-BF21b                  0H FUH iei )FXl                     21E-F. J
       g FiOI 2E1 Sei                                       2 JNAF             LH± iIAF0I oi                 t       vi CDT j                     eit
       Ofl    !J-          7flAf2] ig                                       Jtf0 )F*J e                          PjE       ¶
                                                                                                                         ojaln j-8f
       21E-F; OlAF 2j%E 4:                           IFaIJ        jsjofl EEFei 7F          £1J0U EH          SDDSI ?JJg 0fl. 'JtFCF
                         4t-21c. fl                  EE         0101 SEC JF2i           ?it6E21LF          ?101l   J6FI fl           SDDOfl 0I2i
       xH)ItEfl                t?]         tEE.                2fl 3!OIEF.fl             21EF.            AFXF         2       Al          VI9I         17II
       Ofi   A1l                 94             Ioln                    1iL}                ?0fl           6F21LF.           (±          13-56.t*)


      S 19981d 9                      2'        4}]s]

                                                                               - 55 -
              Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 58 of 85




108                  o]                     'J7ofl j9t}31 ZtA}
                           :l91oflA1 II4}O1.-g- ZJ% t]] 47]
      J*fl ofl a. noi t%Ou] zfl t]] 1'-] ttf71. i A].«O] 91
      4 fl    ¶ 7]-7QJ-QJ4 jt}o4 -Y}Z} Z]- AF ''J4]-fl 11** *
      n 1998\ 10-W i°-] 14" 31* ÎI-'iti- 52i, 15" 5Z]- Qj-fl
      65i, 17" 7]-4*     *1t]-71 ¶]-s]}4. o] ]2    AJ-ÀJLZJJ, tfl-VF,
      LGJz]-,                   1% - 57]] CDT i:spfl91 CQJ.P]-]3 rjftff ÇJ3}flOî td-
      OfiAI        ]tfl 7}4 o]               J-AâZd$ o]aJ '                     1*-C98.9.2)'°fl 9]t]]
         <Capacity Reduction of Q4>
                                        Original       Adjustment         Balance Remarks
                   [G                     250              200                 50
                    Philips               420              370                 50
         14"       Chunghwa              1450              1420                30    'Japanese   Company also
                    SDD                  1090              1060                30    need    to  reduce  their
                   Total                 3210              3050                160   Capacity of 17" Reduction
                                         1440              1360                80    Q'ty    200K/4Q
                   LG
                                          750               710                40
                   Philips
                                         1210              1140                70      The     Capacity reduction
         17"       Chunghwa
                                         1710              1620                90    start froím) Nov. 1998
                   SDD
                                          105               105                0
                   Total                 5215              4935                280


         <Price Increasing System>
                                       Original Request
                                                                                        Agreement
                                 14"            15"          17"
          CPT                     5             6-7           4
                                                                        'w Agreement 14":3US$ t =52US$
          Orion                 2-3                5        Follow
                                                                                     is»suss t =G5US$
          Samsung               Zero               5         Zero
                                                                                     17": "Zero'
          Philips              Follow              5
                                                                                  From ist, October, 1998
          [G                   Follow           6-7           ?




       © 1998\4 10-W 9'                44]]
109                  *JÎ1              o]z      ]s]o]]A]     -s]% 2} 7}Z1%9] tW-oifl -liS}..
              7f        1ti]    Thk A]I4]                  tAJÓ-     ]tf914. L1ZL. *i -t*
      7JA]7} 7Ffl} Th'i7fl* +dSLÏL HI* i-t]] 3i7J°]]7]] 7F7îièd1Ì rflj- '0t}
      «t(Signa1)               jtFi1,                             z]-   47]-     flE] 7}     ](Price Guideline)'&
      Zw]7]. t}4. ni-, ZJj À14ì9]-                                       Ù]-     j) fl/4 i]fl ] g--4
                                                            - 56 -
             Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 59 of 85




      ..o] 4±11%°Ì                      ii)      -ftI--.. 7ffl                            t-&t 1998d 12°          s]S-
                    fl°1 5*, 1999d 1} 2i 7* Thft}Y] ¶
                  Mfl               CDT
       IS4. '']-s 1* .fl        4(Monitoring Team)-& MJÙ°1   1

      ¶s191 olto1fl -îi- + SUE.* S}%C
           t23)          I9]O1lÀf    Mdt9j
                                ci- IO 7S CL- 7AFAILfal2  -itH   7IAFUU'98w 12
      OII tH2Lt       ?J CDT  j2j 7'°-
                                   fo a .J '-tF.
                                             0
                                                 i_        99J        2Ofl 7
      Sflt ?!* t2i&FLlCF. ÑJ        fll_ flISHS
                                   Mol   '-'loa           ,a = =7l7ltJF(Monitoring
                                                         Ojht4R   =
      Team) +tFfl tk71I] 71ltF7I t9i6FLlEF.                      (±2- 112-2tt)

       1) -ftkuUa
       OE Easy Implement & Monitoring (OlJ          2dA!)
       © Sending Strong Signal (41            I)
       © Start Exercise & Fine By Each Company (t2l                                       2.IAFO]l S]f
       © Product Mix Manage By Each Company, (2jAFO1l 9II
             But, Price Guide Line Stick Follow ()X[g fl)                                                (±* 14-5tt)
                ?JJ JLFal2
       W ?2/                  Ul2tFO          ?ki
       © 7F4
       © '98.12t 5
                             E57J8FO1  ti
                                    J(UIi MJ-
                                                     -F




                                                                    CDT         t)
       © '99.1. & 2t 7                4frJ
             Action Item
       QJ XI        Monitoring Team                         ipj UF?J,                  9-'afOj,          (±3-   4-5tt)

110                o]      11°fl        1Th tflTh LGi4,                                       1L&        - 51 CDT
      AF-9] cp}]                     i-1- o]7]$o] %Aj4 o1                                                o]ato]     -jj
      'CDT 'V1Ì(1O-W9°A) Meeting 73!]-'                          }.-°fl              FÎ1I4.

       S 1998\4 10-W 20°                  };z}:4s]


111                 Öl
                            1HP1 AJZJJ, t-flTh LG3zh     2.1g 5711 CDT
      A]-%]                     -v- JZ]4P to] 4}1J-- 7]t}j. CDT *fl] AA-
      %l    7       1     $U)J7       Ö]AJ-öJ)   tJs4t} %JS-2] oJo] 3}--fl 'CDT °1(1O
           20°J) Meeting 'A* 4.°1I 4A1,                                   117RP-f      H4Ù]-] '14]i& 14" 7P1*
      *4]-i, 17"71-''                   °A-°J'M7} QJÒJ-A]                 5711A}71j-              i-W]. ¶St]-2Jl,
      JAj3!J             uA]4Ofl Öl ]*- 'dtf7]                                         }**
                                                                 - 57 -
               Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 60 of 85




      2.      I2IAFJ
           1)14" 7F2121*I:              -- 14" CDT )g ffXI(52$)
                     17"JF212JfOfi                Hf 2j:         OflM     1 )F219]1      i        5)4O1Áj          tFO1 2121
               2ifI      t. 5)42] 24                  JIÁj JIYI            t (to tT(OFAIE-U)
               99    7F21('ti7I) Indication:                   L-AEdFI
                                                            99'-1 oi_Ii_      AH)F21* W-17I        i (±31- 114-6t*)


       © 19981d 11                    4°J    4411

112                      o]      ]M         -f-if, *Th LGJz]-,                        ±, 14-& -W- 57fl CDT iA}
                      i-t- ÖJY]SJO] tflPj-tkl 7*t 44}2IÀ o]zj]]o]]A1 k-1
                           p]

      CDT 'Rk7fl1      -1-t71] No1n fQjt]-fln 3-fl]7]-2 7fl 5i-J-
      A]cli 91t]- .JAzj$j-S] O]AAÓ1                              ]1f*
                                              *7]- fAfl S4r41 4-B s]-
             o]                  Ü1--EF,--j fltl- cj                    7J-A]fl       .Aa}51       s]-7].         -1t A}-
      o]       fcj4
       * ACTION (Regional monitoring team(I                             ?jAIj) -> malys, mexico, Austria nk, china
            tail***, koreaLt)
       - set up monitoring team, to do it the implemation (iAI                               1M    AI       AI)
                                                                                                        (±31- i4-7t)

               19981d 11              23          tf4]]
113                   4kJi-, tflTh LGj4,                                ±, Q]-& -51 CDT i1---I °V-
       ]-51F
                                ÓJ]I              tfldAA1     }1]-- YS]-              Z]- A}9]    -U-
            fl                ]tJ- A}«O] 9)4                ]I@-A1      F't% J-J-VJ- Z]-o]              -A}I ']]}t
                          LS      ó]n]J0 4A1    o]xj tJQ]7f21* *}} 1] ]-äl ]S1
           4                      t}o] 71]*l CDT ]1'd$* --fli- AJ$ LaL#1* ]oflA1
               o]     7]        J71}Z]             1 ]-Z]* *41-7]-- % A}-4 '1- + s14.
      c11-          23          EI]EOflAj Vt          5)11 CDT                 T4MI1JLICF
       "jÑS                     14"        uflîjOI -tFUA1 UI]           ]E-       tOIl -1V9LF           [21
               Aj   14" f101                          ?!g OFLILI O1E1aFE TOP UIJO1lA1               E2]           OI vaau
           ))F]                  7F21       )fl     7I4LF7F)I      j"                                   (±31- fl4-8St)




                                                                 - 58 -
                 Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 61 of 85




        © 1998\4 11-w 28'-29'                                    ]O]

114                       O]        2OflA-}               LG'A4, 2g-, E}°1 CEOE,
                                                    F-''1I- CDT 7P.1 '1    kI- -Î1
                                                                                                       *fl i]} t}z}491
                                                                                                                       571P'}1



                 °i            o]     ]zj     %]SÌ- JAj o1aio1 tM-n* #11 ?1-fl tDT '11
      (11/28, 29°) Meeting                                        24t},                 i& 13i#*                S](Top Meeting)
            7]         U] 7fl*k ai5!}             }7]        ]4        (Management)           ]1- fl}1A1 1999\             1      2O

      o]]       71Ic1VJ 31, 17"CDT 7f214                     F4°1 '11* F4 5-i '?1-fl 31,                                 1J1qI         ]

       Ii-M 1999dc. 1-1 RKF* 92                                         31*           -Ê]} Af-4        + l'L
       o Top Meeting: 1lJ/ft, F)I Top Meeting: 3%v *(M'sia)
       ° 7F71 Management                       I2I: 1      2O(Taiwan)
       o 17" 7F2J@ 4
       E t2iAFJ:   OI 98.12                                       JFfl ein                 5AEoHM          1)uoILu 5$2iL               i
                 5AFOME                        ei'iS      1Jfl     1)H0ILH 7F              2JtSF51 5$            ILHOUM E1tF.E
                 fl2m
       o Top Meeting AJ 14"                             0FLIaF 99.1Q          2/Capa/tOiI [lii '1Lii1k                         k 99.1Q
                ?k12           4MtF52, &i24                                                            .          (i 14-91*)

      (5) 1999d


      <A 21>                                 1999\a 714t          CDT }fl
                3 7flA                                   2Mt11*                                 14        t714A
                                            17" 7}Z4°j
                                                                                          t*, Sf1, W, ±3t 13-ESIt
            1         1999.1.13.                                  -]i(1.16.)                     Sfl}. A3iÀ-} 3*
                                                                                                               ¿SÇ 12-21* 347w
                                    17" 7}29jAj                        AJ         12*,    tE SDI,              ±lt 13-1*
            2         1999.1.18.            19" Ñ]Z171- ($185),        ]-QiF                      'R
                                                                                                           ,
                                                                                                               1Ì2     Î6*
                                                ufl7}}($1Q)                                                    ±,t 4114-10It
                                                                              -                                 JA1-.jjA1 z(Y3

            3         1999.2.10.      tJ-.]vfl.j-oÌ1 19"    fl     Afl%b                  tF, Sf1, W,
                                                                                          fl1-- 'R'-
                                                                                                               ±3t 13-fUIt
                                                                                                               4j43?A1 1QZ3
                                                                                                               1027w

            4         1999.3.1.                '-ti-Ç J*, u1*]                            t    Sf1, W,
                                                                                                               ±lj 13-611*
                                                                                                               *J4JLA] 1045*,
                                                                                                               1047*, 1C*
                                                                                                               ±12- 12-21* 348*
            5     1999.3.5-6.                 Öz(25        7]-*), 17"             °       fl}-, Sf1, W,        ± 14-10-11*
                                                                                                               -AfSLk] '¿ççf
            6         1999.3.15.            17" 7PM 9,             t±'1Ì                  t*, SDI, W,          ±3i 12-21* 348*

                                                                       - 59 -
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                                                                              -Ds' *E&-8[k
                                                               '[2 c'FaW kriy- tPEOIT
                                                                              rkzt *ll-PIk
                                                              '-f* 'Tas         fk *3l-Pik
 ¿    OT1'6661    A-L[ '[k{c                      T-th[v?t
                                                                              tISLlk'aEdxW
                                                                                *s fl3-31k tel's
                      li {L       :,,/j) '86$ :,,6T '(9s1$   '-t& 'ras 'n-i      -r wn9-ak tern
 8    tTV666l
                                                                 '--     ç          *Th-Plk
                                                                              [vflivR' LZ
                                                              '* 'ras 'n-i     -rs *-sYT-P[k
 G    SZP6661                                                           ;;    [r*ft E3
01    3V96661            '{* ''                              'j* 'jas 'niç'
                                                             '.-fl
                                                                                    -k *99-Elk
                                                                                    4 fl9T-P[k
                                                                               -rs *L9-Etk

      E396661       :,,9I»z-[Zftrt '&[9$ :«Lt '96$
                                                             '* - 'TUS 'UI
                                                                    VFaW
                                                                              7T1          Y2U
                                                                                         fiEl-Pik
                                                                                                   C9U

                                                             (Efrir[) *LlETh-
TT                                                                             -?k4
                      :,,6T $ '(O/d

                                                                                    13   fl61-f4k
                                                                               4z *-:3--3[k (-Pr
                                                             'j* tras 'ni 21T              &cE?U   &13H
3T    tfl6661         '%iV'i'                                                            *E-*
                                                             (4*ir) rg{vß       -rk
                                                                                           ez
                                                                                tk flTz-Mk
                   :,,L1)Vz-[zt{, 'OEa26$         -.&[&      '-j* as   'UI    -fSV *OL-E[k          toii
ET    83V666T
                      '%[zjz                LV-t*            '-[aW c'Efl            43   fl334fr
                                                                              Lrivft *i-09Z
PI     Vg666T    &i'          N                              's 'jas ni         -rk      flTL-E[k

                                                                              'ZT ')771
91    0t8'6661                            N                  '{* 'ras 'ni
                                                             25                 iY               wOI'ZI
                                                                                         *tt-E[k 1
                 ',,J'T '191 ',,L1 61           jL '[>*           'jas 'cri   tSF *ÏZ4Ik                  *f
91    038666t
                                                                              4z' *nz-*c
                                                             (E&E[)
                                                                              1v flPL-EK
                                                                                                 t3
      366661                      [tt&[Y VeiL                   'j 'jas 'UT
                                                                              E93J

                   ,,9I jz        '&Th Ll z{L "&Th           '{2 'Jas 'UT       -rk      fl9t-flk   *rr
      0366661
ET
                                                             (tL*a) 1:F flZ-Zlk                      (Th

6T    83OE6661   tktfrW [&W$                   &-&           '-j* 'IGS 'UT     4z fiLL-Elk
                                                                              [YIYrY tLEET
                                                             '{* 'rUS 'UI                *ISL-E[k
03    2F0F666T       &-f-y '4.fk              jz k-e-        ''-fl çfl 'kT9E1 tLET
                                                             (eEkir[)          fl6LEtk1kz
      6TT666T                 4fl[o[s4                       '{* 'IGS 'UT     -s' floe-Elk
                                                                              kFiXft' 'ET
T3



                                               - 09 -
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                                                                             ¶}, SDI, LG,
       22        1999.11.26.                       ll1                             na                   381
                                                                             t1-, SDI, W, ¿SJ i3-t*
       23        1999.12.22.                       VF'}17P-1 -*zl            1ê,                 ']A]..jiA-] 1397'


       W 1999                1W 13°d             z}s

115                     o]     ]9IOPI            -Jîì-S 'd          1   161-] I]° 91V1 17"CDT 7]-
      z4îflsq j1zj Jtofl rM                              S]} 1, °Ì1W. 7f21* '?ifl71. t]-%t]-.                       .]S]%

      <14 -J-jjS] Mr. t]-®® S] 1,                                                   4.2.,         ]&SI Mr.
      LG49I Mr.
      ÖJ]S]4 o
                  fl}fl-s] 4j-.                                     ---v]]o] Ali .. 57])A}s1                          n
                                           fl4         e.iOl A]OflS]         flAl'ol] S]          HJI1t1-.

      cOlEI )flÑfl7F 17"7j                        £JÍ     ?1H !r1       ?tUI       7F V4. OII            O1, SDD        24
          N21           2iofl7fl            M7l 5P 9j9JCF.              ai   SDD)F OP_I                               Éi
                        fl [Eli 'Ñfli2i
          fl2ijOl OEMflF )F             7FOfl l'!iI                                         4 V)i        uFkLF.
      o17"CDT 7E?i*fl Vo-1 Ff IlJ247F ½f1 ?.ii2i                                            :   [47l          )   OP_I Xfl
                          9iPki                    2M4 1      16E-1 7F          Lifl 3!olcb (1- 1I3-58t')

       ® 1999i                      18°J    cF41S]


116              o-S. o1z LII*i 17" CDT 7J'fli* -ÎI, 14" CDT -
      -kè '-*°lI   ¶kS]t}tl, 1998\ dA1l7I] CDT t--  4.tE 1999
      \ 17]°fl 1*                          AA3If 7]-4          ]t}5c]-
          t29)           j@j24OAj
                          12IOIIM     tF2Ei i7ei    71ejt J2F TtitFO1      UYF
      -I2 7F9JJ ftF           010' 0 ¶9]8FIL, 199J Normal 7ieJF(xIJ"rie e °IM
      7F [lidi 1O%2iFi 185     JUH8F&          (Short Length)Jg Normal 7FLHdl
      1O           El              ?1°Ii    t2itFSLlEE.                                                (±J *iI2-2t)

117                       M,          lîi& o]           1S]D1 °1*-i 17"CDT 7}14 îflÙ]-]..                         j- ¶2]

      $       £ 5i]-Ö] ÇkS]-Th. Àfl-ZJÓ ?R?8}fl* FÎ1}E o]
      9t -1]*& %-flF* ]2]$ flAu 7]fl1 '17"7]-J- « jQfl ìfl.
      1-Q  7Y2t T' t-iAu -îir]-.

                                                             - 61 -
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      o SDD: SDDSI                         2         17" 7        £Jt    mo,         i.
      ° L/G: 17" "q L-IAEfl'
                       O 'Ji Q40F61j]I        t_-            iEItcF.
      o Leig: 17g Efl
        A)-° 'J e,
                         LII                                 ûiu 9-     enEi        jg D                   1E )F                  o'
                                                                                                                                  L-
        c,   iimFI P2tC4
      o 1711 CDI 7F              ?1'                                    7j                       16        01!: 7F            ?JF
                               fl)
                                               :                                   AF       1

                    (JI                                                                                (±12- fl4-10t)


im                        ,   14"CDT$                       olt1],                      t-* '1s
      14IÎ1            7}Jd4t #I 4&}.] CDT -;J-] AJfl £ J*}71- Li

      o SDD: Mr, D. Y. Kim EE                       14" 7F         EFAII)I 1EiM 0101                       IeEt
            ca e'

      o CDI 7F
            X0-J
                              ifl
                       f42J iilI4E uflOE
                                         ?E1BFJl      ItH,
                                                     fE.F. (JI.
                                                                2f % JEAI                            2Ç           010 t3i -N
                                                                                                           (±J 3-59t)

12g                 A», 19" CDT 7Ì--1$                         Û1 *QJfl 185-                                 7f7-S-. -
            11IM 1'&°IÌ                               4-1                                              $10                    fl
       F 1t& .9]7]7 rjs $10 4i t1-- 'J-S]t}%tI-.
      o SDD            I2i01IM 74        IAFI71l ICO27) I?17F - $185                                 tEiahn 4'F. EE
             ESDD         CPTOIPU 192F AIj0II */i! 0                         Alj                7F                  $10 oft±2
                    Xjfla.fl 2J&!C1. (JI                          ).                                   (

      o 19" Normal ie 7F(lX1)D: 185US$(0.26D, TOO)
      ° Short Length: NormaIlJ+1O$                                                                     (±12-             14-10tt)


120                               7}4%              1999d      2-71'l] 7R-îifl tj-A                   Ifl ?i* ..sÜ1-
      1,   f47]      -fl-z]---     }s]. 4% tu 2 10°d tjO]Al, 47] 1i.qJ*                                                       4%
           3-W 5-6'À           .3ZpÖJS       7fl]]-7I.
       ° (J2I) Mr. Efl0lUlE ... 27I0fl 4M 7F                                       9]Í 7Ii
                   lt- -il xflAF0ll7iI 19984 E
          Mr. E1I0lUc
                                       01
                                       .,1Sfl 24tHM
                                                                                   j ggj ao
                                                                                   7fl-j!
                                                             P)il &1tFcFfl 21LF. CPI A'fg 2
                                                                                                 )FA10E           kEF


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                                                                                                                                  11

                                                                                                                                   f
             iI JF            7lf 4 V7I                HfE4.                                           (±12- 13-59t*




27) TOE: MPRII2L4 C1*         Jfl        }4          ¶1 PJt-4]               30cm i°fl          ft} 4-N- 7]S.                jc
                                                               - 62 -
            Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 65 of 85




            1) YE)I Meeting
            D Working Level Meeting                               D Top Meeting
                 Al: 2   10  14:00 -                             Management Meeting: '99.3.5.04:00-)
                         ±: SDD [H±XI21                           Green Meeting: '99.3.6.
                    Agenda: '99             -. o fln
                                            m-u/oe,                                                    (±J- 14-lott)


121                       01         s-     t]]uj-oflAj   7]             ]5j- 4z]4]s]               ÀJAâzdyjLGJ4, I
                                          }J -- 5yA]-7} Jt4 ö]                                        'flA1'9} -tk-
       1Vk91             'CDT         7]1('99.1.18) Meeting               $' z1-.Pfl


        ® 1999k4 2-W 1O                       44}24

122                       o]     }]O]A] IY]&JQfl-Ö] 19"CDT-                    A13J-O] flÖfl 4?f F7Pt1 ---]
      t1Ç       t-0e
              Ö]A3.S-
                                          A]-ZJZ12               t}o1    Lj-uflfl         t]-z}c         ]S]-4. n1:i
      CDT°1                     1U fl1                                   1%* &t}71 #IÙ1 CDT W-fl
                                                         Ç A]             a$               * *41-71                1*i* 4
      t]-71               i-4.
       o1(jjj Mr. ¶)JI-                              E1tF      Uf       OIEI x11AF0t ¶LF        19" AlfOfl fl°JtLfl 7F
            7   1
                     DI AHAE1Qir
                        OL_! II LHÌ                1l      LFOI-XlXl ?2J         19" EU11)F2l tFJF      JFL1
            2] 17"CI- [4                   alL          Bt    0IEW     OlV[-F....OIEI )flAE0I Lj
                                                                                                   n'
                                                                                                      flJE
                     JclIAIt         2)F &QCF            ?OlCF. n@ 192] OIEFI            QlO1l 0   UA_
            ]IItHOE §tCF.
       oÇJ"2]) Mr. Xflath EFS j                                  J2]2] M
                    El         -FS      12WEI 19"
                                          SOI8HL
                                                             tÏ1I2] r"n °' a iSs             19"-       2]tF.fl CPTMOIIAI
                                                                                                                 tAI3I7F
            Mr. ¶21             1l2±°1l   o-1AA I.                                                     (±      13-60t*)
       oMr. 1aI                  OE-1      llAFOfl yj apj                                   [-FAI     24flXFO1 Al'JSi       2

            99-F                     fl -Xt7              tj ffSft1 LFF7E2   ±tF[-F.
       oj999j CDT -? t71!                                   1041M (tF     70%            7l2.'DL17F 27.9ME!
                         XllAF                 D7F          a!OICF. 5711 CMT X-IIAF  -kg 76.2MJF      ?Ol[4.
                                                                                                       (±t 113-60t*)


in                        03].2Jo]]              3.VJ9J      Ù}®®, o]t, LG371-2I Mr.                     J   P3,   II'91
      Mr.            -EE1        4   P3,                    Mr. AM1        i   }   P3,   t]-2] iii-e               s-]   P3°1
              fl4. °]                      t-ffl1                     i%i 'iA]'o] s
         Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 66 of 85




       © 1999\                     1        cJ-4Js

¡24               o]         J9OflA1 fl S                    2     2J1 I)è                  ]*
                                             t5-            ÇH          A}7} tfi31ZflÓ9] tT]t1-                   W}* M
       .fltFE)J        tJ}    tF                      -ulÌ-fl fltj]o] j-4i                         4o 2h °]
                                               jÀfl7]O]] W-21                CDT 1*21       Afl                            21

       al *-1 nl o]-4 z 9JE]- fl AÇ4 7J   J9]7} olt
                                                -
                                                       flfl                                            .


       tEl    tAj A J*°díi1- -j jA}(LGZj4> o}4 Mfl 31* }*
        }4 jr ZM ¶S]Ø} J1-'j* MS]-7Ì #t1J        Mr. 1H±                                                                        ?


             4M421 AÀO1* tfl 31* tt]7LE. t]-4.

¡25                      sí]AJO1               CDT            ]21A]     I-4c} i4]%Ö] iL'fl-°fll **21°1 tJ-21Af
      s4 ouofl o*óÏ V** .9tF3. CDT }2494 ¶21AfJ-0ÌÌ tRi- fl* 4j
      *it}7L. sri-                    f47] CDT .121* 4 I 3 8   4 2A]
      °11 t} t-011Al 7E2ftf71.
            T1IAg uH± fl2JQfl Lfl1 -j 9jEJ J2I        anw oIF. ÇFI
         2J- PH7I-                XLAf.E jA7                                    ..JtH0I     fcfo1 7I         SEOIH[4
                                                                                                             o1 AA
                                                                                                             (±j 13-611*)
      o.W              ofl 2°1M CF     L2F 71IAFtLf UIlF                            CPT9I                     XlIAFEF
             11Ì ?t± Uj          Lfl, Mr. JHaI  CDT AI                              42                         -fti        aI
          I2*I 2Ifl2} j?J0fl
        2EILF LG                              th ?12E7E               rw 71°c aOF2t it(4fr6)0fl
                                                                      m-,U                                             .StF3iE-F
        ii 0101
         AF4OI AHAF 7I-                    'I xtj
                                            Mr)flEth 3E1 7W01 J'i AI?J
                                           ,ii_,        eJ6FcF[4I
                                                                                                 FtFO1 OIEI XUAF2I
                                                                                                 iiRj-. (±k 13-611*)

      ofl    0E              ìaiXF0fiAI               2i         JIOLfl            OIEI XflAF2I        °Fj     Fd7F01I SjtjJ
          -SS[               g OFXI                 V4EF2             BtHq 0121-     Ef?OI flEi} J0fl fj .522V1}
        21                             g      O-lOE        iE4.
      o4 CF-            CDT            7I      24          Aj-
        3/08 (42) 2                         2:00 CPT (EQÇ-l9fl0flA-j                ofl.                   (7- 13-611*)

126               °]         1°1] W3-21 *©©, LGJZ} Mr.                                      2-121                     t,
         11 1, tflF21 ;*in 3j-                                            --J0] A]Ó)J .W                      fl
      CDT AA                 7J        nl 7]-79fl                             %ajt}4. °1- tn
                                                                    - 64 -
           Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 67 of 85




      Al' ofl 9I8)              I-îikl4.


        © 1999              3         5°J-6'      4z1-t1

127                 3}AJÓ)                    19991d 4-V-              CDTA±Ì1 10°/a 'J1-71                                   U]-51 7JA1Vi
      (Mothtoñn)* jLAS}    cfl t}i, 1999\5-E 17" o]]
      -& 24-j 54 o1iJ- 1AJSFn1, Ö4l ,1n* ÓJ.djLfl71 4]t
      ÖL                              -t}.j1          }7]                  -t]]          4. 14. 11                            71]fl ?4*

        t31)           &I              1998      11
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                                                                   °N I2I3FoUOflALIFaF 2IIßI!
                                                                                                                  2I CDTgI7              flI
       (Top)OI0IV                     DFj±fl a_oUI                                                                  g 2I"'-
                                                                                                                          UIflCHI.
                                                                                                                               o"Fe
       uIFO1 flFJ, LGiXF,    JaPF, 2aFs»                                                     5JFIAF2I £fl0IAF                      UItFO1 4
       04X4 CA   '2
       od l- -j ozFM8
                  n   711 ttIEF.
      g j2jOflMb Q4(99 4) 17ej                                                                                              Öl -

      25                         '    3f '99w 54E1                  °HJF
                                                                           CDT2]
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                                                                                   -'
                                                                                                        '     'Ñfl2}-riIl±R'
                                                                                                        10% c=WOF-'I                )F


                            1QFtFOcI jsjojou                 00e   0Ca4            1-.     '192i             CDT )F          185           kU
                       'J             xUfliF oro d-r L4A1?±Lj]Qfl )caa 71'
                                                             -'o n     _ oS0fl i2]6[2SLILF. £Ef,
      24-142]          Oftfj             F,   AI74JM g                 FtF2              tF9jLILF.                    (±1- 112-2tt)

      1.2tAF
            '99.4        17" CDT 10% ti(25                         )F)
           t 24AF                          2fA1D
                                     4-74,'(25                         ¶)Fxi AiIaFO4                        .E Monitoring           PNFO1
                  -!            /ChecktFE n =
            '99.5E1 Minimum                      5$7F        £i'f(MPRII JI               98$-103$)
                       I2FSi Communication              Jj              KPhiIips)tFO1        i74I           I)I         -L o = e -n---'-
                                                                                                                    14-&LJ
                                                                                                                                         OC
      5)     g jgxioii LflJ                                      24AILF GILl] RepIy                 t               (±J ]14-10-1t*)


128                 o]       .4JzjfsI                              ©              'J @ -'r?-, '-JAS, o]a, fZZ, LG
       4zf-1           ®e --*T,                                            S-U&1 J                          fl, *ED 'J+, 'J®®,
                                              iso,                                                                -e q-q- o]A]-,           -4]
           iy.      . 4 A]-2] CEO-N-                    UE Ia1-?i%o] %fÇ} -]-J.                                   M0]A]0HIAl a 5.-
      a 6.?k 7fl]]9»L1-. oÌ- t,}-fl                                        fAâi1 t]]flflA i--+ ¿J-I                                       o]

                 J.ofl                   f2J4.



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           Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 68 of 85




         © 666i                     -S      '9T



631                               i-Eir                       -i*             Ev- br&f{c,Li                                 'HigTh-                      EvOEiE       fl
      (L                          E[ofl                     -W % jv[c{g[s [[ç,[y[[rt 4W
                                                              P4o *Ev4- fta
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      iM%                           [o                                   'kzrw{[[ EvW'Y-&- Rn*ai                                                           ktflL*47
            [svv[o [IQSW                                k
                                                                                         - 99 -
           Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 69 of 85




           © 1999'd 4-W 10V 44 fi]-11


¡31                       o]       ]JOk] tN-1 1-                           :HLE. 7JAA0117fl LÇP494              y}3t1-nfl4

                  4-f.                    4            AJ}QJ flV4 -ì 4. V(monitoring) ui*
                          ii1]           fló]])] fjfl t]-LÏL               fl
                                                                 t}7]. t]-cr4.

       - LGOIIM 15" yf4                    AI*j)fCF 3-4$ eitFtFo Offer ¶2 VO-j Á'EL71                                        0I -E4
                    -.              O1IAtE ajojj UF2=
      oJ±
       -                       -&t Monitoring open011 U1I                    tAf: 01Ef   7FEII 'i-01IM PhiIips2l
            MonitoringOlI                                     0-j W4EEIDI LGS]    &(OI*J Open)E JILfl
                                                                                                             (±- 1Ì4-12St)


132                                O                                  iA4 flF-I .k]--(Cfl) 1-?-,                            à-91

       1
              jo]                f]9]-- t CDT 421 %                                4*H.               A}Ù      °i»                DF
      t O] À$ o]o] *fl$I tfl.-,flf                                                   A}t11   o]p]]Ö
                                                                                                       4A01]       t]]     f9jSJt


      © 1999\ 4-W 14V 4411


133                     3½J2J--& 17"CDTS] Ajj--A}fl 7}2121}*                                    1tE     ]    -i7}z1* J-S]t}
      .31 7}2            jfl 44                7-7 4Jt}7].. S}SP, 19"CDT 7]-74 A17]-flO1 t
            ajo]- 7]%                      7}21(1851)* *.x]tF7].. t]-4.
       t33)       ...            12I0flM          '99     54E] £JI0 0I ItSI!t
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                        7J'                   cDTyFg                         Ql9j0 A2.]'
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      JI                          '19ej                             ior
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      ?17F IFOIJF                        6FV2E           tSI1 )I)FEI]              0jJtflE 2 AE)E  1tF              »s°ji CEFEE
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              I                                                                                              (±J- 12-2tt)
       17" AJ                     124J1
      - 107Q MPRII $98.0
      -
      -
                                 E1I0I     uIj       105Q $99.0
                                 ElI0I             105Q $101.028)                                           (±t 2u13-641t)

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        - 5E4 j*J7I                t9jSEi 17 CDT )F2jg 4                              Jt 7IY1M XU2i-t(7
           l) Ç!
        - 19" CDT JFI
                              f.
                                    ...     U4e(185$)                    -7ItF5I 5   MTGAI USjI          j
                                                                                                 (±t 14-14t*)

154                 n431 sr]t.&   51 71.*Vef* 5Vfl, 26V4 7}*71-. --
       S-Jt31 4-W 23V tOjjÀ] 7ófl7C?j S]OflA] JA7 CHJ. 7}*llÌfl i
       t1-7]. tfcf.                       t]AJo1-&.           }i FI4                 -]$ *51#I        1-1 7KI°J-1
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            4    28  Taiwan MTGAI 71IlM 'IIS(99.2Q, 3Q F°J/J                                     i)
             a      7flJ2]             AI AFEjOU Fax 24AFoU Inform
       E    F)I Top/Mangement MTG
           Management MTC 5      21              09:30- SF Taoyan
           Top MTG             6            25/26(LGF                           )                 (±2-       4-14t*)

135            o]             AJÀa74I4     LG},                                      t}fl      4j CDT      fl ÖjZ]
       sj%-.                                 A
                                                       7}-W-°fl              ]}o ÙJ9]       t].c} o}         AfAa4
                             tfl-nA-}, ¿Jjzjf o}a]                              -+       i-t1            :fIJ:Ic]-.


       © 1999\4 4-W 18V Ak}}O]                   t4-           Afl

155                -*    Jo1A]fl ó]z ¶fl4tfl. A.4?è 'J*7fl]°1 o1u
                    o] AHi
       a. %11* *i8}7i 4] @flJ- A-] Z] tbl-.n A}O] 9)t] o]. -f-
       -i-FìÌ '4W 18V Monitoring °AH                                 '      AÖ11A]    f'Jt]-
       1. 5JAFOI( LHk Monitoring
        Ei  AEF
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           £Ii:    i- Michael Du(Marketing Manager)
           AI?±: 0800 - 0900 .Et     Monitoring
                    0900 -         LG                  OI
      2. EFAFOII C4JJ Monitoring
       E     }          Monitoring  ii
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                         WI           II1Ft,                                                     (t      *114-151*)

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      ttff 4lFfl >}Ó17f AHE4
                                                            - 68 -
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         ® 1999            4         28k 4SI
                    ô]                  CDTAILJS1      S.., W-fl* I*E               1 7}}* t7Ì           t}Ö     Ag


        n. t*S-
137


                                        7J*8}7L. t]S1-JÏL          S *5t        Z- AJ JA1}7J Aa4Fbfl fl

        Ó»                vi%a.            s1-7I.                                    %j4S] *®©, LGj4
        ¿] Mr. °I 1] 2, Q1SI Mr.                             -DE        1,            Mr.     aA          S]   1,
        fl}°4SI l-                       I+ S] 2Öl °1 ÀJ.Aj34 tfl-SI                              fl*ì ]s]
                                   S]     f2iI4. (±J- z113-65S*, 44-161*)

         © 1999\4 5-                 12° 44]s]

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        AOCI rflj 4uì17]-7*
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                                           Z]

                                                t4                              t.* t*tL. 4uB7}z
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                + ].17f* $b0.-                      SItH      Pii t11ff-']i4l   2        jt         .


        4. o]             74ZJ 7l17l-                  A]    o] A].J fltJJ4] ¶ ThJ-°]%**                ? s14.
         AOC tUi1JFMPR2                             NOR29)            SKD30
         SF                 50$-        48$       47$                                O/A TERM
         PHIL/SDD           49$         47$       46$                                L/C OR COD
         7IE}JIEIW : MPR2 50$(RMB52O)OI lM7F(E LW7IaH                                2$2Jtf t])
                                                                                             (±* 44-171*)

139                  ÖJ
                         äI4-1 4AA, Mr. *©®, 1SI 44 j ..AJ-
                               1SI

        a. 4S, 11SI Mr.          LGJ4S] Mr. 1, Mr. 4, Mr.           4I

        qil  t-g o] e.io] A117]- %1-&i-Öl AgA 4117}' ;fl 3iL!FF i] Afl
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        tR'ì         }fl' c1-xI SII

        © 1999             6         23°À 44]S]

      NOR: Normal-I ¿10]tfThj n 71*01 OfL1                    'J 'ltI
      51W: Semi-Complete Knock-DowuSi 0Zf.A ITC* 7f                a'    4t44 4** OJYE}
                                                             - 69 -
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140                           1Ófl-1 541-g ¶                              CDTSI 7P-Rf         'd°1                    Ia
            qt] 4 A}7} ]fl 3i71jfl,                                    fl-.-fl        .-2]   7dfl flS]-3i 4A}-
      94 AJ 4                                               fl
       o CPTh 6              01E]       t0lIM        1711
                                                                 a2i0l          12am
                                                                                   °'-       c010E     1EKU    4tLF.
       EE1, 15/14"           11 2                7F ii0IEF. Q301 is" "                 00 I
                                                                                       AF0i          iIaFI1 j4cF.
       °                              17"/19" )F              HTel               =1 'ij
                                                                       Fi Mr.?] 71S 1L71             W A11/B4Uh]           i
       !4F      OItI]81-7l     1ÏM 41 HTC(J)                           LF2 j
       o LC                                çInI
                              1. 15" 42Jr uJu    I
                                                              oans
                                                             }2O4, LG Ql )I
                                                                rie             tFi 7F2i L]
        tF.D 401 ¶7'I?±, c4                           15" CDT JFOI $7O0Ij2 L]t1L]                                    X1I

       ?Jfl0I E4A 15" CDI                       e* AIf JI4Jf 4E VLF E1E Lf]2 flC4.
                                                                            (d31- 13-67tt)


141               ::LL3i Th&            8        1fl-E1 15"CDT                 -U1]7]-7*   si i-'-t]-7].1 -94sF
      tu1 A74                       £A}U}oiÌ          k91'1** *1s}5i °]fl                       I-7]..               17"
      CDT94        4 MPRII 7Ì                   95-ej.                                        19" CDTh 17O-?4
      a               ¶91t1-t1-. ci, 14", 15", 17" CDT 7]-* -94Ù]-Aj   77-
       ('Tnterna1 y]-24')        J-S4t}532. Ei, 17" CDT 7]Az &$ 24f o]ì.flcI
      7A}?i                    9     f?Hj(Hot Line)* ÙÌ-7]. ¶944.
                         !P?1±         9I #OU, 15"CDT )F0l 8 1E-] $5 L]I
      1152iJ
      §t, SDDSI Mr.?]
      [172i) Ifl-F
                                Oj TSBOilIII WcitLfl ojEk
                                   -jA1Ik       §1 !-, Mr.L1I0l'U@ £4flF g
                                                                                   en           2fl 0fl0lE}. 5E
                                                                                                              OI1.
                                                                                                      LfliEF:1.
      17" MPRII-$95, TCO $96 (7F                            FQI)F $1       0fVEU; 0I         2QI OFLU            XF7IO]I
             a[fl J1Jt                 XflOfl C7                 ]7II t     ?0IEF.
      (192J!J PHQI Mr.UI0lg 19" JR flOh Lflt}] cgfl 0l       fl IVEF: 19"
      CDT AIt JROI StCF OIE-I Af101 )R             F?± $1700fl -2qfl0 PJEI-.
                                                                                                 (±4 A113-67St)
      3.
       1) JR           FÇi
                  JR: 8                  ,ia
           - lnternal2R 2$ Cap
                  JR: 8         1fl
           - Buttom Price: 67$ (Internal 7F                      65$)
           E 17" JR
         - Reference Price: 98$
         - Actual Price: 95$ (MPRII JIC, Internal Price    f)
       2) 7   17" CDT 7FW
           - 7.  501  tO +
                  a ,-rm             C ulm
                                         nJa r/
                                            .




                                               o,3O    [HyjUIJAl Confirm.
       3) Hot Line ½i: 24AI?±L Replay? J1I'         ttF ?*)               (±4 1Ì4-18t*)


                                                              - 70 -
        Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 73 of 85




142                      A4%b 'J**               f                       '½H].ê Th& I 7-t 5
         'J** Mfl 7-8-ut 12'P]                              0J     J-*M71. 2]t}S]-. fll5i }1
                      91ÇTop Meeting')      Th- I 8- 20'2°1], iiz]-Management')               ]S]-

      Th& I 7          23'     tflvoflA1 .93j 9A] 30-E1 7fl]t]-7]  V]-%cI-
                                            noff rqaf 72J 5 01 7f° 1T
                                                                    =,=,, 7-'8Oil § 122j ?f
        01 V          0IaIn LFj2]3E          e e I0IE-F.
                                             bJTTE                                 (±1- 13-67t*)
      4) t7I Top/Management Meeting
       - Top Meeting: 7/24-8/20                      91)1
       - Management: 7/23             09:30ft- (LHE)                               (±42-   4-18tt)


143         o]    .}2]Öfi          -J-ZJ«JS] 41 ©2] 3, LGi*2]               O() SI 3, 1I&2] *
      DE 9] 3, &2]                    1]      9] 1, t*!iM C.Y iSI 3°] W5t Öl.
       .flj-S] 'A]9]3iA1'$ JAaZdJ2] 'CDT 5711Af Management 1SI4$(6/23
        )' 4, o]t9]       7]t-11- -o11 SII -îi4.

      © 1999'c! 7         23       cf41S1

144              O]          o]A      'o]J
                                      ]Pi                   -S]i4 o]tcz1. -'Jt4141', '14", 15" CDT
      7]-2°fl         -I', 'CDT A]-9] +a
                                      '11*4- flS-. i--1* ì4I41-Q.
        4        3fltJ Ag.j7J4 kSI'M- t2Si Jtfl}A1 'l4Hfl Th I
      1'k-EI Zj%t}7]. % ¶                      J-2]}1* :k9jt]-j2,                     ;jto1n 41

      Agenda (2±)
        Review of last meeting(XIt §121        Market update(Alf glc1I0I) - 17'
      Japanese movement - 14/15" price up(149jl, 15E!I )F2Ji) 19" pricing position
       Supply&Demand Capacity controlV ?±Y 1l) A.O.B.              (±Ç 1I4-2at*)

      -JfJ: 8/1°
           52$, F2ii                       e,u
            70$ (Bottom Price: 67$), JE9i-tf ew'ii
       17": Official 98$, Bottom 95$ (TCO: 96$)                                    (31 ]14-2Ot*)


¡45              '-A] §]S]O)]Aj            .&1!} J'zJj«-           ft]] A]Jji$ -jt}o] oSf 4
                                                       - 71 -
             Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 74 of 85




      a]              4-ga]                 t11,
                                                    a]     JA1J711              CDT M1?1                         t Y}-91
      tJÖ]4aja] fl] o]ax]] #1tBÂ. }-Il]                                                a]efl j-ufi5]. 7f7o] J]tJ
      u]-r.      o1Ö]    fl1- t7] M-°fl '-A]                                          ]9.]oflA-] 7ÌI-4- 1r].'j ?Â'i*
      ód       4      fc5*S] ]-                                                           t7f21Ó] i--       *
      aj] till *1*    A]t}Ej o] ¶H-                                    flofl                             tfl-] 7}J
      ìj-      ]o]]    fl*         ]N7I 1O]tF


146                              4oflJj              Azj                             i]ofl tils] %-ZJ4-. SL
      lutai 40%.               ta]o] f4 fl* Yffl* óJ-                                               t1] o].j F-iz}
      cì]J                AJij.:PiS1          fl A}ja                      JJ         o] aft4?4 A.J-fl                   7f24O

      rrf} 7}ìÓ]flO] fîiI4.
        oQEC                fl20l                   LÇ       ]511 A1lfl [W JF2j-'a                 Oftiti ?ttF7ll     aFn
             VCE2 ........                    0IA[       b) Dl0l, [hi ÄflAg                         2LIEI         AE0l LII
                   7Ei-i               tF          0lS (j) t-HAFJ0flM CDT                        °HJF         tF?q       tF7l
             aHoIan 9j-JtF2 V201
        oSDDS] Mr. 2]             3J} D.Y.Kim
               -2F&FLlfl flEF. (Efl LHfl-J1d
                                                         SDD-'SEC            -j0l ) itcF.
                                                                                     SECSI Ç2 ?-I 60%011
                                                                           70% %eo]JAI               ]ÌL-SEC& 0101
             ?I011)iI SEC 42J2J 40%ë                                             SWl010E         1CF51     ?±-        )U7l6FEF.
                                                                                                          (±k fl3-68tt)

147                                                I 8-°11     l± 7Vz1 A1t4* t]-7i.. J]S}31 AA].
      7J-4         }s]-                 4A] A44o] fllI1* fl WJ7/X]                                               dC-i      A}1
      711    fl7]           }4 a] ]4g] LI745*Ofl ttf} 1999. 7. 29. AJAa%1$S                                                 -2
            .A}Ofl7]] ÀAJ                                '?-4. t--,                       1*-&             l 8-         20V ti-
                  fl--- 2fF 441fl 7]1*}71 tfli-%*i-.
        o               8I I±f 7?J M±EF                                         ÜF       9J011      tFE.F.
                                                                                                          (±J XJl3-68S)
            Capacity Control Principle (AHAF24
                                       'o I- O O AjI                 iJ)
             Earlier notice()l2l) - stoppage plan send to Rosa i week before month end (H
              t iiOIl       AFO1I21l         ISEE 21tJ
                                                           O ¿:21=1'
                                                               orn)                                       (±J 21l3-69)
            8/20 nÊJQISI(AM            2I/PM                 0Jl           j1 L        §k011M 'MI            0lE-F.
                                                                                                          (±1- 13-68t*)



                                                                 72 -
           Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 75 of 85




348              01     ]1- CDT 7PP                         AÄI-%1 c]-fl-fl #1                     ]-5-#]                .-A
                7J ©, 7JAA, 8F*®, 01zL, LG)V1 1DD, Ì®®, &1] t(©©),
            ,   2-Q -EE, 4®®,                                          è E1IÓ1,                       .4 LV-, tflM
                    ;]e i]-'?-
                         1             j-#]i .-71-                                                  ó]]üj c]--fl t}
      J-2-] 'flJiiÀ-', 4J1VIS1 'Meeting Agenda'                                       t}9.]           fM3ij, t4
      %Aa       SDISI    t-/]          1-Q14A                 o]              Jt W-i -1

       S 1999d 7- 28V c}}1

349               11flR1 *JîJfl 17" CDT 71* Afl-O]] ifl
                  01

           ?4* 15"CDTSl FTh-11 7}YHi'afd1 &] O].-OO t14. 31*                                                             1-fl,
      *-              1i'MI 15" CDT 71                 J0t7} 4 u141îi%.1 t1-H fl* u]k]
                                           fló]             F*         nAI    tM*ÓH PRì.1cL cfe                      1ìlîi%I
      *L1A1011                   t11*t}0             fl%ÎJ 4F1-, LGJk                                       *ÛI 7p?1* 'ieÌ

      1.DIagi:
       1)17" JF                                      1FXF    92-93$
       2)15" [fl'jJjg                             2J8FV2LF tÑU9I JFej@OI f.EIxI                                 oF      ELI1
       3) i7"7I9ioF               top1Lfl                   UIAI             (8/4 14.00
                                                                                                            (±J- fl4-22ït)
      aj        OIÁF         JAIOIJ              flgjXfOI iA1I74I2              'J?J                    ¶7tF2           PJQt   t
           AIJOI JE2J                                   1JtF2          JE4      OI            Xfl YFI LII      £i-&OH     f'!6j
                       ?!oIaFn    Er4. EEPJ, §Vjj oitH uofl FPJI LF2Ì!t flxFoI 'F
      ?Jt                M7I'2i, 7LiiOI WOFIXIXI ?VLh3i tFcF. ai OIAj- I9II
      E4        2g IIXFOi                            xflxo1IMI 2F £J 4@ 2                             tI-7I    VitF2QcF. (4
      JI               ) flI                               24- L}]9] JF 2]f
                                                                   EE                                       tE VLF {t)I
                                                                                                                         3oIaF
      :2 tF2W-F. 019-F Dl0-1                  LHP± ilxF2l                            xil7Fou7u
            J   2eg/pFm E&I                          XJ7F9I )E2iJ0I 0F                           tFI ?tI± Et SECJF
                             gpCj                      cIiXFE 0I                              oI4ii 2tLF. &E-j AjL
      qg
      7F242J@
                 2ZFAF        i4oI
                                            LF
                                                  XIX            7E4
                                                                                EE[




      E- 2tF*tII                           9IUFEF.                                                          (7- 13-70St)
       5. 15 "!Jil JF2]t 74910fi Lflf 7JP± ve±
                  >              1I         *tI OIAEOkc
                                                  L_o-1 7                                                   (tQ 14-22tt)



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15f)                  mtl-, -f*F                                        7ffl2* fl 1999'd 7-W                                                    8          4 Al-91       -Vf-4

       A4eoe: Production),                                 ufl?è(S: Sale), -15Lè(I: Inventory)*                                                     L7fl}Ct]

            flt}si, 4 A}- Th&                                              8-WSI            A2JAJEHI tvf-* itt}i, sxicj--&
       AflfÖ] tk+-91 4jfl3j-                                                        j AflajQj                       )-Ofl
                                                                                                                                    -sl} Al--NO)                   tl-
                                                                   7
                                       14"                 IS                  17           19"       II                IS          II"              19'
                                              P/S/I             p/S/I               P/S/I    P/S/I         P/SI              P/SI      P/S/I          p15/I
                             SDD        280/290/30         810/830/SO   650670/60   99l/- 300/310/- 860//850.-                       700/710/.       90/9OE-.

                             pif             65./SO!-      420/340/290 260/280/180 35/20/60  35/45     310/420/-                     3l0i34OE        400/.
                             (PT        330/370/130        8801950/130 650/620/140 14/18116 340/280/- 1000/1000/-                    650/650/-       20/25/-
                                         9/I0/30           335/330'40   130/135/75             /90/-  345/365/20                    125/145/55       10'S/S

                             LO              90/95/0       óûo. :6201130       5so/54a200   7570!4O    0/b.c        I
                                                                                                                         SSÓ50/-     550/530/-       70'óßc

        °8           QIEI 74.?SPJXF2I M-aFejo LIIPI 17" CDT                                                                  E: Oa] AgJXg
                OI         f SEF                             jThFE-F. iI3Er CO 7F'   '1 oo
                                                                                 A /lI-,e 71tE '2)F
                                                                                               a    Vt2O1,
                                   %                    qIll PHOV orna
                                                                   1
                                                                           R)F V2CF.  EEt, )lIXF=c  orn/DI
                                                                                                    ElIO /

                                                                                                                                jjAI?j-
                                                                           I




            ¶         iOfl31I                           ajca      j-AFJF A1E)I oI                                 jofl                                           UIS             7I
            HOE       kLF.                                                                                                                           (±2- 113-7wtt)


151                   o]     1911               AJAâzdUj, LGI4, s1-g-,                                            Jà, t}C                       571141F 5a-AJ}4
       o]       t}-91 '5LÄ]'9f -JJLVj91 '7/28 7jA} ---P                                                                                          z$1iL'o1] 91tfl                      -




        3   l999\          8-W           cfz]-] 9]


152                    "]-"Jîi--& °1                            S]0]]A] ¶HF 1999\ 8-W 14"$ 15"CDT 7]--J- j
                       --              j}cf !-s]                                    E-91 A.Aä34                                           i'1           71144
       z4       ---aj.
                    }csi                   e QJJSJ       j-tnsi                     Jj-o *A]ofl
         *** t1]ùEz 2A-] o]]4 luFt1] ** ca- c
        ]i91 *1°1 CDT 1t1 *dîì-E 7]-7, flofl riti- * 41IÙRii g-
       *--- --4°fl ri*ri                                      ** 'k 4: S12-, *917}'Th-4    7P-4* zflA]
                                             n             UAUFa., tJ-917f *         AJfl 7J-fl 4-
       -I       7fl}71.                               ol        ]91°I -Vãfl, LGI4, ìf&,                                                                         t}flo] J
       Af4              o]       tflfl 'flA]'t *11 -îJl4.

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               n lonSI/uM- {iI-jvioidC
     Uo8o -1I5dv               o,L -1O1gi =5n 05ÏvIPL o[flJ                                          r 5                             oi-yfl
                 t3i                       tiIgg -Gos 4N                    lir -4N-I23                          IsÑ+í 3]S)112V*H-ì
               16(I2s                     IoAi-            IIoIv   [6l-?9 flic @In to1 Iy-IgIv± {5*0                                      Y8IVl
                                                                                                                                         l2i
           P


          Io   IR
             oslO                   nL-L- Idylo co10
                                    oi-yc                                raGOS        -,
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                                                                                        * Ioklc ?L9
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           Hgii l24
           ct
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     Ioio 16WIb4Ivi
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                                    IaS4d                 lI f3            trIplo       tfl61
     I6ÇIo I2Ikí                         LI 1CI-YE,,           t6$         clyig EIgTBIPí 1E4R4 rn                                   tflII&
                                                                                                                    *) (*3L-Ei
     © B6661 2                      gg-,og            [t-k-t .               I*              -{y4*




                                                                    - SL -
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.154                     314JtJfl Ö1Z                       9ÖA-Ì        ¶SltF 41*1 Ö1flt* z1;44tfiL                       cJ-Aflö

                  ¶           CDT]   f'J- - -W* 'flÙ}31 -è -fl    .°1---
           EIIÙÌIAI.E
       Q1-Ö11             EtE, -T-z4  CDT Js]7fz o]tyfl4 7tf3i
        1-fl &fl7f4* j]tffló]
       Agenda(2±i)
           Review of last meeting (XlEFI2I i)
        Market update (AIJ iEll0l)
       - 14/15" price increase - 17" price development - 19" status
           Capacity control (i                             X1l)
           Glass supply & demand update (-El                                                   E1l0I)
           Green Meeting
           A.O.B.                                                                                            (±Q       4-24tt)
        El 1. Agenda
                                          '1.-o JIt_ Lil.[j]
        o 14/15" Price Increase - 7PEJ fl74oIAFofl
        o 17" Price development - $93-r-tc cml
                                           Tr"i, t7i-mam
                                                   COI                                             tFQIEFE 724g            XIF         i
        o 19" Status:                                                                              ori
                                                    *Oj )I2jOjl OEFEF O1E40( 7lf52 VELF fJJ JFMmzr-AJ
                                                                                         (± 14-23.tt)


155                      °1$                          }c                     f)
                                                                        Ófj jf-Z
                                                                                                                AO1%S

       fl4o)] rl]tj 7}ZJ-j A}-fl             3j-t7fZ4

       #- }1 1]]7      ± Rl ÓJ). fl}   %Aj74       J+& ó 11 11-1 P]-ZA]
       4 fl1$ 4i7H1'              SA}fl 4a -A4%o»fl 3Jtf*O1
       4 #1           ]s) oÌ...                 i 1999. & 22. tfl                                            èfl LG                    i
       flzf ÀJ..74 c$Jfl .9-]                                                  Ifl4 Z1-4 fl.tFc1         O]%1        ]ì}         A}SJ

            AgAfoi tkc1t Pt2 f'1} 4-°i                                                  4.
       o QECOII 9ItE, E9] 15" W )F 2JJOfl Lfltll 121j3l 0j ±tLn LFi2 BF2
         [j-. CLE-jLF OECE °fl i4tF01        20% t±AIEF. SDD [OU [k
             7JIjI
         2o o-' 1./IM71oIOEEn
                    o o -,      tF2[F. 2algg       tfl 2 L.- It__ e O L..aiin-i
                                                                          L;IUl JL7oIAF
                                                                                   i L- O
            pj 24tFEFE EJ
                                            I                                                                               I




       o AIt)F2I
             O-rl
            .1l
                  71*I tFt                               OI6F)I -IFO1, 27f (17"CDTQI                            93    !E-1S4     Ix1
            }Fe 7TAI5F                LII           sltFcF.
                                (19"CDT)7F                        160    -dI9-t 150
                                                                    26j-Cj-
                                                                                        fdI      IR "I o -1-u-i
                                                                                                          -.0OI EF                7
                  tFIM        AltUOE !kEFE                 Ofl
       °        12I      tIxj-g JF   m_%o ----J
                                            ai-F3i2                                   FtF)l   -]tHM 17" W.       f SEF JI?±OI
          9Ofl            I±J. 5OI0j0E          FCE.
       o cj-             aj     J2J             9     20         2?5i 9:300fl CPT E?21?±           JOflAj 7HJ        3!oJl gQjaj-      -




       o Mr. ?J+               2j MEC                       jnj-2j       12I    -F     -tj-E4.            (±3t fl3-73t*)
                                                                         - 76 -
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¡56                 1J1H CDT 44]SIA1 Jxjj.s] 414, 7JAA, o]E,
                        °]

      t}4®, LGJ42] Ê]oû, J® 3Lc4, .Q.]-&-i   aEE, è©®, 41®®,
                   21    t1Ö]]S                ,   J.M. ¿i], fl1 t                                 t,                    '-#1} t
              H-             i-#Hfl V-F %1t}4 o]. ÀZJ                                                   'Top/Manìagement Meeting (8
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¡57                     o]     1S1oflA1 1-}W& tEt1] CDT fl2I]7} FN                                                                       1*
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      4 -, %iF°i 7fl1AflJ %'i4°flifl ¶1-SRi- u1-tfl. 7*                                                                      j-f]
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      CPTQF PH                 7fl'42               2E]gofl7j D/W9-F                jg               2t]E-1                 1-BtU

      2. )F                   £J-fTh& OW                          2E-F. EI# OIAFS                        .2Z9    (D/W,     [U)        'F MEO
             ¶01             EI)F       ±g     1IAII            Y1-?        -IJF    2E            2i-tPkc-F2i   og Riu           tF7I 3j
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                       :fl              al A1IJ1                !JI-W-I-.                                           C±2-         3-74St)



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           Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 80 of 85




            IdG - ±12 IvIo
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           :ÇL 91               IFo    iFfl Iv              1Ct      11LIgf2 E1511-g tJr2                             s         1vIkt                   I]i          f
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            Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 81 of 85




            19991d 9-W 28'       *41s1

¡59                             3IAjÓ).fl z "Hl 2000'd.E ZJAIÌ7fi W---
                               Ö]]A                                                                                +.2-è i
      *             711L3L A]7flÖfl t1% l?4* 5iL-f l, CDT t]e]                                           -T?-fl m
      * 4*} 'd-e]             ó]o] fl -}fl W}i 4l 1999\4 10-Wt l-                                                                 -




      "'1 'T=ÌflJ 17"CDT1          7Jj tcitì-71. IIM4. L1a1s.,                                                                }



       ltì-& 2000'd   ifl +--F i    15oiiC'111.5M").. iofl t4i} o]cJ]
      fl t-è* 11 1i 7P?i7fl("117.15M'1.                                  fl}-ÏL JJ]              Yffl*              l}4.
      ô]   ]è -iiì] JAA, *@®, LGÀ7H1 i®Ç Mr.      5'&                                                                 l-&l
      &JLI, 'J-®,'J®®, fl?S] 1]1 i, À} lUI1cÌ, tflHl !i-                                                              '',
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      -#l°Á         e.-PfiÓl A]7]-     t1s}4.                                       -vfiô] A]S1 'fl.3LA1' cfi S
      sfi      JcL
      o 74                                                                                      )IS2
                                       2 fl 2000E C-2J--1E4 §                                              AF*6[JI
                           1115M
            tF2EF. 24 AFOI                     g CE4 t4:
            14" 635M (5.7%), 15'         4315M (38.7%), 17"              51.3M (46%),
            19" 8.35M (7.5%), 21"        2.35M (2.1 %).
      °                                                              ±ìg AIk9 'iJofi
            57E1   X1IAF2i AFOI2000
            90%, 17719" x 85%2.I )F
                    91.15M0(Ut OÇ         14"
                                                ?1IIOlI     f
                                                          oii
                                                                   ?!OICF. 2000E 52H A1IAF2I
                                                 5.25M/15" 370M / 17" 41.65M/19"
                                                                                                         ELFE-F,    14"/15"

                                                                                                             7.25MOIC-.
      ° 2000E             /42
            57fl A1IA &                 = 91.25M+26M=117.15M
      ° AflAg 17"Ofl LflH 10      7°/aF?i                           EF         ÙH               74FtHM       ttF)I
         9I8FCF...........24 21IAF2] W4                                  4fltF)I        -IBfl    AjOfl rflf 7JAF 71ii
            § X1IAIOE jLF.                                                                           (±31-     1I3-77t*)


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160                 ô]   }s]     '1.    ]J- 'i3]o]., 2. 17"7fz4], 3. 20000½                               '?.t/t-, 4.
      7]E]*i' eÔ.                7]-                      'A]3J- 't]Iô1(Market Update)'t?I$                                 t1-

              l-9Jfl ti-fl CDT 7Ì-°1 -17F4fl- o]jjj. Pî ?'**
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      ni tzf       4. ]A}-Ó] ¡']                  j             9),Óu. o]fl                        ]tfl clfl --s
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      CDT 7-1Qf ?1-Ws}c1 'ltii%& o]zj                               J7]-7rfl. Zfr4Z                    fl 4
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       C-[ *1k-                                 [vt+ *zjLIs-t irjgkc [o-WLa*ry *V{c-&[v [kW
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                           IoWa         '-h-La           [v)fl                  F&-?o1              'Th     -[            '-h-La     Rb[*- '-*               [o[[41-

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         Case 4:07-cv-05944-JST Document 2969-5 Filed 11/07/14 Page 83 of 85




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                                                                                  Glass MeetIngS! N2 £181
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      4P'1°1         t*'d* -î1                  M} %&ÌÌ 21t11 HJ$c1-.


         1999d 12W 22° 44]O]


163                 o]              ]oflA1            J% ¶t 7I1«W d*è                                     7f-1                       4
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      t]7].                         °]-1ti- ¶]1}---1 *'1°] -VflSì W--fl &
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      *Zio1]A1 *JÙJ                        o]4 0]          ]S4                  SDI,                        LGPi-,            flE1
         -4- z]So]                           1c1-. o]                  }JS] 'T3jA]'0]]                                 Î14.




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           12      OjE XA[2j                       't -k
     a) SDL. E21 Mr. 00
                      n Afl2L 7S
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           201, Mr. tEJE CPT2I                              0I        0fl     [UI '4                            E4n Lflt4
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     (6) 20001d1                   z1-?±   1*

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           i    71]1'1                             -1'-H*                                 J.6A}
                                                                                                         ±J- 113-gitt 1413*,
                                                                                      t* SDI, LG      1417*
       1        2000.1.24.        17" 71-4'&($9O),           'tV±*N                   -931e, fl: 1416
                                                                                                 ¿j z4-27t''
                                                                                                             A}flA9 2875*
                                                                                                         ±t i3-t* 1432*,
                                  .Vfl 7}Z4 (15": $67/66, 17": $90/89),
                                                                        tF, SDI, LG, 1434*, 1436W
                                                                                     ±J 113-84tt
                                                                                      Sf&, RJ?t
       2        2000.2.24.
                                                                                      (%*1) ±Q 113-St
                                                                                                         ±2- 114-28.t*
                                                             7JA}                     nh SDI, W, ±t 113-871*
       3        2000.4
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       4        2000.5.26.
                                  eufl7F (15": $67, 17": $88, 19":
                                           Sy}),             v.yp]                          fl 1475*,
                                                                                      tF, SDI, J_G, ±3t 113-t* 1473*,
                                                                                      (Ì5'-W1I)
                                                                                                      ± i3flt,
                                                                                                 4-tt :c:W
                                                                                                         ¿
                                  I7}4 (14": $54, 2*9i-, 15": $67, t1-, SDI, W, ±t 1J32* 1S33*,
       5        2000.6.20.            2*Qi-J-, 17":         177),                     £]&, R?            ]fik5*, 1J7W
                                                                                      (1a.UI)
                                                                                      th SDI, IG,
       6        2000.6.28.            7}-24 c?j     AA
                                                                                      1     fl?          A.-4 A1}3-3t-      15i6*

       7        2000.7.13.       t-A]3JtM 7}79j-                                      th SDI, W,
                                                                                      S.4                ¿st *-t is*
32) o]&}                          47}1 W CDT}AL                   cflAI UFF AJAj SDI, W, S.rn,                        5iP+} W1
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                                                                                               ±         14-32--3t*
                                                                               tE Sf1, W,
                                                                                               ±J 1Wtt 13-4*
      8       2000.9.21.
                                   LCD 11          1 CDT Al fl                                 }4 3-97r
                                                                                               ±71k 14-34t*
      9       2000.9.27.                      t-O                              t}, Sf1, W, ±J I13-flt 1575*
                                                                                           ±'1k 13-99t* 15*
                                                     (15": $66, 17": $85),
                                                                               t}, Sf1, W, 1592*, 1593*
      10      2000.10.2a
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164                 Öl       ]siO91A1               SDPI      ©       i2J.A}   £    -aJsl7l-7*                      fl
      S}%.SUI            Öd.-si PAl4, t]Bf°]]E. ¶t1'%                                                       flQta, 11]
      4V             *                    I-Enl tfli *îi4J SA}fl It%                                 ]      17" CDT 7]
      7f4 90W-                      *it ?I tJ-Sit}3i Th& tM 3-t.E'l                                LJiL7Jj    tfl--        l]7]-

      2        9OEL. -%I
      oMr Inn Kimg 9                          t2     7F           60j    2 52flAF91 12I         M04          ?       2. 01
                             21    MLflg XHIS                     JF      -70fl     167II       ?!. Mr. Inn Kimg
           Efl0IAlOI-        W&F          AFt0IEF             LF MEC       ElI0IAI0f2l Vjufl                          1FF
                               IOE Lfl-F      7I1 2ItII sF0E 1LE2 21t. fl 30fl K'IEC
           2f 5E        I2        0l      7FIS [U4        OVJI. ± OFLIP4, Mr. Choi  Sf0fl7U
           HTC                         2I          ?i                 ait.  (±                                i3-83)
                              17' W            7I    JF     $89   tF                ?j2It. flE-ILF          121     f)F'+R±
                    9I             J 14tI 0F0IEi0l[fl.        $9021          M 7F                     ofl     Fi-. 3
      El       aH         F21 £jj2.                 -R 5i207fl AffjtFb 724g $9Oa                   ?]1            0flTJ.
                                                                                                     (±t            3-83t*)


165                          20004 2Wt 15", 17"                   A                      t}O1      tfl%-& 9V,
      i Sf1,                  AJ4 tvkÙ}71.        -L7ÓJ7    }I fFl
          I V* & tfl 2-W 24V IÇ 2A1 ti- ì& A.o]1A1 7fl]t}3! 3-W 25V
      t-fl-*                  7]               tF4.


                                                              - 83 -
